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                    EXHIBIT M
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    1                                                                              1

    2        SUPREME COURT OF THE STATE OF NEW YORK
             COUNTY OF SUFFOLK: PART 48
    3        ------------------------------------------------x

    4        IN RE: OPIOID LITIGATION

    5

    6                                         INDEX NO.:400000/2017

    7        ------------------------------------------------x

    8                                         September 10, 2020
                                              Central Islip, New York
    9

   10                        MINUTES OF FRYE HEARING
                             (Testimony of Dr. Keyes)
   11

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                                       Supreme Court Justice
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   25
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    1                           Frye Hearing - Dr. Keyes                           3

    2                        THE CLERK:     Supreme Court, Suffolk

    3                 County, Part 48 is now in session, the

    4                 Honorable Jerry Garguilo presiding.

    5                        THE COURT:     Good morning.

    6                        THE CLERK:     Good morning, your Honor.

    7                        THE COURT:     Good morning.

    8                        CHORUS.    Good morning, your Honor.

    9                        THE COURT:     I understand we're having a

   10                 little bit of an issue this morning.

   11                        THE CLERK:     On the Hearing Calendar, In

   12                 Re Opioid Litigation, Index Number 400000 of

   13                 '17.    Your appearances, please.

   14                        MR. REISMAN:      Michael Reisman from the

   15                 New York Attorney General's Office for

   16                 Plaintiff, State of New York.

   17                        THE COURT:     Good morning, Mr. Reisman.

   18                        MR. REISMAN:      Good morning, sir.

   19                        MR. BADALA:      Good morning, your Honor.

   20                 Salvatore Badala for Plaintiff Nassau County.

   21                        THE COURT:     Good morning.

   22                        MS. CONROY:      Jayne Conroy for the

   23                 Plaintiff Suffolk County.

   24                        THE COURT:     Good morning.

   25                        MR. SHERIDAN:      Tom Sheridan, Suffolk
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    1                           Frye Hearing - Dr. Keyes                           4

    2                 County.

    3                        THE COURT:     This is someone from Suffolk

    4                 County?

    5                        MR. SHERIDAN:      Tom Sheridan for Suffolk

    6                 County.

    7                        THE COURT:     Good morning.

    8                        MS. DO AMARAL:       Good morning, your

    9                 Honor.     Paulina do Amaral for Plaintiff.

   10                        MR. SCHMIDT:      Good morning, your Honor.

   11                 Paul Schmidt for McKesson.

   12                        THE COURT:     Good morning.

   13                        MR. HALPERIN:      Good morning, your Honor.

   14                 Greg Halperin for McKesson.

   15                        THE COURT:     Good morning.

   16                        MR. ERCOLE:      Good morning, your Honor.

   17                 This is Brian Ercole from Morgan Lewis on

   18                 behalf of the Teva Defendants.             I'll be

   19                 questioning this remotely.

   20                        THE COURT:     Okay.     Before we start, like

   21                 I've been doing every day, I'll just read

   22                 into the record the rules of the Chief Judge.

   23                 Keep in mind that whether you're observing

   24                 these proceedings by live stream, the

   25                 location you're at and observing and
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    1                           Frye Hearing - Dr. Keyes                           5

    2                 listening is deemed the court under Section

    3                 29.1:    General, taking photographs, films or

    4                 videotapes, or audio taping, broadcasting or

    5                 telecasting in a courthouse, including any

    6                 courtroom, office, or hallway thereof, at any

    7                 time or on any occasion, whether or not the

    8                 court is in session, is forbidden, unless

    9                 permission of the Chief Administrator of the

   10                 courts or a designee of the Chief

   11                 Administrator is obtained.

   12                        Thank you.     You will all be guided

   13                 accordingly.       I understand we have a witness

   14                 in person today.

   15                        MR. REISMAN:      That's correct, your

   16                 Honor.

   17                        THE COURT:     Okay.     You may call the

   18                 witness.

   19                        MR. REISMAN:      Your Honor, Plaintiffs

   20                 call Dr. Katherine Keyes.

   21                        THE COURT:     Dr. Keyes, good morning.

   22                        THE WITNESS:      Good morning.

   23                        THE COURT OFFICER:        Stand right here and

   24                 raise your right hand and face the Clerk.

   25                        (WHEREUPON, the Dr. Katherine Keyes,
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    1                           Frye Hearing - Dr. Keyes                               6

    2                 having first been duly sworn by the Clerk of

    3                 the Court, testified as follows:)

    4                        THE CLERK:     Please state your name and

    5                 address for the record.

    6                        THE WITNESS:      My name is Katherine

    7                 Keyes.     My address is 236 Sackett Street,

    8                 Brooklyn, New York.

    9                        THE CLERK:     You may be seated.

   10                        THE COURT:     Good morning, Dr. Keyes.

   11                        THE WITNESS:      Good morning.

   12                        THE COURT:     Doctor, I'm Judge Garguilo.

   13                 I'm presiding over this case.            I give all

   14                 witnesses the same three pointers.              Of course

   15                 you know you're going to be asked a lot of

   16                 questions today, right?

   17                        THE WITNESS:      Yes.

   18                        THE COURT:     Pointer Number 1, listen

   19                 carefully to the question as put to you and

   20                 as best you can, limit your answer to the

   21                 information sought by the question.

   22                        For instance, if I were in that seat and

   23                 I was asked on which street do I live, I

   24                 would simply offer the name of the street.                   I

   25                 would not volunteer the town, the state, the
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    1                           Frye Hearing - Dr. Keyes                           7

    2                 county, or the ZIP code.

    3                        Rule Number 2, although it's not

    4                 impolite in life to commence an answer before

    5                 a question is complete, we save time that way

    6                 in our day-to-day conversations; however, I'm

    7                 sure you understand that we require a

    8                 complete stenographic record.

    9                        So even though you know exactly where a

   10                 question is going, wait for it to be complete

   11                 before you commence your answer.             And,

   12                 lastly, if you hear the word objection or

   13                 anything that sounds like objection, just

   14                 stop until I give you direction, okay?

   15                        THE WITNESS:      Okay.

   16                        THE COURT:     You may proceed,

   17                 Mr. Reisman.

   18                        MR. REISMAN:      Thank you, your Honor.

   19        DIRECT EXAMINATION

   20        BY MR. REISMAN:

   21                 Q.     Dr. Keyes, we'll get into your

   22        background and methodology in more detail, but I'd

   23        like to ask you some preliminary questions.                Where

   24        do you live?

   25                 A      Brooklyn, New York.
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    1                           Frye Hearing - Dr. Keyes                           8

    2                        THE COURT:     Sackett Street.

    3                        THE WITNESS:      Sackett Street.

    4        BY MR. REISMAN:

    5                 Q.     For how long have you lived in New York

    6        State?

    7                 A      About 20 years.

    8                 Q.     What is your profession?

    9                 A      I'm an epidemiologist.

   10                 Q.     Can you tell the Court what

   11        epidemiologists do?

   12                 A      Epidemiology is the science of what

   13        causes health outcomes so that we can identify

   14        populations that are at risk.

   15                 Q.     Do epidemiologists ever draw causal

   16        inferences?

   17                 A      Yes.

   18                 Q.     What methodology do epidemiologies use

   19        to do that?

   20                 A      We conduct studies, and do data

   21        analysis, and review literature.

   22                 Q.     Is there anything novel about that

   23        methodology?

   24                 A      No.

   25                 Q.     Is there a consensus in epidemiology
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     1                          Frye Hearing - Dr. Keyes                            9

     2       that a body of scientific literature can be relied

     3       upon to support a causal inference?

     4                A      Yes.

     5                Q.     Can you give an example in epidemiology

     6       where that's the case where a body of literature has

     7       been relied on on which there's consensus that the

     8       literature supports a causal inference?

     9                A      You know, I think the most classic

   10        example is smoking and lung cancer.              You know, there

   11        were many studies conducted of cigarette smoking,

   12        and we've come to a consensus that smoking is a

   13        cause of lung cancer.

   14                 Q.     So epidemiologists have relied on

   15        studies.      What kinds of studies have epidemiologists

   16        relied onto draw the causal inference about smoking

   17        and lung cancer?

   18                 A      What we call observational studies.

   19                 Q.     And observational studies are generally

   20        accepted as a reliable methodology in your field of

   21        epidemiology?

   22                 A      Yes.

   23                 Q.     With respect to the link between smoking

   24        and lung cancer, would it be ethical to try to prove

   25        that smoking causes lung cancer by doing a
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     1                          Frye Hearing - Dr. Keyes                            10

     2       randomized controlled trial to see how many smokers

     3       get lung cancer?

     4                 A     No.

     5                 Q.    Why not?

     6                 A     Because we know that smoking is a health

     7       hazard.

     8                 Q.    In this case, do you plan to offer

     9       certain opinions about whether there's a causal

   10        relationship between exposure to prescription

   11        opioids on the one hand and on the other hand

   12        certain harms such as opioid use disorder, opioid

   13        overdose death and so on?

   14                  A     Yes.

   15                  Q.    In your opinion, is there a causal

   16        relationship between exposure to prescription

   17        opioids and harms?

   18                  A     Yes.

   19                  Q.    In this case do you plan to offer

   20        certain opinions about whether there's a causal

   21        relationship between the increased supply of opioids

   22        in New York and Nassau and Suffolk Counties since

   23        the 1990s on the one hand and on the other hand

   24        harms?

   25                  A     Yes.
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     1                          Frye Hearing - Dr. Keyes                            11

     2                 Q.    In your opinion, is there a causal

     3       relationship between those two things?

     4                 A     Yes.

     5                       MR. REISMAN:       Now, I'd like to ask you

     6                 some questions about your qualifications to

     7                 offer opinions in this case.           And with the

     8                 Court's permission, we'll show some slides

     9                 for demonstrative purposes.

   10                        THE COURT:      Sure.

   11        BY MR. REISMAN:

   12                  Q.    Dr. Keyes, what is your academic

   13        position?

   14                  A     I'm an associate professor of

   15        epidemiology at Columbia University School of Public

   16        Health.

   17                  Q.    What is your specialty as an

   18        epidemiologist at Columbia?

   19                  A     I predominantly study substance abuse

   20        disorders and other psychiatric disorders.

   21                  Q.    Can you tell the Court what degrees you

   22        have?

   23                  A     I have an MPH in epidemiology, which is

   24        a Master's degree in public health, and then I have

   25        a Ph.D. in epidemiology as well.
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     1                          Frye Hearing - Dr. Keyes                            12

     2                Q.     Did you do any academic work after

     3       receiving your Ph.D.?

     4                A      I did a post doctoral fellowship in the

     5       Department of Epidemiology at Columbia University

     6       before joining the faculty.

     7                Q.     Do you have tenure at Columbia?

     8                A      Yes.

     9                Q.     Since completing your fellowship, have

   10        you been on the Columbia faculty the entire time?

   11                 A      Yes.

   12                 Q.     Can you give the Court a few examples of

   13        courses that you teach at Columbia?

   14                 A      I teach graduate level courses at

   15        Columbia University.         I teach our graduate course in

   16        psychiatric epidemiology as well as other courses in

   17        epidemiological methods and statistical methods for

   18        public health.

   19                 Q.     Do you serve on any committees at

   20        Columbia?

   21                 A      Yes.

   22                 Q.     Can you give the Court an example of

   23        one?

   24                 A      I am on the committee that writes the

   25        epidemiological methodology questions that qualify
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     1                          Frye Hearing - Dr. Keyes                            13

     2       students to get a Ph.D. in epidemiology.

     3                Q.     Do you have graduate students in

     4       epidemiology whose work you supervise personally?

     5                A      Yes.

     6                Q.     And do you supervise those graduate

     7       students at Columbia regarding epidemiological

     8       methods?

     9                A      Yes.

   10                 Q.     Now, in your field of epidemiology, you

   11        have published textbooks and articles in scientific

   12        journals; is that right?

   13                 A      Yes.

   14                 Q.     Can you give the Court a very general

   15        idea of how much you have published in your field in

   16        terms of textbooks and articles?

   17                 A      Yes.    I've published around 270

   18        peer-reviewed journal articles and about 50

   19        additional editorials and book chapters.

   20                        I've been the author of three books, two

   21        that are epidemiological method textbooks, and I

   22        coedited a volume on drawing causal inferences for

   23        psychiatric disorders.

   24                 Q.     With respect to the first category, the

   25        270 peer-reviewed articles, can you explain to the
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     1                          Frye Hearing - Dr. Keyes                            14

     2       Court what that means in your field of epidemiology

     3       where -- the work that you've done to be

     4       peer-reviewed?

     5                A      Yes.    We submit articles to journals,

     6       and those journals will invite other experts in the

     7       field to evaluate the rigor of the work.                And to the

     8       extent that experts, other experts decide that it is

     9       rigorous, sufficiently rigorous and novel, those

   10        articles would be published.

   11                 Q.     So those 270 articles that you've

   12        published in peer-reviewed journals, your peers in

   13        the field have determined that your methodology in

   14        those studies is generally accepted in the field; is

   15        that right?

   16                 A      Yes.

   17                 Q.     Now, with respect to that group of

   18        articles, for how many were you the primary author

   19        of?

   20                 A      About 70.

   21                 Q.     How many of those articles, again, the

   22        larger set of 270, were published -- that you

   23        published focused on opioid use and related harms?

   24                 A      About 20.

   25                 Q.     Can you tell the Judge about some of the
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     1                          Frye Hearing - Dr. Keyes                            15

     2       journals in which your research has appeared?

     3                 A     Yes.    I published in predominantly

     4       epidemiology journals, that is the American Journal

     5       of Epidemiology, the International Journal of

     6       Epidemiology, as well as the JAMA journals, the

     7       pediatrics, and then substance abuse journals like

     8       addiction and drug and alcohol dependence.

     9                 Q.    Do you measure in any way the impact of

   10        your work on other researchers in the field of

   11        epidemiology?

   12                  A     Yes.

   13                  Q.    Can you give an example of how that's

   14        measured, your impact?

   15                  A     Yes.    We evaluate how often our articles

   16        are cited by others which is indicative of their

   17        impact.

   18                  Q.    Do you have any examples of numbers of

   19        how many times your articles have been cited by

   20        other epidemiologists?

   21                  A     Yes.    About 50 of my articles have been

   22        cited more than 100 times which is indicative of

   23        impact.

   24                  Q.    Now, let's talk about your textbooks.

   25        On the screen now is -- on the right-hand side of
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     1                          Frye Hearing - Dr. Keyes                            16

     2       the slide, that's the cover of one of your

     3       textbooks; is that right?

     4                A      Yes.

     5                Q.     And the title is Epidemiology Matters a

     6       New Introduction to Methodological Foundations; is

     7       that right?

     8                A      That's right.

     9                Q.     That was published by Oxford University

   10        Press in 2014?

   11                 A      Yes.

   12                 Q.     Can you briefly tell the Court how you

   13        came to be the co-author of a textbook on

   14        epidemiological methodology?

   15                 A      I had been teaching graduate students

   16        epidemiological methods and used -- developed my own

   17        materials for teaching my course, and those were

   18        popular materials.

   19                        And so the department chair, at the time

   20        Sandro Galea, who was the chair of the department of

   21        epidemiology, suggested that he and I form it into a

   22        textbook.

   23                 Q.     Where is that textbook used?

   24                 A      In graduate schools in public health.

   25                 Q.     Do you know approximately in how many
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     1                          Frye Hearing - Dr. Keyes                            17

     2       graduate schools your textbook is used?

     3                A      I estimate about 20.

     4                Q.     Are you an editor for any scientific

     5       journals?

     6                A      Yes.

     7                Q.     Which ones?

     8                A      I'm an Associate Editor For Drug and

     9       Alcohol Dependence.         I'm also a Field Editor for

   10        alcoholism:      Clinical and Experimental Research.

   11                 Q.     Are you on the boards of any

   12        professional associations?

   13                 A      Yes.

   14                 Q.     Which ones?

   15                 A      I'm on the executive committee of the

   16        Society For Epidemiological Research.

   17                 Q.     What is that society?

   18                 A      That is one of the oldest organizations,

   19        professional organizations for epidemiologists

   20        interested in methods.

   21                 Q.     How did you come to serve on that board?

   22                 A      I was elected by my peers.

   23                 Q.     Can you tell the Court about a national

   24        award that you received?

   25                 A      Yes.    Several years ago I received the
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     1                          Frye Hearing - Dr. Keyes                            18

     2       Early Stage Investigator award from the Office of

     3       Disease Prevention from the National Institute of

     4       Health.

     5                 Q.    And the National Institutes of Health,

     6       that's sometimes abbreviated as NIH; is that right?

     7                 A     That's right.

     8                 Q.    And that's a federal government

     9       organization?

   10                  A     Yes.

   11                  Q.    And with respect to the award that you

   12        received in 2017 from the NIH, how many researchers

   13        around the United States receive that award each

   14        year?

   15                  A     Two.

   16                  Q.    So you were one of the two in 2017; is

   17        that right?

   18                  A     Yes.

   19                  Q.    I just want to go back briefly to your

   20        articles, the 270 articles that you published in

   21        peer-reviewed journals.          I want to ask you this.

   22        When were you first engaged as an expert in opioid

   23        litigation?

   24                  A     I don't -- I think about 2018.

   25                  Q.    Okay.    So since 2018 have you disclosed
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     1                          Frye Hearing - Dr. Keyes                            19

     2       to journals to which you have submitted your work,

     3       have you disclosed your role as an expert witness in

     4       opioid litigation?

     5                A      Yes.

     6                Q.     Have you disclosed your role to each and

     7       every journal that you have submitted your work to?

     8                A      When it's relevant to the article, yes.

     9                Q.     Do the journals always publish the

   10        disclosures that you submit?

   11                 A      No.

   12                 Q.     So sometimes journals make errors in

   13        printing your disclosures; is that right?

   14                 A      That's right.

   15                 Q.     What, if anything, have you done to

   16        correct omissions or errors in disclosures that

   17        journals have made regarding your disclosures?

   18                 A      I've contacted the journal.

   19                 Q.     Can you give an example of a situation

   20        in which you have contacted a journal asking them to

   21        correct your disclosures in a printed article that

   22        you've authored?

   23                 A      Yes.    Last year there was an article

   24        that I was a co-author on about stigma as a driver

   25        of opioid use disorder, and there was not a
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     1                          Frye Hearing - Dr. Keyes                            20

     2       disclosure printed in the journal.              So I contacted

     3       the journal and asked them to change it.

     4                Q.     So, just to be clear, was it the case

     5       that the journal did not, in fact, print the

     6       disclosure information you had submitted to them?

     7                A      Yes.

     8                Q.     And had you disclosed to that journal

     9       that you have been serving as an expert in opioid

   10        litigation?

   11                 A      Yes.

   12                 Q.     So did you ask them to correct that

   13        disclosure so that the article would contain that

   14        information about your work on opioid litigation?

   15                 A      Yes.

   16                        MR. REISMAN:       Now, I'd like to look at

   17                  an example of one of your published articles

   18                  in the opioids area, and with the Court's

   19                  permission, we're going to, in conjunction

   20                  with the slide, we'll be doing this

   21                  throughout this morning, we'll hand out a

   22                  demonstrative exhibit which is the actual

   23                  article that is represented by the slide.

   24                        THE COURT:      Thank you.

   25                        MR. REISMAN:       And that is Demo 56.
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     1                           Frye Hearing - Dr. Keyes                           21

     2                        MR. SCHMIDT:      Can we get the actual

     3                 slides?       We can't get a hardcopy.

     4                        MR. REISMAN:      They should be sent to

     5                 you.

     6                        MR. BADALA:     I emailed them.        We're

     7                 printing a hardcopy right now.            I sent the

     8                 electronic version.

     9                        MR. SCHMIDT:      Thank you.

   10                         THE COURT:     Somebody is going to be

   11                  presented that.

   12                         MR. REISMAN:      Yes.    So we'll have a copy

   13                  for the Court, for the witness, and for

   14                  Defendants sitting at the table.

   15                         And these, as we present the documents,

   16                  they'll also be made available

   17                  electronically.

   18                         THE COURT:     Thank you.

   19        BY MR. REISMAN:

   20                 Q.      Dr. Keyes, the slide shows a study that

   21        you published back in 2015; is that right?

   22                 A       Yes.

   23                 Q.      And the title of this study is,

   24        Prescription Opioids in Adolescence and Future

   25        Opioid Misuse; is that right?
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     1                          Frye Hearing - Dr. Keyes                            22

     2                A      That's right.

     3                Q.     And it was published in a peer-reviewed

     4       journal, Pediatrics?

     5                A      Yes.

     6                Q.     And that was three years, approximately,

     7       before you became involved as an expert witness in

     8       opioids litigation; is that right?

     9                A      Correct.

   10                 Q.     What was your role in this particular

   11        study?

   12                 A      I was involved in forming the data

   13        analysis, interpreting the results, and writing the

   14        paper.

   15                 Q.     Can you briefly explain to the Court the

   16        methodology that you and your coauthors employed in

   17        that study?

   18                 A      Yes.    These data were drawn from a study

   19        called Monitoring the Future, and we used -- the

   20        subjects were repeatedly interviewed over time, and

   21        we used a longitudinal data analysis to determine

   22        whether prior exposure to prescription opioids were

   23        associated with future misuse of opioids.

   24                 Q.     So you said a couple of things that I

   25        want to unpack.
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     1                          Frye Hearing - Dr. Keyes                            23

     2                       First, you mentioned the Monitoring the

     3       Future study.       Can you briefly explain what that is?

     4       That's something separate from this study that you

     5       published in 2015; is that right?

     6                A      It's a bigger study than -- this is one

     7       paper from the larger study.

     8                Q.     Would it be fair to say that Monitoring

     9       the Future is a questionnaire?

   10                 A      It is methodology that includes a

   11        questionnaire.

   12                 Q.     So -- and you said it's given to high

   13        school students over time; is that right?

   14                 A      It's -- yes, one component -- the

   15        baseline survey is given to high school students,

   16        and then there is a longitudinal follow-up of those

   17        high school students over time as well after they

   18        leave high school.

   19                 Q.     And what do you mean by longitudinal?

   20                 A      I mean that the same respondents are

   21        measured multiple times over development.

   22                        THE COURT:      Doctor, excuse me.        Is there

   23                  a term of art in this methodology?

   24                        THE WITNESS:       Longitudinal study or

   25                  cohort study might be more appropriate.
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     1                          Frye Hearing - Dr. Keyes                            24

     2                       THE COURT:      Thank you.

     3       BY MR. REISMAN:

     4                 Q.    When did the Monitoring the Future study

     5       begin?

     6                 A     1976.

     7                 Q.    Do you personally have any role in the

     8       Monitoring the Future study?

     9                 A     Yes.

   10                  Q.    What is your role?

   11                  A     I'm a coinvestigator of the grant that

   12        is funded to conduct the study, and I also have my

   13        own independent NIH funding to do analyses of the

   14        Monitoring the Future data.

   15                  Q.    Have you yourself done analysis of the

   16        Monitoring the Future survey data?

   17                  A     Yes.

   18                  Q.    Is it fair to say that you have

   19        extensive knowledge of the Monitoring the Future

   20        survey?

   21                  A     Yes.

   22                  Q.    In your work on this case, have you

   23        relied on that knowledge in analyzing studies that

   24        use data from this survey?

   25                  A     Yes.
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     1                          Frye Hearing - Dr. Keyes                            25

     2                Q.     What were the findings of this study?

     3                A      We found that opioid use prior to 12th

     4       grade that was prescribed by a doctor was associated

     5       with an increased risk of future opioid misuse.

     6                Q.     So you mentioned opioid use prescribed

     7       by a doctor.       Is that sometimes referred to as

     8       medical use of opioids?

     9                A      Yes.

   10                 Q.     So, in other words, did the study ask

   11        high school students whether a doctor -- whether

   12        they had taken opioids because a doctor told them

   13        to?

   14                 A      Yes, that's right.

   15                 Q.     And then the study followed up the

   16        opioid use of those individuals; is that right?

   17                 A      That's correct.

   18                 Q.     Is -- so did the study look to see

   19        whether those individuals who had taken opioids that

   20        a doctor told them to take later on misused opioids?

   21                 A      That's right.

   22                 Q.     Now, opioid misuse and opioid use, is

   23        there any overlap between those two concepts?

   24                 A      Yes.    They are correlated.

   25                 Q.     When you say they're correlated, what do
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     1                          Frye Hearing - Dr. Keyes                            26

     2       you mean?

     3                A      I mean that individuals who use opioids

     4       medically are more likely to use opioids

     5       nonmedically than individuals who don't, and

     6       visa-versa.

     7                       Individuals who use opioids nonmedically

     8       are more likely to use opioids medically.

     9                Q.     So sometimes individuals can go back and

   10        forth between medical use and nonmedical use of

   11        opioids; is that fair?

   12                 A      That's fair.

   13                 Q.     Now, this slide that we're showing right

   14        now, does that represent the concept that you just

   15        described?

   16                 A      Yes.

   17                 Q.     Would you say that medical and

   18        nonmedical use of prescription opioids are

   19        intertwined?

   20                 A      Yes.

   21                 Q.     Let's -- we'll back up just a moment and

   22        just a few more questions on this 2015 study that

   23        you coauthored.

   24                        You mentioned your findings with respect

   25        to the link between medical use of opioids and
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     1                           Frye Hearing - Dr. Keyes                           27

     2       nonmedical use.          Can you please explain to the Court

     3       why in that study, the finding that you and your

     4       colleagues reached was provided?

     5                 A       Yes.    With addition to the cohort

     6       design, we also controlled for many variables that

     7       we consider to be what are called confounding

     8       factors.

     9                 Q.      What do you mean by confounding factors?

   10                  A       These are factors that would be

   11        associated with both the exposure, which is in this

   12        case prescription opioid use, and the outcome,

   13        future opioid misuse.

   14                  Q.      Can you give an example of a confounding

   15        factor that you and your colleagues accounted for in

   16        this study?

   17                  A       Yes.    We accounted for prior substance

   18        misuse.        So, you know, the prior -- the misuse of

   19        other drugs before opioid misuse.

   20                  Q.      Is it fair to say that you and your

   21        colleagues accounted for that other factor in order

   22        to be able to determine whether it was, in fact, a

   23        medical use of opioids that was causing or linked to

   24        the nonmedical use of opioids?

   25                  A       That's the intention, yes.
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     1                          Frye Hearing - Dr. Keyes                            28

     2                Q.     And that's what you did in that study?

     3                A      Yes.

     4                Q.     And that is a generally accepted

     5       methodology in your field of epidemiology; is that

     6       right?

     7                A      That's right.

     8                Q.     Are you involved today in any research

     9       involving opioids?

   10                 A      Yes.

   11                 Q.     Can you tell the Court about some of the

   12        research that you are involved in today?

   13                 A      One project is the Helping End Addiction

   14        Long-Term project or HEALing Communities Study.

   15                 Q.     What is that?

   16                 A      So that is an NIH-funded organization

   17        science project that is taking place across four

   18        states including New York with the goal of reducing

   19        opioid overdose by 40 percent.

   20                 Q.     So the HEALing Communities study, that's

   21        a federally funded study that involves New York and

   22        a few other states; is that right?

   23                 A      That's right.

   24                 Q.     And in New York State there are 16

   25        counties involved.         That's what we see on the slide
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     1                          Frye Hearing - Dr. Keyes                            29

     2       here; is that right?

     3                A       That's right.

     4                Q.      And is Suffolk County one of those

     5       counties?

     6                A       Yes.

     7                Q.      And there are counties all across the

     8       state.       Is that because opioids have impacted

     9       communities across New York State?

   10                 A       Yes.

   11                 Q.      You mentioned that the study is aiming

   12        to reduce opioid overdose by 40 percent.                How is it

   13        trying to do that?

   14                 A       The study is working with communities to

   15        identify community-led initiatives that would reduce

   16        opioid overdose focusing on increased access to

   17        medication for opioid use disorder, increased access

   18        to tertiary prevention techniques such as the

   19        naloxone access as well as reducing opioid

   20        prescribing.

   21                 Q.      How were you chosen to become an

   22        investigator on the HEALing Communities study?

   23                 A       I have over a decade of expertise in

   24        mathematical modeling which is an important

   25        component of the HEALing Communities study.
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     1                          Frye Hearing - Dr. Keyes                            30

     2                Q.     So your role in the study involves

     3       mathematical modeling regarding the goals of the

     4       project?

     5                A      That's right.

     6                Q.     How are you developing those

     7       mathematical models?         Are you looking to any sort of

     8       literature?

     9                A      Yes.

   10                 Q.     What literature are you looking at to

   11        develop your mathematical models?

   12                 A      We synthesize the existing literature on

   13        the parameters that are important for modeling

   14        opioid use, opioid use disorder, and the transition

   15        to overdose.       So synthesizing available literature

   16        as well as available data to inform those

   17        parameters.

   18                 Q.     So the methodology that you just

   19        described, reviewing and synthesizing scientific

   20        literature, is that a generally accepted methodology

   21        in your field?

   22                 A      Yes.

   23                 Q.     Is there a consensus in your field that

   24        that is how research is done and how researchers can

   25        form conclusions?
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     1                          Frye Hearing - Dr. Keyes                            31

     2                A      Yes.

     3                Q.     And that methodology, the review and

     4       synthesis of scientific literature, is that the

     5       methodology that you employed in this case?

     6                A      Yes.

     7                Q.     Dr. Keyes, are your opinions in this

     8       case based on your education, training, and

     9       experience as an epidemiologist?

   10                 A      Yes.

   11                 Q.     And have you brought to bear in your

   12        work in this case, your knowledge of the conditions

   13        surrounding opioid use and misuse in the State of

   14        New York and in Nassau and Suffolk Counties?

   15                 A      Yes.

   16                 Q.     I'd like to move on now to talking about

   17        your assignment and delving deeper into your

   18        methodology.

   19                        Does this slide summarize in general

   20        terms your assignment in this case related to

   21        causation?

   22                 A      Yes.

   23                 Q.     So the first point is that you described

   24        the harms associated with opioid use in New York

   25        State and in Nassau and Suffolk Counties; is that
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     1                           Frye Hearing - Dr. Keyes                           32

     2       right?

     3                A      That's right.

     4                Q.     And then you assessed the causes of

     5       those harms, correct?

     6                A      That's right.

     7                Q.     Now, this next slide, does this

     8       summarize your methodology that you applied in this

     9       case?

   10                 A      Yes.

   11                 Q.     We're going to mark as an exhibit, a

   12        demonstrative exhibit your expert report in this

   13        case.    It's P-23954.

   14                        So your methodology in this case, as

   15        shown in this slide, is to assess whether there is

   16        an association between exposure to prescription

   17        opioids and opioid use disorder, opioid overdose and

   18        of the harms and whether those associations are

   19        causal; is that right?

   20                 A      Yes.

   21                 Q.     And to do that, you --

   22                        MR. ERCOLE:      Your Honor, I apologize for

   23                  interrupting the question.           This is Brian

   24                  Ercole.      It's a little bit hard to hear the

   25                  witness in certain instances.
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     1                           Frye Hearing - Dr. Keyes                           33

     2                       For instance, I couldn't hear the

     3                 witness' last answer.         I don't know if

     4                 there's a way of asking her to speak closer

     5                 into the microphone.         I, again, apologize for

     6                 interrupting.

     7                       THE COURT:      Thank you.      We made a little

     8                 adjustment.

     9                       THE WITNESS:       I'll try to keep more --

   10                        THE COURT:      How is that?      Is that

   11                  better?

   12                        MR. ERCOLE:      It is.     I really appreciate

   13                  that.     Thank you.

   14                        THE COURT:      You're welcome.

   15                        Go ahead.

   16        BY MR. REISMAN:

   17                 Q.     So, Dr. Keyes, the factors listed there

   18        are factors that you used in implementing your

   19        methodology in this case; is that right?

   20                 A      Yes.

   21                 Q.     And those factors are:          Dose-response

   22        relationship, temporal relationship, strength of the

   23        association, replication, biological plausibility,

   24        and consideration of alternative explanations; is

   25        that right?
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     1                          Frye Hearing - Dr. Keyes                            34

     2                A      Yes.

     3                Q.     Where did you get that methodology?

     4                A      Those are standard factors in my field

     5       that we use when evaluating, synthesizing a body of

     6       literature.

     7                Q.     Do you use that methodology in your work

     8       as an epidemiologist on a daily basis?

     9                A      Yes.

   10                 Q.     Is there anything novel about that

   11        methodology?

   12                 A      No.

   13                 Q.     Is that methodology generally accepted

   14        in your field?

   15                 A      Yes.

   16                 Q.     In your work on this case, did you use

   17        this methodology in the same way that you do in your

   18        work as an epidemiologist?

   19                 A      Yes.

   20                 Q.     So I'd like to take a few minutes to go

   21        through each of these factors to have you explain

   22        what they mean and explain how you applied them.

   23                        First we have dose-response

   24        relationship.         Can you explain to the Court what

   25        that means?
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     1                          Frye Hearing - Dr. Keyes                            35

     2                A      Yes.    We look to see whether there is a

     3       greater risk of the outcome as the dose of the

     4       exposure under investigation increases.

     5                Q.     So, for example, you looked to see

     6       whether greater exposure to prescription opioids led

     7       to certain outcomes such as opioid misuse, opioid

     8       use disorder, opioid overdose and other harms; is

     9       that right?

   10                 A      That's right.

   11                 Q.     And you discussed dose-response

   12        relationship in your expert report in this case,

   13        right?

   14                 A      Yes.

   15                 Q.     Now, to apply this factor of dose

   16        response, how did you do that?             What did you do?

   17                 A      I looked for studies that evaluated

   18        different risks of outcomes based on increasing dose

   19        and duration of opioid use.

   20                 Q.     Now, let's break that down.           So when you

   21        talk about increasing dose, is there a way that is

   22        generally accepted in your field of measuring the

   23        dose of a drug, in this case prescription opioids?

   24                 A      Yes.

   25                 Q.     Is that sometimes referred to as
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     1                          Frye Hearing - Dr. Keyes                            36

     2       morphine milligram equivalents?

     3                A      Yes.

     4                Q.     Or MMEs?

     5                A      Yes.

     6                Q.     And what is that?

     7                A      That is a conversion factor.            So if you

     8       have different opioid products that have different

     9       strengths and potencies, you can compare across

   10        different products on comparing apples to apples,

   11        let's say.

   12                 Q.     And is that based on the relative

   13        strength of an opioid as compared to marketing?

   14                 A      Yes.

   15                 Q.     So if an opioid has an MME, if it's 50

   16        MMEs, that means it's 50 times as strong as

   17        morphine; is that right?

   18                 A      Yes.

   19                 Q.     Now, you talked about duration.             Does

   20        that essentially mean how many days a person is

   21        taking opioids?

   22                 A      Yes.

   23                        MR. REISMAN:       Let's look at a study that

   24                  illustrates how you applied dose response.

   25                  It's Demo 48.
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     1                          Frye Hearing - Dr. Keyes                            37

     2                       THE COURT:      Doctor, while we're looking

     3                 at this document, I have a question.              You

     4                 testified about this methodology.

     5                       THE WITNESS:       Yes.

     6                       THE COURT:      Is there a founding father

     7                 of this methodology?

     8                       THE WITNESS:       Bradford Hill is commonly

     9                 cited as one of the epidemiologists who wrote

   10                  on this topic.

   11                        THE COURT:      Is he still with us?

   12                        THE WITNESS:       I don't think so.

   13                        THE COURT:      Okay.     Thank you.

   14        BY MR. REISMAN:

   15                 Q.     So this slide shows a study by Edlund

   16        and colleagues published in the Clinic Journal of

   17        Pain in 2014; is that right?

   18                 A      That's right.

   19                 Q.     And you discussed this study in your

   20        report, right?

   21                 A      Yes.

   22                 Q.     Now, the conclusion that is shown here

   23        from the abstract is that among individuals with a

   24        new CNCP episode, prescription opioid exposure was a

   25        strong risk factor for incident OUDs.               Did I read
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     1                          Frye Hearing - Dr. Keyes                            38

     2       that correctly?

     3                 A     Yes.

     4                 Q.    And CNCP stands for chronic non-cancer

     5       pain; is that right?

     6                 A     That's right.

     7                 Q.    And O-U-D stands for opioid use

     8       disorder; is that right?

     9                 A     Yes.

   10                  Q.    What data did Edlund and colleagues use

   11        in conducting this study?

   12                  A     They used health claims data from five

   13        health claims databases.

   14                  Q.    How did Edlund and colleagues analyze

   15        that health claims data?

   16                  A     They constructed variables that

   17        represented the dose and duration of opioid use

   18        among people who had a claim for a prescription

   19        opioid and evaluated the subsequent opioid use

   20        disorder diagnosis in the claim.

   21                  Q.    Did Edlund study patients who had not

   22        received prescription opioids or have opioid use

   23        disorder in the period before they received an

   24        opioid?

   25                  A     Yes.
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     1                          Frye Hearing - Dr. Keyes                            39

     2                Q.     What did Edlund and his colleagues find?

     3                A      They found that there was an increased

     4       -- a dose-response relationship essentially between

     5       dose and duration of prescription opioid use and

     6       incident opioid use disorder.

     7                Q.     Did Edlund quantify that dose-response

     8       relationship?

     9                A      Yes.

   10                 Q.     This next slide, can you explain to the

   11        Court what it shows on -- what it shows in general

   12        and maybe start with the right-hand side?

   13                 A      On the right-hand side are the odds

   14        ratios which is a measure of association for the

   15        association between prescription opioid use.                 In

   16        this case a greater -- among those with a greater

   17        than 90-day supply and the odds ratio for opioid use

   18        disorder compared to those who did not receive a

   19        prescription opioid.

   20                 Q.     So let's just look at one of these bars.

   21        On the right-hand side, the red bar, it says "high

   22        dose" and under that "122.45."             What does that mean?

   23                 A      That means that those who received a

   24        high dose of prescription opioids for greater than

   25        90 days had 122.45 higher odds of opioid use
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     1                          Frye Hearing - Dr. Keyes                            40

     2       disorder compared to those who did not receive a

     3       prescription opioid.

     4                 Q.    Is that a strong association?

     5                 A     Yes.

     6                 Q.    And then we look at -- if you would look

     7       with me at the yellow bar, two bars over from the

     8       red bar, it says "low dose" and then "14.92."                 Do

     9       you see that?

   10                  A     Yes.

   11                  Q.    What does that show?

   12                  A     The low dose here were those who were

   13        prescribed 136 milligrams per day, again, among

   14        those with a greater than 90-day supply and shows

   15        that those who were on a low dose for greater than

   16        90 days had almost 15 times higher odds of opioid

   17        use disorder compared to those with no prescription

   18        opioid.

   19                  Q.    Is that a strong association?

   20                  A     Yes.

   21                  Q.    Now, let me ask you, Dr. Keyes, do

   22        epidemiologists ever examine individual patient

   23        outcomes?

   24                  A     Rarely.

   25                  Q.    Why is that the case?
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     1                          Frye Hearing - Dr. Keyes                            41

     2                A      One of the fundamental principles of

     3       epidemiology is group comparison that we can learn

     4       about causation by studying populations rather than

     5       individual patients.

     6                Q.     Let's look at a second factor that we

     7       had on the slide a moment ago, temporal

     8       relationship.       Can you explain to the Court what

     9       that means?

   10                 A      Typically for a causal relationship to

   11        be present, the exposure has to precede the cause.

   12                 Q.     So you're looking at whether one

   13        thing --

   14                 A      Occurred before.

   15                 Q.     -- occurs before another.           Okay.    And

   16        let's try not to talk over each other.

   17                 A      I'm sorry.

   18                 Q.     Sometimes I pause in my questions.              So

   19        did you apply the factor in this case?

   20                 A      Yes.

   21                 Q.     Did you apply it in your expert report?

   22                 A      Yes.

   23                 Q.     Let's look at a couple of examples of

   24        studies that you analyzed in your report.                So this

   25        is a slide that is from Demo 46, which we'll hand
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     1                          Frye Hearing - Dr. Keyes                            42

     2       out now.       Now, this is a study that you described

     3       and analyzed in your report; is that right?

     4                 A      Yes.

     5                 Q.     It's a study by Cicero in 2014 titled

     6       "The Changing Face of Heroin Use in the United

     7       States, A Retrospective Analysis of the Past 50

     8       Years."

     9                        What did the researchers do in this

   10        study?

   11                  A      The researchers in this study analyzed

   12        data on individuals who were in substance treatment

   13        programs and asked them questions about their prior

   14        substance use.

   15                  Q.     So that methodology that the researchers

   16        used asking subjects questions, is that a generally

   17        accepted methodology in your field?

   18                  A      Yes.

   19                  Q.     Is it -- is there a consensus that that

   20        methodology is reliable?

   21                  A      Yes.

   22                  Q.     What did Cicero and colleagues find in

   23        their research?

   24                  A      They found that, that among individuals

   25        with heroin dependence, that since the 1990s
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     1                          Frye Hearing - Dr. Keyes                            43

     2       prescription opioid use most commonly preceded

     3       heroin use in these individuals.

     4                Q.     I'm showing you now a figure that is

     5       from the Cicero study.          Can you explain to the Court

     6       what this figure shows?

     7                A      In this figure the authors have

     8       separated the decade of first opioid use into

     9       decades.      So the '60s, '70s, '80s, et cetera, and

   10        examined whether prescription opioid or heroin use

   11        was the first substance used in each of those

   12        decades.

   13                 Q.     And if we look all the way at the

   14        right-hand side in the 2010s, what does that show

   15        with respect to which comes first?

   16                 A      Since the 2000s and in the 2010s,

   17        prescription opioid use was more commonly the first

   18        opioid used among the sample.

   19                 Q.     Now, let's look at another study that

   20        you analyzed in your report.            This is Demo 53.        This

   21        is a study by Lankenau published in 2011 titled,

   22        "Initiation into prescription opioid misuse amongst

   23        young injection drug users"?

   24                 A      Yes.

   25                 Q.     What information or data did Lankenau
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     1                          Frye Hearing - Dr. Keyes                            44

     2       and colleagues analyze in performing this study?

     3                A      Similar to the prior study, there was a

     4       questionnaire that was conducted among the sample of

     5       injection drug users.

     6                Q.     Did this study show that prescription

     7       opioid use precedes heroin use?

     8                A      Yes.

     9                Q.     How did the researchers reach that

   10        conclusion?

   11                 A      Through the questionnaire by asking

   12        individuals about their history of drug use.

   13                 Q.     Now, let's look at this slide which has

   14        an excerpt from the study.           This says "Nearly

   15        three-quarters have been prescribed an opioid in

   16        their lifetime which occurred on average at 14.6

   17        years old."      Did I read that correctly?

   18                 A      Yes.

   19                 Q.     And then below that towards the bottom,

   20        it says "Two-fifths reported their own prescription

   21        as the source of first opioid misuse which typically

   22        occurred at 15.3 years old."            Did I read that

   23        correctly?

   24                 A      Yes.

   25                 Q.     So does this study show that for a
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     1                          Frye Hearing - Dr. Keyes                            45

     2       percentage of the subjects, two-fifths, that they

     3       had received an opioid prescription from a doctor

     4       before becoming -- before initiating heroin?

     5                A      Yes.    Before initiating injection drug

     6       use.

     7                Q.     All right.      And that injection drug use

     8       specifically was heroin use; is that right?

     9                A      Yes.    I think most were heroin.

   10                 Q.     Okay.    Let's turn to the third factor.

   11        We discussed strong association.             What do

   12        epidemiologists look for?

   13                 A      So the strength of association, you

   14        know, you're looking for an association that is

   15        unlikely to be explained by alternative factors

   16        essentially, and that a strong association indicates

   17        that the occurrence of the exposure have a large

   18        effect on the outcome.

   19                 Q.     So would it be fair to say that the

   20        Edlund study, which we spoke about a moment ago,

   21        shows a strong association between prescription

   22        opioid use and OUD?

   23                 A      Yes.

   24                 Q.     And there were other studies, just to be

   25        clear, there were other studies you examined that
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     1                           Frye Hearing - Dr. Keyes                           46

     2       showed strong associations between those two things;

     3       is that right?

     4                 A       Yes.

     5                 Q.      Now, let's look at the fourth factor,

     6       replication.        How do epidemiologists apply that

     7       factor?        Well, first what is that factor?

     8                 A       With replication you're looking to see

     9       if the same association can be observed in

   10        independent samples from independent investigators

   11        in diverse settings.

   12                  Q.      Did you do that in this case?

   13                  A       Yes.

   14                  Q.      How did you do that in this case?

   15                  A       By synthesizing the available

   16        literature.        I look to see whether the same

   17        association could be observed in different study

   18        designs, in different populations, with independent

   19        studies.

   20                  Q.      So I just want to be clear.         We're

   21        looking at some examples right now of how you

   22        applied each of these factors, but the examples are

   23        not the only examples that you analyzed; is that

   24        right?

   25                  A       That's right.
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     1                          Frye Hearing - Dr. Keyes                            47

     2                Q.     Would it be fair to say that in applying

     3       these factors, you look at the totality of the

     4       scientific literature?

     5                A      Yes.

     6                Q.     Did you, in your opinion, determine that

     7       the association between prescription opioid use and

     8       OUD and heroin use has been replicated across

     9       numerous studies?

   10                 A      Yes.

   11                 Q.     Let's turn to the fifth factor,

   12        biological plausibility.           Does plausibility simply

   13        mean possible?

   14                 A      Yes.

   15                 Q.     How do epidemiologists like yourself

   16        apply the factor of biological plausibility?

   17                 A      We look to see whether an association is

   18        consistent with known knowledge about biology and

   19        other, you know, pharmacology.

   20                 Q.     What does that mean in the context of

   21        prescription opioids and OUD and heroin

   22        specifically?

   23                 A      Yeah, there have been -- there is

   24        literature around the pharmacology of these

   25        different products in heroin and prescription
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     1                          Frye Hearing - Dr. Keyes                            48

     2       opioids are pharmacologically similar.

     3                Q.     So based on the literature and your

     4       experience, you determined that it was biologically

     5       plausible for prescription opioid use to cause

     6       heroin use; is that right?

     7                A      Yes.

     8                Q.     Now, let's look at the last factor,

     9       alternate explanations.          How do epidemiologists

   10        apply that factor?

   11                 A      Through study design and data analysis.

   12        For example, controlling for confounding factors

   13        would be one way to rule out alternative

   14        explanations.

   15                 Q.     And did you look to see whether that was

   16        done in the studies that you analyzed?

   17                 A      Yes.

   18                 Q.     And you spoke earlier about the 2015

   19        study that you published on the link between opioid

   20        use and misuse.        Do you recall that?

   21                 A      Yes.

   22                 Q.     And in that study in 2015, how did you

   23        and your colleagues account for alternative

   24        explanations for confounding factors?

   25                 A      We controlled for factors that would be
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     1                          Frye Hearing - Dr. Keyes                            49

     2       alternative explanations of the association,

     3       specifically controlled for them.

     4                Q.     And, for example, I think you mentioned,

     5       as an alternative explanation, prior addiction or

     6       mental health issues; is that right?

     7                A      That's right.

     8                Q.     Now, these factors that we've been

     9       discussing right now, and Justice Garguilo stole my

   10        thunder.      I was going to ask you about where they

   11        come from and if there is a person associated with

   12        them, and is that Bradford Hill.

   13                        Are these factors commonly described as

   14        the Bradford Hill factors?

   15                 A      These are among the Bradford Hill

   16        factors, yes.

   17                 Q.     So there are a few more that you didn't

   18        talk about today?

   19                 A      Yes.

   20                 Q.     Would it be fair to say that the ones we

   21        have talked about are the most important factors

   22        that you used in your work on this case?

   23                 A      Yes.

   24                 Q.     And can you briefly explain what the

   25        purpose of the Bradford Hill factors is in
Case 3:17-cv-01362 Document 1115-12 Filed 10/24/20 Page 51 of 310 PageID #: 37511



     1                          Frye Hearing - Dr. Keyes                            50

     2       epidemiology?

     3                A      Yes.    It's a framework for, for

     4       synthesizing literature and coming to conclusions

     5       about whether the evidence is consistent with the

     6       causal relationship.

     7                Q.     So by applying those factors, can

     8       epidemiologists go from reviewing and synthesizing a

     9       body of literature to forming a causal inference?

   10                 A      That's right.

   11                 Q.     Now, I'd like to briefly go over the

   12        nuts and bolts of how you applied your methodology

   13        in this case.

   14                        How did you go about this literature and

   15        review synthesis that you performed?              Where did you

   16        start?

   17                 A      I started with PubMed, which is a search

   18        engine that is commonly used in my field to elicit a

   19        set of articles that were germane to the topic under

   20        consideration.

   21                        From there I also looked at reference

   22        lists and kind of drew the body of literature from

   23        these initial search criteria.             And I also included

   24        gray literature that I know of, what we call the

   25        gray literature, which is not necessarily
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     1                          Frye Hearing - Dr. Keyes                            51

     2       peer-reviewed articles, but, you know, CDC reports

     3       and other governmental reports that are available,

     4       publicly available but not might not be

     5       peer-reviewed.

     6                Q.     So did you also use your background

     7       knowledge as someone who specializes in substance

     8       abuse disorders in your data and literature review

     9       and synthesis?

   10                 A      Yes.

   11                 Q.     So you mentioned PubMed.          That's a

   12        database that is maintained by the federal NIH; is

   13        that right?

   14                 A      Yes.

   15                 Q.     So from those searches that you did in

   16        PubMed, approximately how many articles did you end

   17        up reviewing?

   18                 A      Approximately 400 or so.

   19                 Q.     What were you looking for in that body

   20        of literature?

   21                 A      I was looking for publications that were

   22        specific to the relationship that I was observing.

   23        And I was looking for scientific rigor, and I was

   24        evaluating them based on the factors that we've

   25        outlined.
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     1                          Frye Hearing - Dr. Keyes                            52

     2                Q.     When you say that you were looking for

     3       scientific rigor, were you looking at the entirety

     4       of each of these studies that you reviewed?

     5                A      Yes.

     6                Q.     So you didn't just look at the abstract

     7       and then form an opinion about that study; is that

     8       right?

     9                A      That's right.

   10                 Q.     You looked at the underlying methodology

   11        that the researchers in each of the studies that you

   12        reviewed applied; is that right?

   13                 A      Yes.

   14                 Q.     You mentioned some data sources.             You

   15        mentioned the CDC.         That's the Centers for Disease

   16        Control; is that right?

   17                 A      Yes.

   18                 Q.     Did you, in your work on this case,

   19        review and analyze and use mortality data from the

   20        CDC?

   21                 A      Yes.

   22                 Q.     And did that mortality or death data

   23        relate specifically to opioid overdose deaths?

   24                 A      Yes.

   25                 Q.     Did you review any data for this case
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     1                          Frye Hearing - Dr. Keyes                            53

     2       that came from sources at the State of New York?

     3                A      Yes.

     4                Q.     Can you briefly explain, describe the

     5       New York State data that you reviewed in this case?

     6                A      Yes.    I primarily relied on the state's

     7       opioid dashboard, which is a public facing site that

     8       produces available information on opioid-related

     9       harms at the county level and the state level.

   10                 Q.     And did you also review opioid reports

   11        from, from the State of New York?

   12                 A      Yes.

   13                 Q.     And those are regular reports that the

   14        New York State Department of Health publishes; is

   15        that right?

   16                 A      That's right.

   17                 Q.     Did you also review data and information

   18        that was provided to you by the Plaintiffs in this

   19        litigation, the State of New York and Nassau and

   20        Suffolk Counties?

   21                 A      Yes.

   22                 Q.     And you relied on some of that data in

   23        forming your opinions in this case; is that right?

   24                 A      Yes.

   25                 Q.     Now, I want to focus on the opioid death
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     1                          Frye Hearing - Dr. Keyes                            54

     2       data.     You got some opioid death data from Suffolk

     3       and Nassau Counties; is that right?

     4                 A     That's right.

     5                 Q.    What, if anything, did you do to look to

     6       see whether that data was reliable?

     7                 A     I examined whether it was consistent

     8       with other sources that were produced, for example,

     9       by the state.

   10                  Q.    Did you talk to anyone?          Did you do any

   11        interviews with anyone in either Nassau or Suffolk

   12        County?

   13                  A     Yes.    I spoke to people in the Medical

   14        Examiner's office in both counties.

   15                  Q.    And why did you do that?

   16                  A     I wanted to confirm what the methodology

   17        was for designating a death as an overdose, for

   18        example.

   19                  Q.    And we'll look at this in a few minutes,

   20        but were you looking to see whether the underlying

   21        data that you used in forming your opinions about

   22        the relationship between opioid supply and harms

   23        like opioid overdose deaths, whether the underlying

   24        data was reliable?

   25                  A     That's right.
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     1                          Frye Hearing - Dr. Keyes                            55

     2                Q.     In your work on this case, did you also

     3       review rates of prescribing of prescription opioids?

     4                A      Yes.

     5                Q.     And did you do that in -- in reviewing

     6       studies that analyzed that sort of data?

     7                A      Yes.

     8                Q.     Now, in this last section of this

     9       examination, I'd like to discuss how you applied

   10        your methodology in reaching your opinions.

   11                        THE COURT:      Doctor, is this your

   12                  methodology or the Bradford Hill methodology

   13                  that you applied?

   14                        THE WITNESS:       I would say it fits into

   15                  both.    You know, the Bradford Hill

   16                  methodology is sort of a larger set of

   17                  criteria to use when looking at a body of

   18                  literature, but, you know, the reliability of

   19                  the underlying data is one of those factors.

   20                  And so --

   21                        THE COURT:      Did I hear correctly, you

   22                  indicated that you applied six of the

   23                  criteria of the Bradford Hill methodology?

   24                        THE WITNESS:       Yes.

   25                        THE COURT:      Is there nine?
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     1                           Frye Hearing - Dr. Keyes                           56

     2                       THE WITNESS:       There are nine.

     3       BY MR. REISMAN:

     4                Q.     Would it be fair to say that you applied

     5       all of the factors, but the six that we've just

     6       discussed are the most important factors for

     7       purposes of explaining your methodology today?

     8                       MR. SCHMIDT:       I'll object to his feeding

     9                 testimony to the witness, leading.

   10                        THE COURT:      Just do me a favor.         Take

   11                  the mask off for a second.           What's the

   12                  objection?

   13                        MR. SCHMIDT:       Sorry.    I will object to

   14                  that one as leading because he's feeding

   15                  testimony to the witness.

   16                        THE COURT:      Rephrase the question.          I'm

   17                  not going to consider the answer.             Rephrase

   18                  the question, and then I'll consider the

   19                  answer.

   20        BY MR. REISMAN:

   21                 Q.     Dr. Keyes, in your methodology in this

   22        case, did you apply all of the Bradford Hill

   23        factors?

   24                 A      Generally, if I can give an example, I

   25        think it would be helpful.
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     1                           Frye Hearing - Dr. Keyes                           57

     2                       THE COURT:      Go ahead.     Give me an

     3                 example.

     4                       THE WITNESS:       So another Bradford Hill

     5                 criteria, for example, is analogy.             An

     6                 analogy is, you know, not necessarily the,

     7                 you know, whether the evidence is consistent

     8                 with other associations in the literature

     9                 that aren't germane to the one that you're

   10                  considering.      And I used analogy in my

   11                  report.

   12                        I just didn't consider it to be among

   13                  the most, you know, kind of important and

   14                  compelling factors that drove my opinions,

   15                  but certainly there are in my report

   16                  analogies in other, in other literatures, and

   17                  that would be a Bradford Hill criteria.               So

   18                  that's an example.

   19                        THE COURT:      Next question.

   20        BY MR. REISMAN:

   21                 Q.     Did you use the name Bradford Hill?

   22        Does it appear in your report anywhere?

   23                 A      No.

   24                 Q.     But you did use the principles, the

   25        factors that Bradford Hill described in your report;
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     1                          Frye Hearing - Dr. Keyes                            58

     2       is that right?

     3                A      That's right.

     4                Q.     Now, we're going to move on in this last

     5       section to talking about your opinions and how you

     6       got from your methodology to your opinions.                 Does

     7       this slide summarize your opinions at a high level

     8       in this case, the opinions relating to causation?

     9                A      Yes.

   10                        THE COURT:      Do you have a copy of that

   11                  slide on paper?

   12                        MR. REISMAN:       We can make one.

   13                        THE COURT:      I'll move it.       We can see it

   14                  this way.     Thank you.

   15        BY MR. REISMAN:

   16                 Q.     So the first one, Dr. Keyes, is use of

   17        prescription opioids increases the risk of opioid

   18        use disorder and abuse of illicit opioids such as

   19        heroin and fentanyl; is that right?

   20                 A      Yes.

   21                 Q.     The second is the increased supply of

   22        prescription opioids since the 1990s led to an

   23        increase in rates of opioid use disorder, opioid

   24        overdose deaths, and other harms.             Did I read that

   25        correctly?
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     1                          Frye Hearing - Dr. Keyes                            59

     2                A      Yes.

     3                Q.     And the third here is marketing of

     4       prescription opioids increases prescribers

     5       likelihood of prescribing opioids in the future; is

     6       that right?

     7                A      Yes.

     8                Q.     Now, just so we're all clear, your

     9       expert report in this case contains other opinions;

   10        is that right?

   11                 A      Yes.

   12                 Q.     But we're focusing for purposes of

   13        today's hearing on these three, okay?

   14                 A      Okay.

   15                 Q.     Now, the first one, can you explain to

   16        the Court what your basis for that opinion is?

   17                 A      Yes.

   18                 Q.     What methodology did you use to reach

   19        that opinion?

   20                 A      I reviewed the literature on the

   21        association between prescription opioid use and

   22        opioid use disorder as well as these other outcomes,

   23        and determined that the literature was consistent in

   24        showing that prescription opioid use increased the

   25        risk or increased the probability of occurrence of
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     1                          Frye Hearing - Dr. Keyes                            60

     2       these outcomes.

     3                Q.     In your report you estimated the

     4       prevalence of opioid use disorder that is arising

     5       out of opioid use; is that right?

     6                A      Prescribed opioid use, yes.

     7                Q.     So you estimated that prevalence; is

     8       that right?

     9                A      That's right.

   10                 Q.     Did you rely, in part, for those

   11        prevalence estimates on the Vowles study?

   12                 A      Yes.

   13                 Q.     So let's look at this a bit more

   14        closely.      This is Demo 58.       Now, before we get into

   15        the studies, what is prevalence?

   16                 A      Prevalence is the total burden of an

   17        outcome in a population.

   18                 Q.     So what would that mean in the opioid

   19        context?

   20                 A      Prevalence would be the number of people

   21        who have opioid use disorder in a given sample or

   22        population divided by the total number of people in

   23        that population.

   24                 Q.     Do epidemiologists use prevalence

   25        estimates to draw causal inferences?
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     1                          Frye Hearing - Dr. Keyes                            61

     2                A      Yes.

     3                Q.     Can you explain to the Court why it's

     4       appropriate for epidemiologists to do that?

     5                A      Oftentimes the total burden of a health

     6       outcome has important public health implications.

     7       So we examine prevalence as an indicator of total

     8       harm.

     9                Q.     Is that true in the context of opioids?

   10                 A      Yes.

   11                 Q.     So this study by Vowles, it's titled,

   12        "Rates of opioid misuse, abuse, and addiction in

   13        chronic pain: a systematic review and data

   14        synthesis;" is that right?

   15                 A      Yes.

   16                 Q.     Now, earlier you mentioned your work on

   17        the federally-funded and HEALing Communities study.

   18        Do you recall that?

   19                 A      Yes.

   20                 Q.     In your work on that study, have you

   21        used this Vowles study in any way?

   22                 A      Yes.    It's one of the studies that we

   23        used in terms of our synthesis and literature

   24        reviewed to inform mathematical parameters.

   25                 Q.     Can you briefly explain how you and your
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     1                          Frye Hearing - Dr. Keyes                            62

     2       colleagues on the study used this Vowles article in

     3       developing your work on HEALing Communities?

     4                A      Sure.    We are developing a mathematical

     5       model of the transition in New York State from

     6       opioid use to disorder to overdose and treatment and

     7       in mathematically modeling the transition from

     8       opioid use to opioid use disorder, we relied on

     9       Vowles and systematic reviews to inform what

   10        proportion of our mathematical agents should

   11        transition in New York State.

   12                 Q.     What is a systematic review?

   13                 A      A systematic review is typically a paper

   14        that examines a whole body of literature and comes

   15        to a conclusion from it.

   16                 Q.     How many studies did Vowles and

   17        colleagues analyze in their systematic review?

   18                 A      38.

   19                 Q.     And they did that to reach conclusions

   20        about the prevalence of opioid misuse, abuse, and

   21        addiction arising out of the use of prescription

   22        opioids for treating chronic pain; is that right?

   23                 A      That's right.

   24                 Q.     Now, this systematic review methodology

   25        that this particular study employed, is that a
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     1                          Frye Hearing - Dr. Keyes                            63

     2       generally accepted methodology in your field?

     3                A      Yes.

     4                Q.     Is this Vowles study, which analyzed 38

     5       underlined studies, generally accepted in your field

     6       as reliable?

     7                A      Yes.

     8                Q.     Can you explain to the Court why this

     9       study is generally accepted as reliable?

   10                 A      Sure.    I think the study is generally

   11        accepted as reliable because the methods are

   12        rigorous and transparent and the underlying studies

   13        are well described.

   14                 Q.     Now, you used this report to generate

   15        your own estimates regarding the prevalence of

   16        opioid use disorder arising out of prescription

   17        opioid use for chronic pain; is that right?

   18                 A      That's right.

   19                 Q.     This next slide is Figure 1 from your

   20        report which we handed out a few minutes ago.                 Can

   21        you explain to the Court generally what this slide

   22        shows?

   23                 A      These are circles.         The broader circle

   24        denoting that you got a, you know, a total

   25        population of people who are treated with opioids.
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     1                          Frye Hearing - Dr. Keyes                            64

     2       Within that, there will be a subset who have opioid

     3       use disorder ranging from mild to severe disorder.

     4                Q.     So let's stop right there.           So that

     5       middle circle, which is peach colored, it says

     6       "Opioid use disorder from mild to severe, 21 to 29

     7       percent;" is that right?

     8                A      That's right.

     9                Q.     Now, these are estimates that you

   10        derived from Vowles; is that right?

   11                 A      Um-hm, yes.

   12                 Q.     Did Vowles use the term "opioid use

   13        disorder"?

   14                 A      No.

   15                 Q.     Where did you get that term from?

   16                 A      The Diagnostic and Statistical Manual of

   17        Mental Disorders.

   18                        THE COURT:      The DSM?

   19                        THE WITNESS:       The DSM.

   20        BY MR. REISMAN:

   21                 Q.     And so that DSM, is it sometimes

   22        referred to as the DSM-5, the current version?

   23                 A      Yes.

   24                 Q.     Is the DSM-5 used in epidemiology?

   25                 A      Yes.
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     1                          Frye Hearing - Dr. Keyes                            65

     2                Q.     So is it fair to say that you took the

     3       analysis about prevalence that Vowles had and you

     4       mapped onto the DSM-5?

     5                A      That's right.

     6                Q.     And so that's how you got to that 21 to

     7       29 percent figure for OUD from mild to severe; is

     8       that right?

     9                A      That's right.

   10                 Q.     And then the inner circle says "Opioid

   11        use disorder from moderate to severe, 8 to 12

   12        percent;" is that right?

   13                 A      Yes.

   14                 Q.     And with respect to both of those

   15        categories, again, you -- did you take the analysis

   16        from Vowles and map that onto the DSM-5?

   17                 A      Yes.

   18                 Q.     So can you explain to the Court why it

   19        was appropriate for you to do that as an

   20        epidemiologist?

   21                 A      That's commonly done in epidemiology

   22        when we're synthesizing literature and trying to

   23        draw comparisons of cross studies.

   24                 Q.     So the underlying studies in Vowles,

   25        what did they consist of?           What methodology did
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     1                          Frye Hearing - Dr. Keyes                            66

     2       those underlying studies use?

     3                A      Predominantly they use questionnaires

     4       that were given to patients to assess different

     5       symptoms related to opioid use disorder.

     6                Q.     So in the systematic review that Vowles

     7       performed, Vowles had to map or integrate various

     8       questionnaires, various types of questionnaires that

     9       the underlying studies used; is that right?

   10                 A      Yes.

   11                 Q.     And to map Vowles onto the DSM-5, you

   12        did that same sort of analysis; is that right?

   13                 A      That's right.

   14                 Q.     Now, you mentioned questionnaires and

   15        the DSM-5.      Let's look at an example of what you

   16        did.

   17                        So this chart, it's not in your report.

   18        This is for demonstrative purposes.              This is -- this

   19        shows an example of your mapping of one of the

   20        underlying questionnaires in a study analyzed by

   21        Vowles to the DSM-5; is that right?

   22                 A      That's right.

   23                 Q.     What does the right-hand side of the

   24        table show?

   25                 A      These are questions from the screener
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     1                          Frye Hearing - Dr. Keyes                            67

     2       and opioid assessment for patients with pain.

     3                Q.     And what is that used for?

     4                A      That is commonly used in clinical

     5       studies to assess whether patients are likely to

     6       have a problem with their opioid prescription.

     7                Q.     And does having a problem with their

     8       opioid prescription sometimes include opioid misuse?

     9                A      Yes.

   10                 Q.     Does it sometimes include opioid use

   11        disorder?

   12                 A      Questions that are consistent with

   13        opioid use disorder, yes.

   14                 Q.     So on the right-hand side, you have some

   15        questions that are contained in the actual

   16        questionnaire used in some of the studies analyzed

   17        by Vowles; is that correct?

   18                 A      Yes.

   19                 Q.     And what does the left-hand side of that

   20        table show?

   21                 A      These are criteria from the DSM-5 for

   22        opioid use disorder.

   23                 Q.     And that's the current version of the

   24        DSM; is that right?

   25                 A      That's right.
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     1                          Frye Hearing - Dr. Keyes                            68

     2                Q.     So the first one is opioids are often

     3       taken in larger amounts for over a longer period

     4       than was intended; is that right?

     5                A      Yes.

     6                Q.     And so in your work in mapping Vowles to

     7       the DSM-5, you looked to see whether questions in

     8       the underlying questionnaires in the studies mapped

     9       onto DSM-5 criteria; is that right?

   10                 A      That's right.

   11                 Q.     And this is just an example of two DSM-5

   12        criteria for which you performed this mapping

   13        analysis; is that right?

   14                 A      That's right.

   15                 Q.     How many criteria does a person need to

   16        meet in order to receive a diagnosis of mild opioid

   17        use disorder?

   18                 A      At least two.

   19                 Q.     So if a person meets these two criteria

   20        that are shown on this slide, is it your

   21        understanding that a clinician would diagnose that

   22        person with mild opioid use disorder?

   23                 A      In most cases, yes.

   24                 Q.     Now, with respect to your prevalence

   25        estimates of OUD that you derived from the Vowles
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     1                          Frye Hearing - Dr. Keyes                            69

     2       systematic review, did you do anything to assess the

     3       reliability of your estimates?

     4                A      Yes.

     5                Q.     Can you tell the Court what you did?

     6                A      I identified a study that was published

     7       after the Vowles study that used DSM-5 criteria in

     8       assessing the prevalence of OUD in another sample of

     9       people being prescribed opioids.

   10                        And that study came up with very similar

   11        prevalence estimates as Vowles.             And so that was an

   12        indicator that Vowles was a reliable study to use to

   13        estimate the prevalence of OUD.

   14                 Q.     Now, Dr. Keyes, are you aware that the

   15        Defendants in this case criticize you for not

   16        addressing in your report a study that was published

   17        last year by a researcher named McCabe?

   18                 A      Yes.

   19                 Q.     Now, before we get to that McCabe 2019

   20        study, I'd like to ask you, again, roughly how many

   21        studies did you rely on to form your opinions

   22        regarding the causal relationship between

   23        prescription opioid use and opioid use disorder?

   24                 A      Dozens.

   25                 Q.     And in your report you do cite studies
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     1                          Frye Hearing - Dr. Keyes                            70

     2       that were published by McCabe prior to 2019; is that

     3       right?

     4                A      Yes.

     5                Q.     Let's look at this one.          This is Demo

     6       55.    Is the title of this study Trends in Medical

     7       and Nonmedical Use of Prescription Opioids Among US

     8       Adolescents: 1976 to 2015?

     9                A      Yes.

   10                 Q.     It was published in 2017; is that right?

   11                 A      Yes.

   12                 Q.     How did McCabe and his colleagues

   13        conduct this 2017 study?

   14                 A      So these data are drawn from Monitoring

   15        the Future, the study that we discussed earlier.

   16        And they use questionnaires of adolescents on

   17        medical and nonmedical opioid use every year since

   18        1976 through 2015.

   19                 Q.     In this study that we're looking at,

   20        what were the primary findings of the researchers?

   21                 A      The primary findings were that medical

   22        and nonmedical use of prescription opioids are

   23        highly correlated.

   24                 Q.     Can you explain in laypersons terms what

   25        that means?
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     1                          Frye Hearing - Dr. Keyes                            71

     2                A      It means that there's a lot of overlap

     3       between students who use opioids nonmedically and

     4       those who report opioid use medically.

     5                Q.     Did the study that McCabe published in

     6       2017 reach any conclusions about which came first,

     7       whether it was prescription opioid medical use first

     8       or nonmedical use first?

     9                A      Yes.    Among the students who used both

   10        medically and nonmedically, medical use is more

   11        likely to precede the nonmedical use.

   12                 Q.     And, again, the medical use is taking a

   13        prescription opioid because a doctor told you to?

   14                 A      That's right.

   15                 Q.     So this study concluded that that group

   16        of medical users used medically before using

   17        nonmedically; is that right?

   18                 A      They were more likely to, yes.

   19                 Q.     Now, let's look at the 2019 study that

   20        McCabe published.        This is Demo 54.        This McCabe

   21        2019 study is titled, "A Prospective study of

   22        nonmedical use of prescription opioids during

   23        adolescence and subsequent substance use disorder

   24        symptoms in early midlife;" is that right?

   25                 A      That's right.
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     1                          Frye Hearing - Dr. Keyes                            72

     2                Q.      Now, before you filed your expert report

     3       in this case, did you review this study?

     4                A       Yes.

     5                Q.      How did you know about it?

     6                A       I'm generally familiar with studies that

     7       are published for Monitoring the Future given my

     8       close affiliation with the study.

     9                Q.      Why did you not discuss this study in

   10        your report?

   11                 A       Opioid use disorder wasn't an outcome of

   12        the study, so it didn't seem particularly relevant

   13        to the, to the investigation that I was doing.

   14                 Q.      You mean to the assignment that you had

   15        in this case; is that what you mean?

   16                 A       That's right, yes.

   17                 Q.      Did this 2019 study repudiate the

   18        findings that the 2017 study made?

   19                 A       No.

   20                 Q.      Now, why did you come back to this

   21        study?       Why -- did you come back to this study and

   22        review it after you filed your report?

   23                 A       Yes.

   24                 Q.      Does this study -- reviewing this 2019

   25        study now, does it change your opinions in any way?
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     1                          Frye Hearing - Dr. Keyes                            73

     2                A       No.

     3                Q.      What is the primary finding in your

     4       opinion of this study?

     5                A       The primary finding is that individuals

     6       who use prescription opioids have an increased risk

     7       of substance use disorders at age 35.

     8                        THE COURT:     Okay.    There's an objection.

     9                 Go ahead.

   10                         MR. SCHMIDT:      Your Honor, I didn't

   11                  object before because this is undisclosed,

   12                  and she's just been saying why it's

   13                  undisclosed.      Now she's giving substantive

   14                  undisclosed opinions about it.            We object on

   15                  that basis.      It's not on her reliance list.

   16                  It's not discussed in her report.

   17                         THE COURT:     Mr. Reisman?

   18                         MR. REISMAN:      This was used by

   19                  Mr. Schmidt as an exhibit during Dr. Keyes'

   20                  deposition back in January.           It's completely

   21                  appropriate for her to be testifying about it

   22                  now.

   23                         MR. SCHMIDT:      She's giving a new

   24                  undisclosed --

   25                         THE COURT:     Say it again.
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     1                          Frye Hearing - Dr. Keyes                            74

     2                       MR. SCHMIDT:       That's exactly accurate.

     3                 I was the first one to show it to her.               She's

     4                 giving now a new undisclosed opinion about

     5                 it.

     6                       THE COURT:      Okay.    During the

     7                 examination, was the doctor examined in

     8                 connection with this -- in connection with

     9                 we'll call it this report?

   10                        MR. SCHMIDT:       During my examination,

   11                  yes, but she didn't give the opinions that

   12                  she's now giving about it.

   13                        THE COURT:      That's what impeachment is

   14                  all about.

   15                        MR. SCHMIDT:       That's what expert witness

   16                  disclosures are all about.

   17                        THE COURT:      Overruled.      Go ahead.

   18        BY MR. REISMAN:

   19                 Q.     So I just want to make sure we have on

   20        the record, Doctor, your opinion about the primary

   21        finding of this study.          Can you say that again?

   22                 A      Yes.    The primary finding of the study

   23        is that adolescents who report prescription opioid

   24        use have an increased risk of substance abuse

   25        disorder at age 35.
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     1                          Frye Hearing - Dr. Keyes                            75

     2                Q.     And that is adolescents who use

     3       medically or nonmedically?

     4                A      Primarily those who use nonmedically.

     5                Q.     Did the study reach any conclusions

     6       about whether medical users of opioids later become

     7       nonmedical users of opioids?

     8                A      I'm sorry.      Can you repeat the question?

     9                Q.     Did the study reach any conclusions

   10        about whether medical users of opioids later become

   11        nonmedical users of opioids?

   12                 A      I don't believe that's covered in this

   13        paper.

   14                 Q.     Does it matter which comes first,

   15        medical use of opioids or nonmedical use?

   16                 A      For the purposes of developing a

   17        substance use disorder, exposure to opioids is the

   18        primary risk factor.

   19                        THE COURT:      So it doesn't matter?         Okay.

   20                        THE WITNESS:       No.

   21        BY MR. REISMAN:

   22                 Q.     Is the answer to the question no?

   23                 A      Correct.

   24                 Q.     Now --

   25                        THE COURT:      By the way, I think there
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     1                          Frye Hearing - Dr. Keyes                            76

     2                 was a finding in the MDL by Judge Polster.

     3                       MR. REISMAN:       Yes, your Honor.

     4       BY MR. REISMAN:

     5                 Q.    And speaking of which, I want to turn

     6       now to talking about your opinions about the causal

     7       relationship between prescription opioid use and

     8       heroin use.      Is that sometimes called the gateway

     9       effect?

   10                  A     Yes.

   11                  Q.    Now, in forming your opinions about this

   12        aspect of the gateway effect, you reviewed a large

   13        number of studies; is that right?

   14                  A     That's right.

   15                  Q.    So the studies fell in several

   16        categories.      You reviewed 16 studies that found that

   17        individuals who use prescription opioids

   18        nonmedically have significantly higher rates of

   19        heroin use than those who do not; is that right?

   20                  A     That's right.

   21                  Q.    And those studies that you reviewed

   22        controlled for other factors; is that right?

   23                  A     Many of them did, yes.

   24                  Q.    And as we saw earlier with Cicero,

   25        studies show that up to 80 percent of individuals
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     1                          Frye Hearing - Dr. Keyes                            77

     2       who used heroin in the last 20 years started their

     3       opioid use with prescription opioids; is that right?

     4                A      That's right.

     5                Q.     Another type of evidence that you relied

     6       on are studies that were conducted here in New York

     7       showing that pathway; is that right?

     8                A      Yes.

     9                Q.     And then finally we have on this slide

   10        the analysis of studies evaluating the effectiveness

   11        of prescription drug monitoring programs.

   12                        Can you just briefly explain to the

   13        Court the significance of the role of prescription

   14        drug monitoring programs in heroin use?

   15                 A      Yes.    So prescription drug monitoring

   16        programs have been introduced in New York to, to

   17        provide a greater check on the opioid supply and

   18        opioid prescribing and has resulted in fewer opioid

   19        prescriptions to many people who have become

   20        dependent on prescription opioids.

   21                        And numerous studies have now shown that

   22        when the opioid supply is restricted, that there is

   23        a transition among individuals with high levels of

   24        prescription opioid use to heroin.

   25                 Q.     So is it fair to say that even though
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     1                           Frye Hearing - Dr. Keyes                           78

     2       opioid prescribing has gone down in the last few

     3       years, heroin use has gone up?

     4                A      Yeah, that's correct.

     5                Q.     And do the studies about the impact of

     6       prescription drug monitoring programs or PDMPs draw

     7       a connection between prescription opioid use and

     8       heroin use?

     9                A      Yes.

   10                 Q.     And so your methodology in this case was

   11        to look at this body of literature that looked at

   12        different factors in the link between prescription

   13        opioid use and heroin use; is that right?

   14                 A      That's right.

   15                        MR. ERCOLE:      Your Honor, this is

   16                  Mr. Ercole.      I'm just going to object.           At

   17                  this point in time, counsel is literally

   18                  leading opinions to the witness on these

   19                  issues.

   20                        THE COURT:      So you're suggesting counsel

   21                  is permissively leading; is that it?

   22                        MR. ERCOLE:      Yes, your Honor.

   23                        THE COURT:      All right.      Sustained.

   24                  Don't lead.

   25                        There's times you can lead on
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     1                          Frye Hearing - Dr. Keyes                            79

     2                 preliminary matters.         When we get down to

     3                 substance, try not to.

     4                       MR. REISMAN:       Understood.

     5                       THE COURT:      Thank you.

     6       BY MR. REISMAN:

     7                Q.     Let's look at several other studies that

     8       you analyzed in forming your opinions on this issue.

     9       This is Demo 57.

   10                        This is a study titled, "Associations of

   11        Nonmedical Pain Reliever Use and Initiation of

   12        Heroin Use in the United States;" is that right?

   13                 A      That's right.

   14                 Q.     And it was authored by Muhuri,

   15        M-U-H-U-R-I, in 2013?

   16                 A      Yes.

   17                 Q.     What did the researchers do in this

   18        study?

   19                 A      They analyzed data from the National

   20        Survey of Drug Use and Health, which is conducted

   21        annually in the United States.             And they used data

   22        from 2002 to 2011 to examine the risk of heroin

   23        initiation based on prior nonmedical opioid use.

   24                 Q.     What did they find?

   25                 A      They found that prior nonmedical opioid
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     1                          Frye Hearing - Dr. Keyes                            80

     2       use increased the risk of heroin initiation.

     3                Q.     Did they make any finding about the

     4       percentage of heroin users that initiated their

     5       opioid use with prescription opioids?

     6                A      Yes.

     7                Q.     What was that finding?

     8                A      The prevalence of heroin initiation was

     9       3.6 percent for the incidents -- excuse me -- the

   10        incidents of heroin initiation.

   11                 Q.     What percentage of heroin users,

   12        according to this study, began opioid use with

   13        prescription opioids?

   14                 A      80 percent.

   15                 Q.     Now, do all prescription opioid users

   16        become heroin addicts?

   17                 A      No.

   18                 Q.     And you a mentioned a statistic a moment

   19        ago, that 3.76 percent?

   20                 A      Yes.

   21                 Q.     Can you explain, again, what that means?

   22                 A      That means that 3.6 percent of people

   23        who use prescription opioids nonmedically progressed

   24        to initiate heroin within five years.

   25                 Q.     Is that a significant number?
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     1                          Frye Hearing - Dr. Keyes                            81

     2                A      Yes.

     3                Q.     Can you explain why that is significant?

     4                A      Heroin use is relatively rare in the

     5       population.      And so 3.6 percent represents hundreds

     6       of thousands of people.

     7                Q.     Let's look at the next study here.              It's

     8       Demo 45.      This is a study titled, "Non-medical use

     9       of prescription opioids is associated with heroin

   10        initiation among US veterans: a prospective cohort

   11        study;" is that right?

   12                 A      Yes.

   13                 Q.     What did the researchers do in this

   14        study?

   15                 A      In this study they used a cohort of

   16        veterans who had been ascertained at clinics in

   17        major cities in the U.S. and examined whether

   18        nonmedical use of prescription opioids was

   19        associated with heroin initiation.

   20                        THE COURT:      The report indicates they

   21                  use a multivariable Cox regression model.

   22                        THE WITNESS:       That's correct.

   23                        THE COURT:      What is that?

   24                        THE WITNESS:       That is a type of

   25                  regression model that accounts for time to
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     1                          Frye Hearing - Dr. Keyes                            82

     2                 event data.      So if you want to study the time

     3                 to heroin initiation, you have to have a

     4                 regression model that allows you to model

     5                 that out comp with a Cox proportional

     6                 distribution.

     7                       THE COURT:      Thank you.

     8       BY MR. REISMAN:

     9                Q.     What data did the researchers use in

   10        this study?

   11                 A      They used Veterans Health Administration

   12        infectious disease and primary clinic data.

   13                 Q.     Can you just be a little more specific?

   14        Were they using surveys or other types of data?

   15                 A      Yes.    They did use surveys.

   16                 Q.     Okay.    So this study used surveys, and

   17        you mentioned that in the Lankenau study surveys

   18        were also used; is that right?

   19                 A      That's right.

   20                 Q.     And then the Muhuri study as well; is

   21        that right?

   22                 A      That's right.

   23                 Q.     And so is using surveys on a question

   24        like this the link between prescription opioid use

   25        and heroin use a reliable methodology?
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     1                          Frye Hearing - Dr. Keyes                            83

     2                 A     Yes.

     3                 Q.    What was the finding of the researchers

     4       in this study?

     5                 A     The finding was that nonmedical use of

     6       prescription opioids was associated with heroin

     7       initiation.

     8                 Q.    And that's in a population of veterans?

     9                 A     That's right.

   10                  Q.    You expressed an opinion in this case

   11        that prescription opioid use is linked to heroin use

   12        and subsequently to fentanyl use; is that right?

   13                  A     Yes.

   14                  Q.    What is fentanyl?

   15                  A     Fentanyl is a highly potent synthetic

   16        opioid.

   17                  Q.    In terms of MMEs, approximately what is

   18        the MME equivalent of fentanyl?

   19                  A     I believe it's 50 to 100 times more

   20        potent depending on the fentanyl analog that's being

   21        analyzed.

   22                  Q.    Now, this slide is P-23781.           Is this

   23        document that we're looking at a report from the CDC

   24        about fentanyl in 2016?

   25                  A     Yes.
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     1                           Frye Hearing - Dr. Keyes                           84

     2                Q.     Did you discuss this in your report?

     3                A      Yes.

     4                Q.     What does this, what does this report

     5       say about fentanyl?

     6                A      That fentanyl has been adulterated into

     7       the heroin and prescription opioid supply in the

     8       United States.

     9                Q.     So how did you use this report in

   10        forming your opinions about the link between

   11        prescription opioid use, heroin use, and fentanyl

   12        use?

   13                 A      Because fentanyl has been mixed or

   14        contaminated in the heroin supply, my opinion is

   15        that the extent to which prescription opioid use is

   16        causally associated with heroin use, it's similarly

   17        causally associated with heroin use that has been

   18        tainted with fentanyl.

   19                        MR. HERMAN:      Your Honor, this is Steve

   20                  Herman for the pharmacies, and I apologize

   21                  for the late objection, but I believe the

   22                  question was:       How was this used in your

   23                  report?

   24                        And if I'm not mistaken, I believe this

   25                  is a material that was considered after the
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     1                           Frye Hearing - Dr. Keyes                           85

     2                 report.     And so I would just like to object

     3                 and to also note that I believe we filed a

     4                 letter objecting to the late disclosure of

     5                 the supplemental materials considered list.

     6                       THE COURT:      First of all, don't ever

     7                 apologize for objecting.          Part and parcel of

     8                 your job is to protect the record.

     9                       Mr. Reisman, did you hear what he said?

   10                        MR. REISMAN:       Yeah.    With all due

   11                  respect, Mr. Herman is wrong.            This is in her

   12                  report.     He's referring to another document

   13                  we'll get to in a minute, but this one is in

   14                  her report.

   15                        MR. HERMAN:      I apologize; obviously,

   16                  that list came in later.

   17                        THE COURT:      You don't have to apologize

   18                  for objecting; you don't have to apologize

   19                  for not.     It's okay.

   20                        Go ahead.

   21        BY MR. REISMAN:

   22                 Q.     So, Dr. Keyes, let me ask you this

   23        question.      So is fentanyl seen in the world out

   24        there as in other substances besides opioids like

   25        cocaine and so on?
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     1                           Frye Hearing - Dr. Keyes                           86

     2                A      Yes.

     3                Q.     Is it your opinion in this case that

     4       every single overdose death associated with fentanyl

     5       is attributable to prescription opioids?

     6                A      No.

     7                Q.     What percentage of fentanyl-related

     8       deaths are attributable to prescription opioids in

     9       your opinion?

   10                 A      My opinion is that in terms of

   11        heroin-related deaths that approximately 80 percent.

   12                        THE COURT:      He asked about fentanyl.

   13                        THE WITNESS:       Right.    So of those that

   14                  are not -- I would divide the two between

   15                  heroin-related deaths and non heroin-related

   16                  deaths.

   17                        Among the non heroin-related deaths,

   18                  certainly there is overlap between, you know,

   19                  cocaine and methamphetamine and other

   20                  substances and opioid use.

   21                        And so certainly some of those would be

   22                  attributable, but to a less extent than

   23                  heroin-related deaths.

   24                        So I don't have a specific number for

   25                  all fentanyl deaths.
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     1                          Frye Hearing - Dr. Keyes                            87

     2       BY MR. REISMAN:

     3                Q.     Let's focus on heroin-related deaths.

     4       What percentage of heroin -- let me strike that.

     5       Let me rephrase.

     6                       What percentage of fentanyl-tainted

     7       heroin deaths are attributable to prescription

     8       opioids?

     9                A      I would estimate that about 75 to 80

   10        percent.

   11                 Q.     Why is that?

   12                 A      Because 75 percent to 80 percent of

   13        those individuals are likely to have begun with --

   14        begun their opioid use with prescription opioids.

   15                 Q.     And with respect to fentanyl-related

   16        deaths for which there is no heroin or opioid

   17        involved, you mentioned that you believed that there

   18        is a connection to opioids.            Can you explain what

   19        you meant by that?

   20                 A      Sure.    People who use other substances

   21        such as cocaine and methamphetamine, it often

   22        co-occurs with opioids.          So there's not no

   23        connection.      All of these drugs often co-occur among

   24        individuals.

   25                 Q.     Now we're going to look at -- sorry.
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     1                           Frye Hearing - Dr. Keyes                           88

     2       There's a little delay in advancing slides.

     3                         THE COURT:    It's okay.

     4       BY MR. REISMAN:

     5                 Q.      Let's move to the third opinion that you

     6       expressed in this case or that was summarized

     7       earlier.

     8                         The increased supply of prescription

     9       opioids since the 1990s led to an increase in rates

   10        of OUD.        Actually, it's the second opinion.           Let me

   11        ask you this first.

   12                          Did the supply of prescription opioids

   13        in New York and in Nassau and Suffolk Counties

   14        increase beginning in the 1990s?

   15                  A       Yes.

   16                  Q.      Can you explain to the Court what your

   17        basis for that statement is?

   18                  A       I reviewed data on the distribution of

   19        opioids as well as data on pharmacy dispensing of

   20        opioids.

   21                  Q.      What data did you review?

   22                  A       The ARCOS data as well as IQVIA.

   23                  Q.      Can you tell the Court what ARCOS data

   24        is?

   25                  A       ARCOS is a database that measures the
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     1                          Frye Hearing - Dr. Keyes                            89

     2       distribution of medication, pharmaceutical

     3       medication in the United States.

     4                       THE COURT:      We asked the former chief of

     5                 the FDA what ARCOS stands for.            He didn't

     6                 have the answer.        Do you?

     7                       THE WITNESS:       Yes.    It's the Automated

     8                 -- I might get it wrong, but the Consolidated

     9                 Order System.       And I don't remember -- I got

   10                  three out of five.

   11        BY MR. REISMAN:

   12                 Q.     Is it the Automation of Reports and

   13        Consolidated Orders System?

   14                 A      That's right.

   15                 Q.     So ARCOS measures -- is it fair to say

   16        that ARCOS measures the distribution of opioids?

   17                 A      Yes.

   18                 Q.     How did you go about reviewing ARCOS

   19        data for this case?

   20                 A      I relied on studies, published studies

   21        that have examined the association between

   22        distribution of opioids and opioid-related harm or

   23        studies that examined the distribution more

   24        generally as well.

   25                 Q.     You mentioned IQVIA a moment ago; what
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     1                          Frye Hearing - Dr. Keyes                            90

     2       is that?

     3                A       That is a database that measures the

     4       pharmacy dispensing of medication.

     5                Q.      How did you go about reviewing IQVIA

     6       data?

     7                A       Similarly.     I reviewed the peer-reviewed

     8       literature that included IQVIA data on opioids.

     9                Q.      So this slide here that you have on the

   10        screen is Demo 59.         This is a study titled, "Trends

   11        and Patterns of Geographic Variation in Opioid

   12        Prescribing Practices by State, United States, 2006

   13        through 2017;" is that right?

   14                 A       Yes.

   15                 Q.      Is this a study that you analyzed and

   16        relied upon in forming your opinions about the

   17        opioid supply?

   18                 A       Yes.

   19                 Q.      Can we look at the pull out from the

   20        slide?       It says at the end, "In 2017 pharmacies

   21        filled enough opioid prescriptions to theoretically

   22        provide every US resident with 5 milligrams of

   23        hydrocodone bitartrate every four hours around the

   24        clock for three weeks;" is that right?

   25                 A       That's right.
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     1                          Frye Hearing - Dr. Keyes                            91

     2                Q.     Now, in your report did you conclude

     3       that the empirical literature demonstrates a strong

     4       and statistically significant association between

     5       the opioid supply and the increase in prescription

     6       opioid deaths?

     7                A      Yes.

     8                Q.     You mentioned that you rely on

     9       peer-reviewed literature for your opinions about the

   10        increase in supply.

   11                        Let's look at this study.           This is Demo

   12        62.    This is a study titled, "U.S. county prevalence

   13        of retail prescription opioid sales and

   14        opioid-related hospitalizations from 2011 to 2014"?

   15                 A      That's right.

   16                 Q.     Now, you mentioned a moment ago that you

   17        have reviewed studies that analyze ARCOS data.                  Is

   18        this one of those studies?

   19                 A      Yes.

   20                 Q.     What was the conclusion of the

   21        researchers in this study?

   22                 A      They concluded that there was a positive

   23        and significant relationship between the

   24        distribution of opioids and opioid-related

   25        hospitalization rates.
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     1                          Frye Hearing - Dr. Keyes                            92

     2                Q.     Did they quantify that relationship?

     3                A      Yes.

     4                Q.     How so?

     5                A      They included the, the percentage

     6       increase in hospitalization rates that occurs with

     7       each increase in opioid sales per 10,000 people.

     8                Q.     And what was that percentage?

     9                A      90 percent.

   10                 Q.     Did you do any work to extrapolate the

   11        results of this study to New York State and Nassau

   12        and Suffolk Counties?

   13                 A      Yes.

   14                 Q.     What did you do?

   15                 A      I compared -- I extracted from publicly

   16        available records opioid distributions and opioid

   17        related hospitalizations just so I could determine

   18        whether the direction and magnitudes of the

   19        relationships were similar.

   20                 Q.     Does this next slide show the results of

   21        your extrapolation?

   22                 A      Yes.

   23                 Q.     Are these figures that are shown in this

   24        table contained in your report in this case?

   25                 A      Yes.
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     1                          Frye Hearing - Dr. Keyes                            93

     2                Q.     So based on this Ghertner study

     3       published last year, you extrapolated and determined

     4       the approximate number of prescription opioid pills

     5       per resident in the State of New York and Suffolk

     6       and Nassau Counties per year; is that right?

     7                A      Yes.

     8                Q.     And you were also able to estimate

     9       hospitalization and neonatal abstinence rates; is

   10        that right?

   11                 A      That's right.

   12                 Q.     What is neonatal abstinence?

   13                 A      That is a collection of symptoms that

   14        occurs among newborns that are consistent with drug

   15        withdrawal; for example, from opioids.

   16                 Q.     This next slide, is this a figure that

   17        is contained in your expert report, Figure 5?

   18                 A      Yes.

   19                        THE COURT:      Excuse me.      How much more

   20                  time?

   21                        MR. REISMAN:       Ten minutes.

   22        BY MR. REISMAN:

   23                 Q.     What does this show?

   24                 A      This shows overdose death rates in the

   25        U.S., in New York State, in Nassau and Suffolk
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     1                          Frye Hearing - Dr. Keyes                            94

     2       County as extracted from the CDC WONDER data from

     3       1999 through 2017.

     4                Q.     Does this show calculations that you

     5       made using data from various sources at the federal

     6       and state level?

     7                A      Yes.

     8                Q.     Why do the trends increase a lot

     9       beginning in 2013 and 2014?

   10                 A      That is around the time that the -- that

   11        the opioid supply in the United States became

   12        contaminated with fentanyl.

   13                 Q.     So before that, the trends of overdose

   14        death rates increased, but then they increased even

   15        more after that point when fentanyl showed up in the

   16        heroin supply; is that right?

   17                 A      That's right.

   18                 Q.     I'd like to talk now about the third

   19        opinion that we saw on the slide earlier about

   20        marketing causation.

   21                        And, Dr. Keyes, are you aware that in

   22        the federal MDL in Ohio, Judge Polster ruled that

   23        you cannot testify about marketing causations,

   24        specifically the relationship between marketing of

   25        prescription opioids and opioid prescribing?
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     1                          Frye Hearing - Dr. Keyes                            95

     2                A      Yes.

     3                Q.     Can you tell Justice Garguilo what you

     4       did to analyze that relationship for this case?

     5                       THE COURT:      Since that determination?

     6                       MR. REISMAN:       Yes.

     7                       THE COURT:      Go ahead.

     8                       THE WITNESS:       Yes.    I've done a number

     9                 of things, including, Number 1, I relied on

   10                  the -- not the marketing materials

   11                  themselves, but on epidemiological literature

   12                  and epidemiologists who analyzed the

   13                  relationship using statistical models that

   14                  are germane to my field.

   15                        And I also, as a Bradford Hill criteria

   16                  of analogy, analyzed other epidemiological

   17                  studies that look at similar associations

   18                  with other products in order to determine

   19                  whether there was a body of evidence with

   20                  epidemiological methods that I could rely on.

   21                        THE COURT:      Okay.     Judge Polster -- and

   22                  correct me if I'm wrong.          By the way, Judge

   23                  Polster, as you know, is the Judge in the

   24                  federal MDL out of Ohio.

   25                        You and a couple of other witnesses on
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     1                          Frye Hearing - Dr. Keyes                            96

     2                 this question of marketing causation spent

     3                 some time discussing your lack of background

     4                 in the field of let's say pharmaceutical

     5                 marketing.

     6                       THE WITNESS:       Yes.

     7                       THE COURT:      Are you suggesting that the

     8                 work you have done since that determination

     9                 addresses that finding?          Just yes or no.

   10                        THE WITNESS:       Yes.    I think the work

   11                  that I've done in the report has addressed

   12                  the finding.

   13                        THE COURT:      The gentlemen will

   14                  cross-examine on that, of course.

   15        BY MR. REISMAN:

   16                 Q.     So let me ask you this, Dr. Keyes.              So

   17        is it fair to say that there are two types of

   18        marketing causation studies that you analyzed for

   19        purposes of your opinion on marketing causation;

   20        Number 1 being general studies about the link

   21        between marketing and prescribing and, Number 2,

   22        specific studies focused on opioids?

   23                 A      That's right.

   24                        MR. ERCOLE:      Your Honor, I'm going to

   25                  object again.       It's leading, particularly
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     1                          Frye Hearing - Dr. Keyes                            97

     2                 with respect to this question when we are

     3                 getting into the substance of the opinion.

     4                       THE COURT:      I'm being scolded by my

     5                 stenographer, and rightfully so.

     6                       Identify yourself before you note your

     7                 objection so we get you on the record.

     8                       So go ahead.       This is Mr. So-and-So on

     9                 behalf of So-and-So.         My objection is as

   10                  follows.

   11                        Go ahead.

   12                        MR. ERCOLE:      Yes, your Honor.        My name

   13                  is Brian Ercole, on behalf of the Teva

   14                  Defendants, and my objection is that this is

   15                  -- this particular question was leading.

   16                        THE COURT:      All right.      Rephrase.

   17        BY MR. REISMAN:

   18                 Q.     So, Dr. Keyes, you mentioned the body of

   19        epidemiological literature regarding the link

   20        between marketing and prescribing.

   21                        Can you describe what that body of

   22        literature includes?

   23                 A      Yes.    It includes epidemiologists and

   24        other people in the epidemiology field who examined

   25        statistically associations using data on -- that are
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     1                          Frye Hearing - Dr. Keyes                            98

     2       germane to marketing and their associations with

     3       prescribing and other outcomes.

     4                Q.     Does an epidemiologist need to have a

     5       background in marketing in order to study the impact

     6       of marketing on prescribing?

     7                A      No.

     8                Q.     To your knowledge, did the

     9       epidemiologist who conducted the studies that you

   10        reviewed for this case have a background in

   11        marketing?

   12                 A      Not to my knowledge.

   13                 Q.     What information did those

   14        epidemiologists whose work you reviewed for this

   15        case use to form conclusions about the impact of

   16        marketing on prescribing?

   17                 A      They used a database that included

   18        information on -- that was quantified dollars of

   19        marketing, for example.          They did not review the

   20        actual marketing material.

   21                 Q.     So we're going to move to the end here

   22        and talk about several studies.

   23                        THE COURT:      A while ago you told me ten

   24                  minutes.     So if you need more time, I'll take

   25                  a morning break now.
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     1                           Frye Hearing - Dr. Keyes                        99

     2                        MR. REISMAN:      Why don't we do that?

     3                 Yes, please, thank you.

     4                        THE COURT:     We'll take a 15-minute

     5                 recess.

     6                        (WHEREUPON, a short recess was taken.)

     7                        THE CLERK:     Come to order.        Part 48 is

     8                 now in session.

     9                        THE COURT:     Please be seated.         Thank

    10                 you.

    11                        THE CLERK:     Doctor, I remind you you're

    12                 still under oath.

    13                        THE WITNESS:      Thank you.

    14                        THE COURT:     You may.

    15                        MR. REISMAN:      Thank you, your Honor.

    16        BY MR. REISMAN:

    17                 Q.     Dr. Keyes, since Judge Polster issued

    18        his marketing causation opinion in the federal

    19        opioids MDL, have you become an expert in marketing?

    20                 A      No.

    21                 Q.     Let me ask you this.         Do epidemiologists

    22        study the effect of marketing on prescribing?

    23                 A      Yes.

    24                 Q.     What methodology do epidemiologists use

    25        to study that link?
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     1                           Frye Hearing - Dr. Keyes                       100

     2                 A      We use the same methodology that we

     3        would use for any exposure-outcome relationship.

     4                 Q.     For example?

     5                 A      The same methodology that you would use

     6        to study prescription opioid dose and duration with

     7        OUD.

     8                 Q.     Are you referring to the Bradford Hill

     9        factors, for example?

    10                 A      Yes.

    11                 Q.     So would you look to see if there's a

    12        dose-response relationship?

    13                 A      Yes.

    14                 Q.     Would you look to see if there is

    15        replication?

    16                 A      Yes.

    17                 Q.     Would you look to see if the studies

    18        account for alternative explanations?

    19                 A      Yes.

    20                 Q.     Would you apply other Bradford Hill

    21        factors?

    22                 A      Yes.

    23                 Q.     So this is what epidemiologists do; is

    24        that right?

    25                 A      That's right.
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     1                           Frye Hearing - Dr. Keyes                       101

     2                 Q.     Is that what you did in this case?

     3                 A      Yes.

     4                 Q.     Since you filed your report in the MDL

     5        that Judge Polster addressed, between that time and

     6        the time you filed your New York report, did you

     7        review and analyze any additional studies regarding

     8        the link between marketing of prescription

     9        medications generally and prescribing generally?

    10                 A      Yes.

    11                 Q.     Now, you looked in particular in your

    12        expert report, you analyzed some studies relating to

    13        the marketing of opioids and the impact on the

    14        prescribing of opioids; is that right?

    15                 A      That's right.

    16                 Q.     Let's bring up the next slide, if we

    17        can.    So this is Demo 50.

    18                        Is this the study from Hadland and

    19        colleagues in 2017 titled, "Industry Payments to

    20        Physicians for Opioid Products, 2013 to 2015"?

    21                 A      Yes.

    22                 Q.     Can you briefly tell the Court what data

    23        Hadland analyzed in this study?

    24                 A      Yes.    They used data called Open

    25        Payments, and this was a database that included
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     1                           Frye Hearing - Dr. Keyes                       102

     2        information on the dollars that were -- the payments

     3        to doctors for opioid products.

     4                 Q.     Do you know who maintains Open Payments?

     5                 A      I'm not sure off the top of my head.

     6                 Q.     Is it a federal agency?

     7                 A      I believe so.      I believe it was the

     8        result of a -- there was a law that was passed

     9        saying that these data had to be made public.

    10                 Q.     Did Hadland in this study interview

    11        doctors?

    12                 A      No.

    13                 Q.     Did Hadland review marketing materials?

    14                 A      Not as far as I know, not based on the

    15        published paper.

    16                 Q.     Let's look at the next study from

    17        Hadland and colleagues.          This is --

    18                        THE COURT:     By the way, go back to the

    19                 last one for one second.

    20                        MR. REISMAN:      Yes.

    21                        THE COURT:     It reads:      "These findings

    22                 should prompt the examination of industry

    23                 influences on opioid prescribing."

    24                        It says it should prompt this kind of an

    25                 examination/investigation.
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     1                           Frye Hearing - Dr. Keyes                       103

     2                        Was there a follow-up on that?

     3                        THE WITNESS:      There were several other

     4                 studies published from the same data that

     5                 examines the industry influences.

     6                        THE COURT:     But the only conclusion is

     7                 that the findings should prompt an

     8                 examination.

     9                        THE WITNESS:      Yes.

    10                        THE COURT:     Okay.     Thank you.      By the

    11                 way, does the article say who was to conduct

    12                 the examination?

    13                        THE WITNESS:      That's not specified in

    14                 the paper.

    15                        THE COURT:     Okay.     Thank you.

    16        BY MR. REISMAN:

    17                 Q.     So this is Demo 49.        I correct myself.

    18        It's Demo 51.

    19                        Is this study -- was this done,

    20        published by Hadland in 2018, a year after --

    21        actually, you know, let's hold this for a moment.

    22        And I want to ask you about the prior study.

    23                        MR. REISMAN:      Can we bring the slide

    24                 back up.       Yeah, if we can skip to the end.

    25                        Okay.    So, Sal, if you could hand out
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     1                           Frye Hearing - Dr. Keyes                       104

     2                 Demo 49.

     3        BY MR. REISMAN:

     4                 Q.     So is this study that was published in

     5        2018 in JAMA Internal Medicine, is it titled,

     6        "Association of Pharmaceutical Industry Marketing of

     7        Opioid Products to Physicians With Subsequent Opioid

     8        Prescribing"?

     9                 A      Yes.

    10                 Q.     And this is the same Hadland who

    11        published the study that we just looked at a year

    12        earlier; is that right?

    13                 A      The same first author, yes.

    14                 Q.     So what did Hadland do in this study in

    15        2018?

    16                 A      So this study linked two different

    17        databases.      One is the same Open Payments database

    18        that we were -- that was the topic of the American

    19        Journal of Public Health paper.

    20                        And then they looked at that in

    21        association with the Medicare Part D opioid

    22        prescriber summary file to correlate the marketing

    23        practices with prescription claims for Medicare

    24        beneficiaries.

    25                 Q.     What did Hadland find in this study?
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     1                           Frye Hearing - Dr. Keyes                       105

     2                 A      They found an association between the,

     3        the amount of money that doctors received from

     4        opioid manufacturers with subsequent opioid

     5        prescribing.

     6                 Q.     The slide that we're showing right now

     7        is drawn from the article itself.

     8                        Can you explain to the Court what this

     9        slide shows?

    10                 A      Yes.    This is the association between

    11        the number of meals received in 2014 and the number

    12        of opioid claims in 2015 from those same physicians

    13        based on the number of meals that they received.

    14                 Q.     Does it show that the more meals that

    15        physicians received from opioid industry sales

    16        representatives, the more opioids they prescribed?

    17                 A      Yes.    This would be consistent with

    18        dose-response.

    19                 Q.     Does this study, the 2018 study mention

    20        any specific manufacturers of opioids?

    21                 A      Yes.

    22                 Q.     Which ones?

    23                 A      It mentions the three companies with the

    24        highest payment totals: Insys Therapeutics, Teva

    25        Pharmaceuticals, and Janssen Pharmaceuticals.
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     1                           Frye Hearing - Dr. Keyes                       106

     2                 Q.     Let's move to the last slide, and we

     3        already marked this for demonstrative purposes.                 The

     4        study is Demo 51.

     5                        Is this a study that Hadland published

     6        last year in JAMA Open?

     7                 A      Yes.

     8                 Q.     And is this one titled, "Association of

     9        Pharmaceutical Industry Marketing of Opioid Products

    10        With Mortality From Opioid-Related Overdoses"?

    11                 A      Yes.

    12                 Q.     What did Hadland and colleagues do in

    13        this study?

    14                 A      So similar to the prior study where

    15        different databases were linked, this study used the

    16        same Open Payments database and linked it with the

    17        CDC WONDER data, the same mortality data that I

    18        published in my report.

    19                 Q.     What did the researchers conclude?

    20                 A      They concluded that there was an

    21        association between the amount of money spent on

    22        opioid marketing and opioid-related harms in terms

    23        of prescription opioid overdoses in those same areas

    24        that were highly saturated with marketing dollars.

    25                 Q.     So in this Hadland 2019 study, did the
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     1                           Frye Hearing - Dr. Keyes                       107

     2        researchers build on the articles they published in

     3        2018 and 2017?

     4                 A      Yes.

     5                 Q.     Did you, in your work on this case,

     6        evaluate the marketing materials of any manufacturer

     7        Defendant?

     8                 A      No.

     9                 Q.     Why not?

    10                 A      Because that's not part of the

    11        epidemiological science that I relied on.

    12                 Q.     Did Hadland and colleagues in these

    13        studies that we just looked at evaluate the

    14        marketing materials of any manufacturer?

    15                 A      It's not in the study.

    16                 Q.     What did they evaluate?

    17                 A      They evaluated the Open Payments

    18        database.

    19                        THE COURT:     By the way, these authors in

    20                 Demo 51, are they epidemiologists or

    21                 something else?

    22                        THE WITNESS:      I am familiar with several

    23                 of the authors who are -- who have Ph.D.s in

    24                 epidemiology.       I don't know the

    25                 qualifications of all the authors, but many
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     1                           Frye Hearing - Dr. Keyes                       108

     2                 of the authors have Ph.D.s in epidemiology.

     3                        THE COURT:     I'm talking about the people

     4                 that were listed on 51, Hadland,

     5                 Rivera-Aguirre, et cetera.

     6                        THE WITNESS:      Yes.

     7                        THE COURT:     My question is:        Are they

     8                 epidemiologists?

     9                        THE WITNESS:      Three out of the four I

    10                 know are epidemiologists.           One is a question

    11                 mark.

    12                        THE COURT:     Out of curiosity, which one

    13                 is it?

    14                        THE WITNESS:      I don't know the

    15                 background of Rivera-Aguirre.

    16                        THE COURT:     Thank you.

    17        BY MR. REISMAN:

    18                 Q.     Dr. Keyes, in your work on this case and

    19        in forming your opinions on marketing causation, did

    20        you interview any doctors?

    21                 A      No.

    22                 Q.     Why not?

    23                 A      That's not part of the epidemiological

    24        science that I relied on.

    25                 Q.     To your knowledge did Hadland in these
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     1                           Frye Hearing - Dr. Keyes                       109

     2        three opioid studies interview any doctors?

     3                 A      Not to my knowledge.

     4                 Q.     Did you review any patient charts in

     5        connection with your work on this case?

     6                 A      No.

     7                 Q.     Why not?

     8                 A      Similarly, it's not part of the

     9        epidemiological science that I used.

    10                 Q.     Do epidemiologists draw associations

    11        between cause and effect?

    12                 A      Yes.

    13                 Q.     Is that what Hadland and colleagues did

    14        in these three studies that we just looked at?

    15                 A      They were looking at associations.             And

    16        then I think it's up to the epidemiologist reviewing

    17        the material to synthesize those associations and

    18        draw their own conclusions.

    19                 Q.     Is it a generally accepted practice in

    20        epidemiology to draw causal inferences from studies

    21        that in themselves conclude that there is

    22        association between cause and effect?

    23                 A      That's right.

    24                 Q.     Is that what you did in this case?

    25                 A      Yes.
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     1                           Frye Hearing - Dr. Keyes                       110

     2                 Q.     Dr. Keyes, just a few concluding

     3        questions.

     4                        Was your testimony about the methodology

     5        that you used in formulating your opinions in this

     6        case based on your training in epidemiological

     7        methods?

     8                 A      Yes.

     9                 Q.     And did you apply those methods to all

    10        of the opinions that we discussed today?

    11                 A      Yes.

    12                 Q.     Is it a fair summary of your methodology

    13        to say that first you assessed whether there is an

    14        association between exposure to prescription opioids

    15        and harms?

    16                 A      Yes.

    17                 Q.     And is it also fair to say that you then

    18        determined whether those associations are causal by

    19        reviewing and synthesizing scientific literature

    20        using the factors that we've discussed today?

    21                 A      That's right.

    22                 Q.     And did you apply that same methodology

    23        to your opinions about the link between opioid

    24        supply and harm?

    25                 A      Yes.
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     1                           Frye Hearing - Dr. Keyes                       111

     2                 Q.     Did you apply that same methodology to

     3        the link between marketing of prescription opioids

     4        and prescribing of prescription opioids?

     5                 A      Yes.

     6                 Q.     Let me ask you one final question,

     7        Dr. Keyes.      Prior to today, on how many occasions

     8        have you testified before a judge as an expert in

     9        any case?

    10                 A      Zero.

    11                        MR. REISMAN:      Thank you, Dr. Keyes.

    12                 Pass the witness.

    13                        THE COURT:     Thank you.

    14                        The attorneys I have listed for

    15                 examiners on this witness are for the

    16                 distributors, Mr. Schmidt; manufacturers,

    17                 Mr. Ercole; and pharmacy, Mr. Herman.

    18                        MR. SCHMIDT:      Correct as to me, your

    19                 Honor, Paul Schmidt.

    20                        THE COURT:     You may.

    21        CROSS EXAMINATION

    22        BY MR. SCHMIDT:

    23                 Q.     Dr. Keyes, good morning.          I'm going to

    24        start asking you questions now and then continue

    25        into the afternoon, and I'm going to focus on two
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     1                           Frye Hearing - Dr. Keyes                       112

     2        aspects of your opinion; supply and how that relates

     3        to harm and what's responsible for supply, and then

     4        the gateway view that you've espoused.

     5                        Before I do that, I want to start with a

     6        few basic points.        Is it generally accepted in your

     7        field, epidemiology, that something is a cause if

     8        the outcome would not have occurred in the absence

     9        of that factor, holding everything else constant?

    10                 A      Yes.

    11                 Q.     Is it generally accepted in epidemiology

    12        that an association does not necessarily equal

    13        causation?

    14                 A      Yes.

    15                 Q.     In your field, an association means

    16        there's some kind of relationship, statistical or

    17        otherwise, between two variables, correct?

    18                 A      That's right.

    19                 Q.     But that doesn't necessarily tell us

    20        that there's a causal relationship in one direction

    21        or the other, correct?

    22                 A      Not necessarily.

    23                 Q.     It's necessary to rigorously test an

    24        association to determine whether the association

    25        reflects a causal association, true?
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     1                           Frye Hearing - Dr. Keyes                       113

     2                 A      Yes.

     3                 Q.     And in doing that, it's generally

     4        accepted in epidemiology that you have to account

     5        for other potential causes, correct?

     6                 A      Generally.

     7                 Q.     And you'll recall that was one of the

     8        factors you cited on Slide 7 of your methodology

     9        slide, and I think you described that as a standard

    10        factor considering alternative causes, correct?

    11                 A      Yes.

    12                 Q.     That's a critical factor in a causation

    13        analysis, right?

    14                 A      It's one among several.

    15                 Q.     Is it critical?

    16                 A      Yes.

    17                 Q.     And it's generally accepted, but you

    18        have to consider alternate causes, correct?

    19                 A      Yes.

    20                 Q.     Now, you spent some time talking about

    21        Bradford Hill, and that being a methodology.                That's

    22        a methodology that was announced in a speech by

    23        Austin Bradford Hill in the '60s, correct?

    24                 A      Yes.

    25                 Q.     And I think you acknowledge that that's
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     1                           Frye Hearing - Dr. Keyes                       114

     2        a term, Bradford Hill, that you never once mention

     3        in your report; is that correct?

     4                 A      That's correct.

     5                 Q.     You don't lay out in your report,

     6        according to the nine factors of Bradford Hill and

     7        how you believe your opinions track against those

     8        nine factors, correct?

     9                 A      Correct.

    10                 Q.     And you certainly don't do that if you

    11        recall Slide 14 of your presentation, that's where

    12        you have the three individual opinions.               You

    13        certainly don't do that for those three individual

    14        opinions.     Say, for this opinion, here's how factor

    15        one is met, here's how factor 2 is met, here's how

    16        coherence is met.        Here's how analysis of alternate

    17        causes is met, correct?          You don't do that?

    18                 A      That's right.

    19                 Q.     There's no mention at all in your

    20        report, for example, of something like biological

    21        plausibility, correct?

    22                 A      Those words may not be in the report.

    23                 Q.     Now, you do set forth your methodology

    24        in your report, correct?

    25                 A      Yes.
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     1                           Frye Hearing - Dr. Keyes                        115

     2                 Q.     Do you have it handy?

     3                 A      Yes.

     4                 Q.     If you look at page 11 of your report, I

     5        believe there is a two- or three-page discussion of

     6        your methodology for the review of the evidence,

     7        correct?

     8                 A      Yes.

     9                 Q.     And there's no mention of Bradford Hill

    10        in there, correct?

    11                 A      Not that name.

    12                 Q.     There's no walk through of Bradford Hill

    13        factors one by one in there, is there?               Yes or no.

    14                 A      Not of the Hill factors.

    15                 Q.     Okay.    And you talked about published

    16        articles you have on prescription opioids.                You've

    17        never published an article on prescription opioids

    18        that contains one of the three opinions that you

    19        stated on Slide 14 that you were shown with

    20        Plaintiffs' counsel.         You've never published an

    21        article setting forth one of those three opinions

    22        and specifically invoking Bradford Hill to analyze

    23        those opinions, correct?

    24                 A      I mean, those are two questions, right?

    25        The first is --
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     1                           Frye Hearing - Dr. Keyes                       116

     2                  Q.     It's a two-part question.         Have you

     3        published the opinions that you've given us in court

     4        in an article that specifically discusses the

     5        Bradford Hill factors or even references the

     6        Bradford Hill criteria?          Yes or no.

     7                  A      The word Bradford Hill specifically?

     8                  Q.     Yes.

     9                  A      Not the word Bradford Hill specifically.

    10                  Q.     Or that walks through each factor one at

    11        a time?

    12                  A      The discussion sections of the paper is

    13        generally in epidemiology cohered to the types of

    14        factors that Bradford Hill outlined in.

    15                  Q.     Can you points me to a paper you

    16        published where you give one of the opinions on

    17        causation in this case and specifically walk through

    18        the various Bradford Hill factors to support that

    19        opinion?       Yes or no.

    20                  A      No, not at the time.

    21                  Q.     Now, I'd like to turn now to the

    22        substance and how that tracks your methodology, and

    23        I want to start first with your opinion on supply.

    24        I want to talk about the why of supply.

    25                         Are you aware that the DEA, the Drug
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     1                           Frye Hearing - Dr. Keyes                       117

     2        Enforcement Administration has publicly gone on

     3        record and talked about their role in supply, and

     4        they have said that we control the amount produced,

     5        bought, sold, and otherwise transferred.               Are you

     6        aware of that?

     7                 A      I'm not aware of that material.

     8                 Q.     Do you take issue with that DEA

     9        testimony that our United States Congress, that DEA

    10        controls the amount produced, bought, sold, and

    11        otherwise transferred when it comes to prescription

    12        opioids?

    13                 A      I would need to look at the testimony.

    14                 Q.     You don't have a view on whether that's

    15        accurate or not?

    16                 A      No.

    17                 Q.     Are you aware that the DEA every year

    18        sets quotas for how many prescription opioids can be

    19        made?

    20                 A      I'm generally aware.

    21                 Q.     And are you aware that they set those

    22        quotas based on estimated medical scientific

    23        research and industrial needs of the United States?

    24                 A      Generally.

    25                 Q.     Every opioid pill that's manufactured
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     1                            Frye Hearing - Dr. Keyes                      118

     2        distributed, or dispensed has to be within that

     3        quota, correct, under the law?

     4                  A       I'm not that familiar -- I'm not

     5        familiar with those laws, so I wouldn't offer an

     6        opinion on that.

     7                  Q.      Okay.   Let me ask you this then.

     8                          Do you know if there's ever occasion you

     9        can point us to where a manufacturer made opioids

    10        that exceeded the permissible quota by the DEA or a

    11        distributor shift opioids that exceeded permissible

    12        quota of the DEA?

    13                  A       I'm not aware.

    14                  Q.      And let me just for terminology, in this

    15        case certain chain pharmacies, CVS, Rite Aid,

    16        Walgreens, Walmart have been sued as distributors.

    17        So I'm going to include them in my definition of

    18        distributors, if you're okay with that, because they

    19        supply, in some instances, in some time periods,

    20        they supply prescription opioids to their chain

    21        stores.        Does that make sense?      Are you aware of

    22        that fact?

    23                  A       I know that.

    24                  Q.      Okay.   Did you know that before I told

    25        you?
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     1                           Frye Hearing - Dr. Keyes                       119

     2                 A      No.

     3                 Q.     Do you understand that the prescription

     4        opioid supply by law cannot exceed the DEA quota?

     5                 A      I'm sorry.     Can you just repeat that

     6        question?

     7                 Q.     Of course.

     8                        Do you understand, yes or no, that the

     9        prescription opioids supplied by law cannot exceed

    10        the DEA quota?

    11                 A      Again, I'm not familiar with the DEA

    12        regulations.

    13                 Q.     Do you understand the DEA has the power

    14        to reduce prescription opioids supplied by reducing

    15        it's quota?

    16                 A      I haven't reviewed the DEA regulations.

    17                 Q.     Okay.    And do you know factually that

    18        throughout the '90s and the 2000s the DEA

    19        continually increased quotas?

    20                 A      Again, I have not reviewed that.

    21                 Q.     So you're not offering opinion on

    22        whether or not DEA quotas contributed to the opioid

    23        supply; is that correct?

    24                        Let me ask the question differently.

    25                        Are you offering an opinion, yes or no,
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     1                           Frye Hearing - Dr. Keyes                       120

     2        on whether the DEA quotas contributed to the opioid

     3        supply?

     4                  A     Generally I'm offering the opinion that

     5        anything that increased the supply was contributing.

     6        So to the extent that the DEA did that, and I have

     7        not reviewed the regulations, it would be consistent

     8        with the opinion that factors that increase the

     9        supply are involved and increase to the supplier.

    10                  Q.    So you haven't looked at the regulations

    11        regarding the quotas, correct?

    12                  A     That's correct.

    13                  Q.    You haven't looked at the facts

    14        regarding the quotas that the DEA was doing,

    15        correct?

    16                  A     That's right.

    17                  Q.    But you would agree that if the DEA did,

    18        in fact, increase the quota, that would increase

    19        supply, correct?

    20                  A     I would need to review the material,

    21        but...

    22                  Q.    Yes, okay.     You didn't perform any

    23        specific evaluation or analysis in your report or

    24        your methodology as to whether the specific amount

    25        of opioid harm would have occurred in the absence of
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     1                            Frye Hearing - Dr. Keyes                      121

     2        specific DEA increases to the quota, correct?

     3                  A       Can you rephrase the question?          It's

     4        about the DEA?

     5                  Q.      Yes, it's about the DEA and their

     6        quotas.        Did you perform an analysis -- as part of

     7        your methodology in this case, did you perform an

     8        analysis or evaluation of whether the same amount of

     9        harm would have occurred in terms of prescription

    10        opioids in the absence of the DEA changing quotas

    11        year to year?

    12                  A       No.

    13                  Q.      Let me turn to another factor, doctors.

    14        Am I correct that the only legal way to get

    15        prescription opioids is to go to a licensed

    16        prescriber?

    17                  A       Yes.

    18                  Q.      No matter how many opioids a distributor

    19        ships to a pharmacy without a prescription from a

    20        doctor, those opioids are supposed to sit on the

    21        shelf and not go out to the public, correct?

    22                  A       I'm sorry.   Say that again.

    23                  Q.      Sure.   No matter how many opioids a

    24        distributor ships to a given pharmacy, if there's

    25        not a prescription from a doctor, those opioids are
Case 3:17-cv-01362 Document 1115-12 Filed 10/24/20 Page 123 of 310 PageID #: 37583



     1                           Frye Hearing - Dr. Keyes                       122

     2        supposed to stay in that pharmacy and not go out to

     3        the public, correct?

     4                 A      That's correct.

     5                 Q.     And you've not identified prescription

     6        opioids that the distributor in this case shipped

     7        that were dispensed in New York without a valid

     8        prescription being written, correct?

     9                 A      Correct.

    10                 Q.     Is there any contribution you can

    11        identify that individual distributors made to the

    12        supply of prescription opioids available to New York

    13        citizens that was not linked to a doctor writing a

    14        prescription for those opioids?

    15                 A      Can you repeat?

    16                 Q.     Yes.

    17                        Is there any contribution you can

    18        identify that a specific distributor in this case

    19        made to the supply of prescription opioids available

    20        to New York citizens that came about in some way

    21        other than in connection with a doctor writing a

    22        prescription for that opioid?

    23                 A      No.

    24                 Q.     As a result, doctors play a role in

    25        determining the supply of prescription opioids,
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     1                           Frye Hearing - Dr. Keyes                       123

     2        correct?

     3                 A      Yes.

     4                 Q.     And in evaluating the causes of the

     5        opioid crisis, it's important to evaluate the role

     6        of doctors who prescribe opioids, correct?

     7                 A      Yes.

     8                 Q.     Are you familiar with DEA statements --

     9        I'll ask you about a different set of DEA

    10        statements.      Also our Congress saying that the

    11        overwhelming majority of doctors, more than 99

    12        percent, prescribe opioids to their patients in good

    13        faith; are you aware of such statements?

    14                 A      I'm not familiar with those.

    15                 Q.     Did you hear -- did you listen to

    16        Dr. Lembke yesterday?

    17                 A      Yes.    I listened to some, part of it.

    18                 Q.     Did you hear her say that there was a

    19        wholesale paradigm shift in how doctors prescribed

    20        that led to the opioid crisis?

    21                 A      I didn't hear that part.

    22                 Q.     Do you agree with that statement?

    23                 A      Can you say it again?

    24                 Q.     That there was a paradigm shift in

    25        prescribing practices across the medical community
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     1                           Frye Hearing - Dr. Keyes                       124

     2        that led to the opioid crisis?

     3                 A      My methodology doesn't cover that.

     4                 Q.     Okay.    You distinguish in your report

     5        between doctors who are prescribing based on their

     6        perception of medical need and something called pill

     7        mill doctors, correct?

     8                 A      Yes.

     9                 Q.     And have you undertaken any assessment

    10        of how much of the prescribing or the supply during

    11        the opioid crisis was due to pill mill doctors

    12        versus the doctors who are prescribing based on

    13        their perception of medical need?             Have you tried to

    14        allocate that?

    15                 A      There is a section in my report where I

    16        detail some opinions related to that.

    17                 Q.     Do you actually allocate it?           Can you

    18        tell us how much of supply was due to pill mill

    19        doctors versus doctors prescribing in good faith?

    20                 A      Not a specific number, no.

    21                 Q.     Do you agree with me that the

    22        overwhelming majority was due to doctors in good

    23        faith, or do you know?

    24                 A      Was due to doctors, yes.

    25                 Q.     Well, I think it was all due to doctors.
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     1                           Frye Hearing - Dr. Keyes                       125

     2        My question is:         Was it due to doctors in good

     3        faith?       Do you have a view on that, whether the

     4        overwhelming majority of supply in New York was a

     5        result of doctors acting in good faith versus pill

     6        mill doctors?

     7                 A       Yes.    I think that the overwhelming

     8        majority of prescriptions is due to doctors who were

     9        prescribing based on their understanding at the

    10        time.

    11                 Q.      And you're aware that doctors increased

    12        prescribing levels for prescription opioids starting

    13        in the '90s through the 2000s up until 2010,

    14        correct?

    15                 A       Yes.

    16                 Q.      You agree that the high volume of opioid

    17        prescriptions became the foundation for the overall

    18        expansion in the opioid supply and opioid-related

    19        harm, correct?

    20                 A       Say that again.

    21                 Q.      You agree that the high volume of opioid

    22        prescriptions became the foundation for the overall

    23        evaluation -- I'm sorry -- the overall expansion in

    24        the opioid supply and opioid-related harm?

    25                 A       Yes.
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     1                           Frye Hearing - Dr. Keyes                       126

     2                 Q.     You believe that overprescription helped

     3        contribute by doctors helping contribute to the

     4        increase in opioid disorder, overdose, and related

     5        harms, correct?

     6                 A      Yes.

     7                 Q.     You believe that the expansion of

     8        nonmedical use of prescription opioids would not

     9        have occurred without that increase in the opioid

    10        supply dispensed for medical use, correct?

    11                 A      Yes.

    12                 Q.     In fact, in your publications, you've

    13        said that the data are robust in demonstrating that

    14        rates of overdoses are proportional to the rates of

    15        prescription, correct?

    16                 A      It depends on what time period that

    17        we're talking about.

    18                 Q.     You published that in an article in

    19        2013, correct?

    20                 A      Yes.

    21                 Q.     Do you stand behind that statement as to

    22        the facts as they existed before 2013?

    23                 A      Can you say the sentence again?

    24                 Q.     Yeah.    The sentence is:        The data are

    25        robust, however, in demonstrating the rates of
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     1                           Frye Hearing - Dr. Keyes                       127

     2        overdoses are proportional to the rates of

     3        prescriptions.

     4                 A      Yes.

     5                 Q.     As part of your methodology in this case

     6        did you perform any specific analysis as to whether

     7        the opioid crisis would have occurred at all or how

     8        much different it would have been in terms of the

     9        harm in the absence of doctors increasing their

    10        prescribing and thus increasing the supply of

    11        prescription opioids?

    12                 A      By a specific analysis, can you --

    13                 Q.     Yeah.    Did you try to quantify how

    14        different it would be if doctors had not increased

    15        their prescribing?

    16                 A      No.

    17                 Q.     You do agree that doctors play a role in

    18        bringing about the opioid crisis?

    19                 A      Yes.

    20                 Q.     And you agree that opioid harm would not

    21        have occurred at the same level in the absence of

    22        doctors increasing their prescribing of prescription

    23        opioids?

    24                 A      Yes.

    25                 Q.     Opioid supply would not have increased
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     1                           Frye Hearing - Dr. Keyes                       128

     2        without doctors playing a role in prescribing of

     3        prescription opioids, correct?

     4                 A      That's correct.

     5                 Q.     Now, you've talked briefly at the end of

     6        your testimony this morning about marketing and how

     7        that influenced doctors.          There are other factors

     8        that have been cited as influencing doctors and

     9        their prescribing practices, correct?

    10                 A      That's right.

    11                 Q.     When the State of New York, the entity

    12        you represent in this case, makes statements to the

    13        medical profession about things like prescription

    14        opioids, do you expect them to follow generally

    15        accepted practices?

    16                 A      Sorry.     Can you say that again?

    17                 Q.     Yes.     When the State of New York gives

    18        guidance to doctors in New York about prescription

    19        opioids, do you expect them to follow generally

    20        accepted medical standards?

    21                 A      Yes.

    22                 Q.     Have you undertaken a thorough review of

    23        all of the statements that the State of New York

    24        made to doctors in New York encouraging them to

    25        consider using prescription opioids?
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     1                           Frye Hearing - Dr. Keyes                       129

     2                  A     No.

     3                        MR. SCHMIDT:      Let's just look at one

     4                  example and then we'll move on.            May I

     5                  approach, your Honor?

     6                        THE COURT:     Yeah, sure.

     7                        Normally the way we do it is the court

     8                  officer is like the liaison between.

     9                        MR. SCHMIDT:      Okay.    Do you want me to

    10                  ask to approach every time I approach the

    11                  witness?

    12                        THE COURT:     Ask me.

    13                        MR. SCHMIDT:      Okay.    I will then.

    14        BY MR. SCHMIDT:

    15                  Q.    Have you seen this document before which

    16        is Defense New York 5260 entitled, "New York's

    17        Medical Conduct Program.          Pain Management:        A guide

    18        For Physicians"?        Have you seen this document

    19        before?

    20                  A     I may have.      I don't recall a specific

    21        time.     I have may have seen this before.            I reviewed

    22        a lot of these types of materials in the course of

    23        my work.

    24                  Q.    Okay.    It's not on your reliance list.

    25        Does that rule out you having seen it?
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     1                           Frye Hearing - Dr. Keyes                       130

     2                 A      It doesn't rule it out.          I may have seen

     3        it before.

     4                        MR. SCHMIDT:      Let's put it up on the

     5                 screen, Mr. Reynolds, if we can.

     6                        MR. REISMAN:      Your Honor, I'm going to

     7                 object on the basis that there's no

     8                 foundation to use this document right now.

     9                 This is a hearing about qualifications and

    10                 methodology, and he is showing documents

    11                 that --

    12                        THE COURT:     Let me see where it goes.

    13                 You said there's no foundation?

    14                        MR. REISMAN:      Yes.

    15                        THE COURT:     Well, the witness is brought

    16                 here by the Plaintiffs, right?

    17                        MR. REISMAN:      Yes.

    18                        THE COURT:     So is foundation really the

    19                 source of your objection or something else?

    20                        MR. REISMAN:      Well, it's also just --

    21                 it's beyond the scope of what this hearing is

    22                 about.

    23                        THE COURT:     What was your last question,

    24                 please?

    25                        MR. REISMAN:      I think it was:        Have you
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     1                           Frye Hearing - Dr. Keyes                        131

     2                 seen -- does the fact that it's not on your

     3                 reliance list rule it out as something that

     4                 you looked at.

     5                        THE COURT:     Overruled.

     6                        Let's see where it goes.

     7        BY MR. SCHMIDT:

     8                 Q.     Do you see on the first page right in

     9        the center after the title that we've read, there's

    10        the logo for the State of New York and reflecting

    11        that this document is from August 2007?               It's got

    12        Governor Spitzer on it.          Do you see that?

    13                 A      Yes.

    14                 Q.     If we look at the second page of this

    15        document, I just want to highlight two sentences in

    16        this document.

    17                        First of all, on the left hand under

    18        introduction, do you see the third paragraph?                 It

    19        helps to look on the screen.           We're going to

    20        highlight it on the screen just to make it easier

    21        for you to find.

    22                        It says "The board encourages and

    23        expects physicians to view effective pain management

    24        as part of quality medical practice for all patients

    25        with pain, acute or chronic, including pain as a
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     1                           Frye Hearing - Dr. Keyes                       132

     2        result of terminal illness."           Do you see that

     3        language?

     4                 A      I do.

     5                 Q.     And then I want to look at the language

     6        under controlled substances.           "The board recognizes

     7        that controlled substances, including opioid

     8        analgesics, are often essential in the treatment of

     9        acute and chronic pain, both malignant and

    10        nonmalignant."         Do you see that language?

    11                 A      Yes.

    12                 Q.     I'll ask you just two questions about

    13        that language.         First of all, yes or no, do you

    14        agree with that statement about opioid analgesics

    15        being essential or often essential in the treatment

    16        of acute and chronic pain, both malignant and

    17        non-malignant, or do you have a view on that?

    18                 A      I don't agree with that statement.

    19                 Q.     Did you conduct any kind of analysis of

    20        whether documents like this, whether the doctors or

    21        similar documents to New York residents as patients

    22        from the State of New York, whether they had a

    23        specific impact on physician prescribing decisions

    24        and the levels of supply in the State of New York?

    25                 A      No.
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     1                           Frye Hearing - Dr. Keyes                       133

     2                 Q.     Did you conduct any evaluation or

     3        analysis as to whether the same amount of harm would

     4        have occurred in the State of New York if the State

     5        of New York itself were not telling doctors

     6        statements like this that you disagree with about

     7        prescription opioids?         Did you conduct that type of

     8        analysis?

     9                 A      No.

    10                 Q.     That's my foundation, your Honor.             I'll

    11        move on.

    12                        THE COURT:     It's a 2008 document, yes?

    13                        MR. SCHMIDT:      Yes.    And I'm happy to

    14                 show more from an earlier time period, but in

    15                 the interest of time, I'll move on to my next

    16                 topic, unless your Honor wants to hear more

    17                 on this topic.

    18                        THE COURT:     No, I'm fine.

    19                        MR. SCHMIDT:      I assume the answer will

    20                 always be no more on any given topic.

    21                        THE COURT:     I'm fine.

    22        BY MR. SCHMIDT:

    23                 Q.     Do you agree that insurance company

    24        decisions about whether to cover prescription

    25        opioids were given favorable formulary treatment of
Case 3:17-cv-01362 Document 1115-12 Filed 10/24/20 Page 135 of 310 PageID #: 37595



     1                           Frye Hearing - Dr. Keyes                       134

     2        prescription opioids, and correspondingly whether

     3        they cover nonopioid treatments for pain were given

     4        favorable formulary coverage, that those could have

     5        an impact on prescription opioid suppliers?

     6                  A     Yes.

     7                  Q.    And your report doesn't evaluate

     8        insurance formulary decisions, correct?

     9                  A     Incorrect.

    10                  Q.    Okay.    Have you conducted an analysis

    11        that let's you say this is the amount of harm that

    12        would have occurred but for the fact that insurance

    13        plans of any sort gave favorable coverage,

    14        prescription opioids and less favorable coverage to

    15        alternative pain treatments?

    16                  A     Can you say a specific quantity, a

    17        number?

    18                  Q.    Yes.

    19                  A     No.

    20                  Q.    Okay.    You don't mention New York

    21        Medicaid once in your report, correct?

    22                  A     Not as far as I remember.

    23                  Q.    Do you understand that New York Medicaid

    24        has discretion in terms of whether to put an opioid

    25        treatment or a nonopioid treatment on its preferred
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     1                           Frye Hearing - Dr. Keyes                       135

     2        versus nonpreferred list?

     3                 A      I'm generally familiar with that.

     4                 Q.     Do you understand that if it's on the

     5        preferred list, it doesn't require prior

     6        authorization from a doctor?

     7                 A      Yes.

     8                 Q.     And do you understand that as a result,

     9        medications on the preferred drug list are used more

    10        by New York Medicaid recipients?

    11                 A      I'm not aware of an epidemiological

    12        study of that.

    13                 Q.     Are you aware of that being a fact?

    14        Have you seen testimony from state witnesses in this

    15        case acknowledging that fact?

    16                 A      I haven't seen that testimony.

    17                 Q.     We heard yesterday, and tell me if you

    18        were here for this part of Dr. Lembke yesterday,

    19        that New York Medicaid patients are more likely to

    20        be prescribed prescription opioids.

    21                        Do you take issue with that fact, that

    22        New York Medicaid residents are more likely than

    23        other New York residents to be prescribed

    24        prescription opioids?

    25                 A      I haven't looked at the studies.
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     1                           Frye Hearing - Dr. Keyes                       136

     2                 Q.     That's not something that you've

     3        evaluated?

     4                 A      That's not something I evaluated.

     5                 Q.     We heard yesterday that New York

     6        patients are more likely to experience harm from

     7        prescription opioids than non New York Medicaid

     8        patients.     Do you take issue with that?

     9                 A      I'm sorry.     Can you say that again?

    10                 Q.     Yeah, of course.       We heard yesterday

    11        that New York Medicaid patients are more likely to

    12        experience harm from prescription opioids than non

    13        Medicaid patients.        Do you take issue with that

    14        proposition?

    15                 A      Again, I would need to look at the data.

    16                 Q.     That's not something you evaluated?

    17                 A      That's not something I evaluated.

    18                 Q.     And so let me kind of come back and ask

    19        the question more broadly.           Am I correct that as

    20        part of your methodology in this case, you did not

    21        evaluate New York Medicaid formulary and other

    22        coverage decisions regarding prescription opioids?

    23                 A      I evaluated other coverage decisions,

    24        but not New York Medicaid.

    25                 Q.     Do you know, for example, that in just a
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     1                           Frye Hearing - Dr. Keyes                       137

     2        five-year period, between 2012 and 2017, New York

     3        Medicaid paid for nearly 600 million opioid pills in

     4        the State of New York?

     5                 A      I have not evaluated that.

     6                 Q.     You've not conducted any kind of

     7        analysis in your methodology where you say if New

     8        York Medicaid would have made different decisions in

     9        terms of how they cover prescription opioids and

    10        reimburse prescription opioids, would we have the

    11        same level of harm in New York from prescription

    12        opioids, correct?

    13                 A      Correct.

    14                 Q.     You've not analyzed whether if New York

    15        Medicaid made different decisions about coverage of

    16        prescription opioids, we would have a different

    17        level of supply of prescription opioids in New York

    18        State, correct?

    19                 A      Correct.

    20                 Q.     I asked you earlier about pill mill

    21        doctors.      I think you defined them in your report

    22        has high-volume prescribers who inappropriately

    23        prescribe prescription opioids for profit.

    24                        Does that sound like a reasonable

    25        definition?
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     1                           Frye Hearing - Dr. Keyes                       138

     2                 A      Yes.

     3                 Q.     And do you agree that they have

     4        contributed to the increase in opioid use disorder,

     5        overdose, and related harms?

     6                 A      Yes.

     7                 Q.     Do you agree that pill mill doctors

     8        helped increase the supply of prescription opioids?

     9                 A      Yes.

    10                 Q.     Do you understand that over time New

    11        York State has licensed pill mill doctors and has

    12        made the decision to reregister pill mill doctors

    13        and has failed to investigate specific pill mill

    14        doctors?

    15                 A      I haven't, I haven't looked at that

    16        material.

    17                 Q.     So you've done no analysis of whether

    18        the level of harm from prescription opioids would be

    19        different but for the licensing and reregistration

    20        and failure to investigate decisions made by the

    21        State of New York regarding pill mill doctors?

    22                        MR. REISMAN:      Objection, lack of

    23                 foundation.

    24                        THE COURT:     I'll call it a compound

    25                 question.      Call it objection to form, and
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     1                           Frye Hearing - Dr. Keyes                       139

     2                 I'll sustain it.

     3                        MR. REISMAN:      Okay.     Objection to form.

     4                        THE COURT:     Objection to form sustained.

     5                 Rephrase it.

     6                        MR. SCHMIDT:      Thanks, your Honor.

     7        BY MR. SCHMIDT:

     8                 Q.     Have you done any analysis of whether

     9        New York State would have made different licensing

    10        decisions regarding pill mill doctors --

    11                        THE COURT:     Yes or no.

    12                 Q.     -- that would have led to a different

    13        level of harm from the opioid crisis?              Yes or no.

    14                        MR. REISMAN:      Objection to form.

    15                        THE COURT:     Okay.      There are two form

    16                 objections, right?         Assuming a fact not in

    17                 evidence and a compound question.             It

    18                 probably hits -- it probably rings the bell

    19                 on both of them.

    20                        MR. SCHMIDT:      I don't think so, your

    21                 Honor.     There's ample facts in evidence about

    22                 New York State's failure, including in

    23                 prosecutor documents, failure to investigate

    24                 pill mill doctors.

    25                        THE COURT:     You mean evidence in this
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     1                           Frye Hearing - Dr. Keyes                       140

     2                 courtroom or evidence in the submissions?

     3                        MR. SCHMIDT:      That's been generated in

     4                 discovery in this case, and I'm happy to put

     5                 that on the record right now.

     6                        THE COURT:     No.    I'll take your word for

     7                 it.

     8                        MR. SCHMIDT:      Okay.

     9                        THE COURT:     By the way, Doctor, can you

    10                 handle the question?

    11                        THE WITNESS:      Can it be repeated?

    12                        THE COURT:     I'm going to have the

    13                 stenographer read it back to you.             Then I'm

    14                 going to ask you, can you handle the

    15                 question.      You will answer me and then I will

    16                 direct you.

    17                        MR. SCHMIDT:      If it's easier, I can try

    18                 to simplify it.

    19                        THE COURT:     Simplify it.

    20        BY MR. SCHMIDT:

    21                 Q.     Have you done an analysis of whether

    22        we'd have the same level of harm from the opioid

    23        crisis had New York State made different licensing

    24        decisions regarding pill mill doctors?

    25                 A      No.
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     1                           Frye Hearing - Dr. Keyes                       141

     2                        THE COURT:     Find a place to break for

     3                 lunch.

     4                        MR. SCHMIDT:      This is probably as good a

     5                 place as any.

     6                        THE COURT:     See everybody at 2:00.

     7                 Thank you.

     8                        (WHEREUPON, after a luncheon recess, the

     9                 following was had:)

    10                        THE CLERK:     Come to order.        Part 48 is

    11                 now in session.

    12                        THE COURT:     Doctor, you can resume the

    13                 stand.     Please be seated, everybody.

    14                        THE CLERK:     Doctor, I remind you you're

    15                 still under oath.

    16                        THE WITNESS:      Thank you.

    17                        THE COURT:     You may proceed.        Thank you.

    18                        MR. SCHMIDT:      Thank you, your Honor.

    19        CROSS EXAMINATION CONTINUED

    20        BY MR. SCHMIDT:

    21                 Q.     Doctor, thanks for continuing with us.

    22                        I want to pick up now on one last set of

    23        topics on the supply question.            I want to talk with

    24        you about distributors as I opined about earlier,

    25        including those chain pharmacies.
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     1                           Frye Hearing - Dr. Keyes                       142

     2                        Tell me if I'm wrong, we obviously have

     3        the transcript, am I correct that you did not

     4        discuss distributors as a category during your

     5        direct examination?

     6                 A      I'm sorry, say the question again.

     7                 Q.     Yeah.    You had no discussion,

     8        specifically about distributors as a category of

     9        entities in your direct examination, correct?

    10                 A      I'm sure -- if you have the transcript,

    11        I'm sure that's correct.

    12                 Q.     You didn't mention any distributors or

    13        chain pharmacies by name, correct?

    14                 A      Correct.

    15                 Q.     You didn't talk about the specific role

    16        of distributors or their obligations with respect to

    17        controlled substances in your direct, correct?

    18                 A      We talked about supplies but not

    19        specific distributors.

    20                 Q.     Right.     You didn't talk about

    21        distributors' role in setting supply and meeting

    22        their obligations at that point, correct?

    23                 A      Sure.    Correct.

    24                 Q.     As part of your methodology, you did not

    25        estimate the appropriate level of opioid supply in
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     1                           Frye Hearing - Dr. Keyes                       143

     2        New York State; is that right?

     3                 A      That's right.

     4                 Q.     You didn't do an analysis, say, looking

     5        at medical conditions that opioids are used for and

     6        how many people have those conditions in New York;

     7        therefore, how many opioids you might want to expect

     8        to see, correct?

     9                 A      I did not do that analysis.

    10                 Q.     You didn't analyze whether changes in

    11        opioid overdose rates track with changes in any

    12        individual distributor's distribution levels over

    13        time, correct?

    14                 A      No.

    15                 Q.     "No," being I'm correct in saying that?

    16                 A      You are correct.

    17                 Q.     Okay.    As part of your methodology did

    18        you evaluate specific distributors in your report?

    19                 A      No.

    20                 Q.     For example, your report doesn't mention

    21        McKesson, Cardinal, ABDC, the chain pharmacies at

    22        all, correct?

    23                 A      No, I don't think so.

    24                 Q.     "No," it doesn't mention them?

    25                 A      Correct.
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     1                           Frye Hearing - Dr. Keyes                       144

     2                 Q.     Okay.    Your article -- your report, and

     3        I think you talked about this in your direct exam,

     4        cites nearly 200 articles that you relied on in

     5        forming your opinions.

     6                        Do you recall giving that testimony

     7        earlier today?

     8                 A      Yes.

     9                 Q.     That epidemiological literature that you

    10        cited does not specifically discuss McKesson's

    11        conduct or programs, Cardinal's, ABDC's or the chain

    12        pharmacies, correct?

    13                 A      As a whole, yes; but specifically, no.

    14                 Q.     It doesn't focus on whether anyone of

    15        those entities met their obligations or their level

    16        of contribution to supply or anything like that,

    17        correct?

    18                 A      Correct.

    19                 Q.     In the report you originally were served

    20        in this case doesn't cite any document from any

    21        distributor in this case, correct?

    22                 A      Correct.

    23                 Q.     In fact, when we talked at your

    24        deposition you weren't sure if you'd ever seen a

    25        document created by a McKesson employee, a Cardinal
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     1                           Frye Hearing - Dr. Keyes                       145

     2        employee, an ABDC employee or chain pharmacy

     3        employee, correct?

     4                 A      Correct.

     5                 Q.     As part of your methodology, am I

     6        correct that you did not assess any individual

     7        distributor's contribution to opioid supply relative

     8        to other distributors?

     9                 A      That's correct.

    10                 Q.     You didn't consider the specific volume

    11        of prescription opioids that any one distributor

    12        brought into New York State or Nassau County or

    13        Suffolk County; is that correct?

    14                 A      I'm sorry, can you repeat the question?

    15                 Q.     Yeah, of course.

    16                        You didn't consider the specific volume

    17        of prescription opioids that any one distributor

    18        brought into New York State or Nassau County or

    19        Suffolk County, correct?

    20                 A      Not any one distributor, no.

    21                 Q.     You didn't know, at least at the time of

    22        your deposition, how much they actually brought into

    23        New York for Nassau or Suffolk, correct?

    24                 A      That's right.

    25                 Q.     And you didn't analyze how much they
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     1                           Frye Hearing - Dr. Keyes                       146

     2        shipped to the specific pharmacies either; is that

     3        correct?

     4                 A      That's correct.

     5                 Q.     Am I right that there's no pharmacy

     6        you've been able to identify or group of pharmacies

     7        you've been able to identify in New York State where

     8        a distributor in this case in your view shipped too

     9        many prescription opioids?

    10                 A      That's right.

    11                 Q.     Am I correct you did not even study

    12        individual pharmacies in terms of knowing which

    13        distributors supplied which pharmacies?

    14                 A      That's right.

    15                 Q.     Am I correct that you can't identify any

    16        times when a pharmacy that was a customer of one of

    17        the distributors in this case or supplied by one of

    18        the distributors in this case filled an improper

    19        prescription or had a diverted prescription?

    20                 A      I'm sorry, can you repeat the question?

    21                 Q.     Sure.    Am I correct that you cannot

    22        identify any pharmacy or any volume of pharmacies in

    23        New York State that were supplied by distributor

    24        Defendant in this case, that filled an improper

    25        prescription or had a diverted prescription?
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     1                           Frye Hearing - Dr. Keyes                       147

     2                 A      Overall that's documented in the

     3        literature, but not a specific pharmacy.               But in

     4        terms of groups of pharmacies that I believe is in

     5        the report.

     6                 Q.     Have you attempted to link groups of

     7        pharmacies to specific distributors in this case,

     8        groups of New York pharmacies?

     9                 A      No.

    10                 Q.     Am I correct that you could not identify

    11        for us any pharmacy or any group of pharmacies that

    12        were acting improperly in New York State that

    13        stopped acting improperly or went out of business

    14        because one of the distributes in this case cut them

    15        off?

    16                 A      No.

    17                 Q.     "No," you can't identify that?

    18                 A      That's correct.

    19                 Q.     Okay.    Have you been able to identify

    20        any doctor who was forced or prescriber who was

    21        forced to stop writing improper opioid prescriptions

    22        because one of the distributors in this case cut off

    23        the pharmacy that those prescriptions were being

    24        filled out of?

    25                 A      A specific doctor?
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     1                           Frye Hearing - Dr. Keyes                       148

     2                 Q.     Yes.

     3                 A      No.

     4                 Q.     Have you done any analysis of whether

     5        any of the distributor Defendants, take McKesson, if

     6        they had decided not to ship prescription opioids

     7        and another distributor had stepped in, whether the

     8        level of opioid harm would have been any different

     9        in the State of New York?

    10                 A      I'm sorry, can you breakdown --

    11                 Q.     Sure.

    12                 A      Okay.    So one distributor stops --

    13                 Q.     Yes, and another distributor steps in,

    14        would the level of opioid harm had been any

    15        different?

    16                 A      No.

    17                 Q.     You haven't done that analysis?

    18                 A      No.

    19                 Q.     And you talked about marketing at the

    20        end of your opinions, I just want to ask you a

    21        couple of questions on marketing.

    22                        You don't know of a single time when

    23        McKesson, Cardinal, ABDC, one of the chain

    24        pharmacies gave marketing materials to a doctor in

    25        New York State, correct?
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     1                           Frye Hearing - Dr. Keyes                       149

     2                 A      No.

     3                 Q.     "No," you don't no that?

     4                 A      I don't know that.

     5                 Q.     You don't know of a single time when

     6        McKesson, Cardinal, ABDC, a chain pharmacy prepared

     7        specific marketing materials for doctors or

     8        patients, correct?

     9                 A      That's correct.

    10                 Q.     And the literature you've seen in terms

    11        of talking about marketing and points to entities

    12        other than McKesson, Cardinal, ABDC and chain

    13        pharmacies as conducting marketing to physicians

    14        regarding prescription opioids; is that correct?

    15                 A      That's right.

    16                 Q.     Do you agree that the opioid crisis was

    17        caused by multiple different factors?

    18                 A      Yes.

    19                 Q.     Would you agree that there are multiple

    20        interrelated and deeply rooted social and economic

    21        determinants of the U.S. opioid overdose crisis?

    22                 A      Among others, yes.

    23                 Q.     And in your work you've not attempted to

    24        assign percentages of responsibility for the opioid

    25        crisis in New York to Cardinal or McKesson or ABDC
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     1                           Frye Hearing - Dr. Keyes                       150

     2        or the chain pharmacies, correct?

     3                 A      That's correct.

     4                 Q.     Or to the manufacturers, correct, as

     5        individual entities?

     6                 A      That's right.

     7                 Q.     What is correct -- well, is it correct

     8        that you would -- strike that.

     9                        Would you agree with me that the actions

    10        of distributors alone are not sufficient to bring

    11        about the opioid crisis?

    12                 A      I would agree with that.

    13                 Q.     The actions of manufacturers alone were

    14        not sufficient to bring about the opioid crisis?

    15                 A      Yes.

    16                 Q.     Am I correct that you cannot even answer

    17        the question whether you would fault McKesson?

    18                 A      I -- that's incorrect.

    19                 Q.     Okay.    Do you remember giving a

    20        deposition in this case?

    21                 A      Yes.

    22                        MR. SCHMIDT:      Could we pull up page 86

    23                 of the New York deposition.

    24                 Q.     You were under oath in that deposition,

    25        correct?
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     1                           Frye Hearing - Dr. Keyes                       151

     2                  A     Yes.

     3                        MR. SCHMIDT:      And can we go to line 11,

     4                  if we can put that up on the screen, Mr.

     5                  Reynolds.      It's going to be 86.

     6                        So you can actually take that down for a

     7                  second, Mr. Reynolds.

     8                  Q.    And if you look at page 86, just before

     9        on line 5; do you see where I'm referencing?

    10                  A     Um-hm.

    11                  Q.    I say:     "Okay."    And you say, "So to the

    12        extent that McKesson was involved in increasing

    13        supply of opioids, it's likely more than not."

    14                        Do you see that testimony?

    15                  A     Yes.

    16                  Q.    And then this is the part I wanted to

    17        ask you about, this is the part we have up on the

    18        screen:         "QUESTION:     Do you fault McKesson?

    19                        "ANSWER:     I can't answer that?"

    20                        Did I read that correctly as your

    21        testimony from our deposition in this case?

    22                  A     Yes.

    23                  Q.    Would the same statement apply to

    24        Cardinal, ABDC, and the chain pharmacies, that you

    25        can't answer whether you fault them for opioid harm;
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     1                           Frye Hearing - Dr. Keyes                       152

     2        yes or no?

     3                  A     I think they've more than likely

     4        contributed to harms, but in terms of percentage

     5        fault, I don't have a -- that's what I was

     6        interpreting that question to mean.

     7                  Q.    Okay.    You published nearly 275 peer

     8        review articles, I think you talked about that on

     9        direct?

    10                  A     Yes.

    11                  Q.    20 of them address opioids specifically?

    12                  A     Yes.

    13                  Q.    Some of them address causes of the

    14        opioid crisis?

    15                  A     Yes.

    16                  Q.    You follow generally accepted

    17        methodologies in your publications?

    18                  A     Yes.

    19                  Q.    None of them refer to McKesson as a

    20        cause of the opioid crisis, correct?

    21                  A     Correct.

    22                  Q.    None of them refer to ABDC or Cardinal

    23        or the chain pharmacies as a cause of the opioid

    24        crisis, correct?

    25                  A     That's right.
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     1                           Frye Hearing - Dr. Keyes                       153

     2                 Q.     None of them refer to any of the

     3        defendants in this case as a cause of the opioid

     4        crisis, correct?

     5                 A      No specific company, but generally

     6        speaking about different, different parts of the

     7        distribution and supply of opioids, yes.

     8                 Q.     Is there a publication you can point us

     9        to where you say that publication distributors as a

    10        class caused the opioid crisis?

    11                 A      Not back then, no.

    12                 Q.     I'd like to now shift from supply to the

    13        gateway theory and ask you some questions about the

    14        gateway theory and your opinion that prescription

    15        opioid use is related to subsequent heroin and

    16        illegal fentanyl use, and we talked earlier about

    17        the difference between association and causation; do

    18        you recall that?

    19                 A      Yes.

    20                 Q.     You rely on articles talking about

    21        whether there is an association between heroin use

    22        and earlier prescription opioid use, not medical,

    23        prescription opioid use, correct?

    24                 A      That's correct.

    25                 Q.     Have you published any articles where
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     1                           Frye Hearing - Dr. Keyes                       154

     2        you say there's established cause between nonmedical

     3        prescription opioid use and later heroin or illegal

     4        Fentanyl use?

     5                  A     Not to my knowledge.

     6                  Q.    You agree that there is a heroin problem

     7        before the opioid crisis?

     8                  A     I'm sorry, say that again.

     9                  Q.    Was there a heroin problem before the

    10        opioid crisis?

    11                  A     There was heroin use before the opioid

    12        crisis.

    13                  Q.    Was there a problem?

    14                  A     All heroin use is a problem so.

    15                  Q.    Okay.    And are you aware that there was

    16        specifically a heroin problem in New York State

    17        before the opioid crisis?

    18                  A     There were -- there was, yes.

    19                  Q.    Have you studied the degree in which the

    20        heroin problem existed in Suffolk County or Nassau

    21        County before the opioid crisis?

    22                  A     I have not.

    23                  Q.    Do you agree with me that even today

    24        there are heroin users who did not start using

    25        prescription opioid or did not use prescription
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     1                           Frye Hearing - Dr. Keyes                       155

     2        opioid before using heroin?

     3                 A      Yes.

     4                 Q.     Have you attempted to quantify how many,

     5        how many heroin users over the past ten years would

     6        have used heroin even if the supply of prescription

     7        opioids would not have increased in the '90s and

     8        2000s; do you have a number for that?

     9                 A      I believe we can point to the literature

    10        to give us general guidelines on that.

    11                 Q.     Do you know what the number is?            How

    12        many people would still use heroin today even if

    13        there had not been an increase in prescription

    14        opioid slide in the '90s to 2000s; can you ballpark

    15        what that number is for us in your view?

    16                 A      So if you could just go a little slower.

    17                 Q.     Of course, I'm sorry.

    18                 A      How many people would be using heroin

    19        now --

    20                 Q.     But for the increase in prescription

    21        opioid supply in the '90s and 2000s; do you know?

    22                 A      I think that if we looked at the

    23        literature, given the magnitude of the association,

    24        it would probably be kind of taking the inverse of

    25        the proportion we use prescription opioids before
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     1                           Frye Hearing - Dr. Keyes                       156

     2        heroin, it would be four to five times lower.

     3                 Q.     Okay.    Do you know what the number is?

     4                 A      The specific number would be using

     5        heroin now?

     6                 Q.     Yes.

     7                 A      It would be whatever it was similar to

     8        in the early '90s.

     9                 Q.     Is that a calculation you performed?

    10                 A      I haven't performed that calculation.

    11        I'm just expressing the opinion now.

    12                 Q.     In slide 16 of your analysis you talked

    13        and in your report you talk about 16 studies that

    14        you rely on evaluating whether there's an

    15        association between nonmedical use of prescription

    16        opioids and later use of heroin, correct?

    17                 A      Yes.

    18                 Q.     And to be clear, those studies are

    19        focused on nonmedical use of prescription opioids,

    20        correct?

    21                 A      There are several that, that describe

    22        connections between medical use of opioid as well.

    23                        MR. SCHMIDT:      Okay.    Can we pull up

    24                 slide 16, is that possible, Mr. Reynolds,

    25                 from Plaintiffs' slide?
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     1                           Frye Hearing - Dr. Keyes                       157

     2                 Q.     And while we're doing that, are you

     3        aware that there have been changes in the heroin

     4        market since the 1990s in terms of price,

     5        availability, supply.

     6                 A      Yes.

     7                 Q.     Okay.    I'll come back to that.

     8                        Could we look at slide -- I think I've

     9        got the wrong number.         It's actually slide 20.

    10        Yeah, slide 20.

    11                        Do you see where you talk about the 16

    12        studies here?

    13                 A      Yes.

    14                 Q.     And do you see where you use the term

    15        individuals who use prescription opioids

    16        nonmedically; do you see that?

    17                 A      Yes.

    18                 Q.     And you say the same thing in your

    19        report, correct, you refer to nonmedical use?

    20                 A      Yes.

    21                 Q.     And nonmedical use is opioid misuse,

    22        correct?

    23                 A      Generally speaking.

    24                 Q.     You're not aware of studies that look at

    25        whether people who use prescription opioids
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     1                            Frye Hearing - Dr. Keyes                      158

     2        medically have higher than average levels of heroin

     3        use, correct?

     4                  A     Incorrect.

     5                        MR. SCHMIDT:      Okay.    Let's take a look

     6                  at your testimony, please.          Page 323, line

     7                  19, to 324, line 5.        Mr. Reynolds, are you

     8                  able to put that testimony up on the screen,

     9                  please.

    10                        THE COURT:     It's up.

    11                  Q.    If we go from page 323, line 19, to 324,

    12        line 5, let me ask my question differently.

    13                        "Have you seen any studies showing that

    14        patients who only use prescription opioids medically

    15        have higher rates of injecting --" and it says

    16        sorting, I think it was snorting -- "snorting

    17        heroin; yes or no?"

    18                        "ANSWER:     I don't know of an

    19        epidemiological study to strike and answer that

    20        question."

    21                        Did I read that correctly and do you

    22        recall being asked that question and giving that

    23        answer?

    24                  A     Yes.

    25                  Q.    Your own research results do not support
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     1                           Frye Hearing - Dr. Keyes                       159

     2        legitimate opioid prescription use by itself as a

     3        major distributor chronic opioid misuse, correct?

     4                 A      Can you state that again.

     5                 Q.     Of course, yeah.

     6                        Your own research results do not support

     7        legitimate opioid prescription use by itself as a

     8        major contributor to chronic opioid misuse, true?

     9        Do you agree with that statement?

    10                 A      I would need to go back to -- is there a

    11        specific paper that you're referring to?

    12                 Q.     There is, but can you tell me, just

    13        without seeing the paper, whether you agree with

    14        that statement?

    15                 A      It would depend on the study.            I

    16        wouldn't say that that's an across the board

    17        statement.

    18                 Q.     Do you still have in front of you the

    19        paper that you published in 2015 that the

    20        Plaintiffs' counsel showed you?

    21                 A      Yes.

    22                 Q.     Demonstrative 56, you're the fourth

    23        author or this; do you see this?

    24                 A      Yes.

    25                 Q.     I think you described this as a cohort
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     1                           Frye Hearing - Dr. Keyes                       160

     2        study where you attempted to follow a generally

     3        accepted method, reasonably generally accepted

     4        methods in this paper?

     5                 A      Yes.

     6                 Q.     I think you said on direct that you were

     7        involved in the data analysis, interpreting the data

     8        and writing the report?

     9                 A      Yes.

    10                 Q.     And did I hear you say that you

    11        controlled further risk factors in this study?

    12                 A      Yes.

    13                 Q.     Okay.    Let's look at page 7 of the

    14        study, please, and if we can put this up on the

    15        board, it's demonstrative 56, page 7.

    16                        Do you see in the bottom right-hand

    17        paragraph, the one that continues over, if we could

    18        make that bigger, do you see that you talk about

    19        limitations of this study?

    20                 A      Yes.

    21                 Q.     Now I want to focus on the second

    22        limitation.      The second.      (READING:)      The data do

    23        not contain information on unmeasured confounding

    24        factors, such as family history or mental illness --

    25        and then it goes on to say -- although it is likely
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     1                            Frye Hearing - Dr. Keyes                      161

     2        that by 12th grade drug use history and drug

     3        attitudes serve as proximate causes for these more

     4        distal influences on drug misuse.

     5                          Is that an accurate statement that the

     6        data do not contain information on unmeasured

     7        confounding factors, such as family history or

     8        mental illness?

     9                  A       That's an accurate statement.

    10                  Q.      Now move, if you would, at the sentence

    11        that begins at the bottom of the first column on

    12        this page, please and carries over to the second

    13        collum, and this is that language I was reading you

    14        just a few moments ago.

    15                          And, Mr. Reynolds, we can actually just

    16        call up the last line of that, if that makes it

    17        easier.        It's just the word these, because it

    18        carries over.

    19                          Thank you for that.

    20                          You write (READING:)       These results do

    21        not support legitimate opioid prescription use by

    22        itself as a major contributor to chronic opioid

    23        misuse, at least not by 23.

    24                          Did I read that correctly?

    25                  A       Yes.
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     1                           Frye Hearing - Dr. Keyes                       162

     2                 Q.     You stand by that statement within the

     3        statement?

     4                 A      Yes.

     5                 Q.     And is that a generally accepted

     6        principle in your field, what you wrote in this

     7        paper?

     8                 A      I don't think it's a principle.

     9                 Q.     Is it a generally accepted statement?

    10                 A      I think it's -- no, I think that this is

    11        a sentence that describes the results of this paper,

    12        and I can expand on the results if you would like me

    13        to.

    14                 Q.     Can you point me to -- actually, let me

    15        ask you about one other study that you talked about

    16        on direct.

    17                        Do you remember talking about that

    18        McCabe study that you did not cite in your report

    19        but that we talked about at your deposition?

    20                 A      Yes.

    21                 Q.     That is demonstrative 54.          If you can go

    22        ahead and put that up on the screen.              It was showed

    23        on slide 19.

    24                        Did you testify -- I want to be sure I

    25        understood what you said about this study -- did you
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     1                           Frye Hearing - Dr. Keyes                       163

     2        say that this study did not speak to whether medical

     3        use without nonmedical use is linked to higher rates

     4        of heroin use or other drug use?

     5                 A      I'm sorry, can you say that again?

     6                 Q.     Sure.     Let me ask it more simply.

     7                        I thought I heard you say this and tell

     8        me if I heard it right.

     9                        Does this study say, speak to whether if

    10        someone uses opioids medically and not nonmedically

    11        they have later higher rates of other drug use; does

    12        this study speak to that question?

    13                 A      Later higher rates of -- I'm sorry, what

    14        outcome?

    15                 Q.     Other drug use.

    16                 A      No.

    17                 Q.     It does not speak to that?

    18                 A      No, not other drug use.          They look at

    19        substance use disorders, symptoms at age 35.

    20                 Q.     Including substance use symptoms from

    21        other drugs, right?

    22                 A      Yes.

    23                 Q.     Let's look specifically at what I'm

    24        asking about.         Can we go to page 5, please.         The

    25        second to last full paragraph on the page,
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     1                           Frye Hearing - Dr. Keyes                       164

     2        adolescents.

     3                        By the way, is this study performed, in

     4        your view, using generally accepted methods?

     5                 A      Yes.

     6                 Q.     It says:     "Adolescents who indicated

     7        medical use without a history of --" and I'm going

     8        to fill in the acronyms, tell me if I get it wrong.

     9        So let's start again.

    10                        "Adolescents who indicated medical use

    11        without a history of nonmedical use of prescription

    12        opioids did not differ from adolescents with no

    13        history of medical use of prescription opioids or

    14        nonmedical use of prescription opioids in the odds

    15        of alcohol use disorder, cannabis use disorder or

    16        other drug use disorder."

    17                        Did I read that correctly?           Fill in any

    18        acronyms.

    19                 A      Generally.

    20                 Q.     And do you agree with that finding in

    21        this study, is that a reasonable interpretation of

    22        the data in the study; yes or no?

    23                 A      Um, I think that I would have written it

    24        differently, so no.

    25                 Q.     Is it wrong in your view?
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     1                           Frye Hearing - Dr. Keyes                       165

     2                 A      It's not wrong.

     3                 Q.     Can you point me to a contrary study

     4        showing individuals who use prescription opioids

     5        only medically have higher rates of heroin use?

     6                 A      Sorry, say that again.

     7                 Q.     Can you point me to a contrary cite

     8        showing individuals -- actually, no.              I think I just

     9        asked you this question, so I'm going to move on.

    10                        I've asked you now about medical use

    11        prescription opioids, so I want to move over to

    12        nonmedical use of prescription opioids.               Those 16

    13        studies that you cited.

    14                        Do you consider each of those studies to

    15        be reliable when conducted using generally accepted

    16        methods?

    17                 A      Yes.

    18                 Q.     Going back to that distinction we drew

    19        between causation and association, am I accurate

    20        that none of those studies make the step of going

    21        beyond association to causation?

    22                 A      No one study alone, no.

    23                 Q.     None of them collectively, correct?

    24                 A      Collectively, I think that's up to the

    25        epidemiologist.
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     1                           Frye Hearing - Dr. Keyes                         166

     2                 Q.     Does anyone of those studies say,

     3        looking at our study and all other studies, we're

     4        now willing to conclude causation?

     5                 A      Not those words.

     6                 Q.     Do any of them go beyond association?

     7                 A      I think they generally accept the well-

     8        accepted principle that prescription opioid use is a

     9        risk factor for heroin use.

    10                 Q.     Do they go beyond association; just yes

    11        or no?

    12                 A      Um, I would say yes.

    13                 Q.     Okay.    Well, let's look at what they say

    14        now.

    15                        MR. SCHMIDT:      May I approach, your

    16                 Honor.

    17                        THE COURT:     Yes.

    18                 Q.     I'm going to give you two things.             One

    19        is a demonstrative that I prepared, and I don't

    20        think that you need to look at the study, but if you

    21        would like to look at the study, I've given you a

    22        set of the studies on this demonstrative --

    23                 A      Thank you.

    24                 Q.     -- and they're tabbed.

    25                        The demonstrative is four of the 16
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     1                           Frye Hearing - Dr. Keyes                       167

     2        studies, you cite language from the studies.                If you

     3        can put it up on the screen, Demonstrative Exhibit

     4        1, and I think we were using letters, so I'll mark

     5        this as Defendant's Exhibit A -- I guess I'll mark

     6        it as Defendant's Exhibit B, Exhibit A would be the

     7        New York document encouraging opioid use that we

     8        looked at earlier.

     9                        Do you recognize these four studies as

    10        four of the 16 studies you looked at?

    11                 A      Yes.

    12                 Q.     And just very quickly (READING:)

    13                        (Khosla) 2011.       Temporality and causal

    14        associations could not be determined.

    15                        (Becker) 2008.       While we were able to

    16        describe associations, we are not able to ascribe

    17        causality.

    18                        (Grau) 2007.      A second limitation is the

    19        cross-sectional nature of this study, which

    20        precludes the possibility of establishing causal

    21        relationships.

    22                        (Havens) 2009.       Causal inferences could

    23        not be made.

    24                        Did I read those excerpts right?

    25                 A      Yes.
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     1                           Frye Hearing - Dr. Keyes                       168

     2                 Q.     Do you agree with those statements as

     3        made in the context of those studies; yes or no?

     4                 A      Yes.

     5                 Q.     And are you aware of any study that goes

     6        farther and says we do find causation, we do find

     7        more than an association?

     8                 A      I think if you look at the language of

     9        the discussion section, you know, limitations of the

    10        studies aside, I think there is generally accepted

    11        language that prescription opioid use is a risk

    12        factor for heroin use.

    13                 Q.     It's important to consider the

    14        limitations, right?

    15                 A      Yes.

    16                 Q.     Do you know of any study that actually

    17        says we believe there is causation between earlier

    18        nonmedical prescription opioid use and later heroin

    19        use, where it comes to a specific conclusion, it

    20        goes beyond association and concludes causation?

    21                 A      No.

    22                 Q.     Can you point me to any study that

    23        states there's general acceptance that nonmedical

    24        prescription opioid use causes heroin use or illegal

    25        fentanyl use?
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     1                           Frye Hearing - Dr. Keyes                       169

     2                 A      I would need to go back to the studies.

     3        I mean, off the top of my head, I don't have

     4        specific sentences.

     5                 Q.     Is there one you can point me to from

     6        your work; just yes or no?

     7                 A      Not off the top of my head.

     8                        MR. SCHMIDT:      Let me show you one other

     9                 study you looked at.         I'll mark this -- if I

    10                 may approach -- Defendant's Exhibit C.

    11                        THE COURT:     Yes.

    12                 Q.     Do you recognize this as a 2016 New

    13        England Journal of Medicine, that's one of your 16

    14        studies that you cite?

    15                 A      Yes.

    16                 Q.     This one, the lead author is Compton,

    17        and if you look at the heading it's actually a

    18        review article, correct?

    19                 A      Yes.

    20                 Q.     It's reviewing the literature that

    21        existed at the time of this publication.

    22                 A      Yes.

    23                 Q.     Are you aware that it reviews 14 of the

    24        16 studies that you cite in your report?

    25                 A      Yes.
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     1                           Frye Hearing - Dr. Keyes                       170

     2                 Q.     If we look at page 3 of this document

     3        there's a heading that says:           Heroin Use Among

     4        People Who Use Prescription Opioids Nonmedically; do

     5        you see that?

     6                 A      Yes.

     7                 Q.     Then a little further down, or actually

     8        right below that, I'm sorry, it says:              "Studies that

     9        address the patterns of heroin use in nonmedical

    10        users of prescription opioids are mostly

    11        observational and descriptive; i.e.,

    12        nonexperimental.        Thus, conclusions about cause and

    13        effect are uncertain.

    14                        Yet, certain consistent findings of a

    15        positive association between nonmedical use of

    16        prescription opioids and heroin use are highly

    17        suggestive and plausible, given the common

    18        pharmacologic principles described above?"

    19                        Did I read that correctly?

    20                 A      Yes, you did.

    21                 Q.     I want to point you to their later

    22        conclusion and ask you about that.             Can you go to

    23        the fifth page of this article, please.               And right

    24        before the heading on the right, down at the bottom

    25        of this page, if we could pull out the -- yeah, it
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     1                           Frye Hearing - Dr. Keyes                       171

     2        says:    "Taken in total, the available data suggests

     3        that nonmedical prescription opioid use is neither

     4        necessary nor sufficient for the initiation of

     5        heroin use and that other factors are contributing

     6        to the increase in the rate of heroin use and

     7        related mortality."

     8                        Did I read that correctly?

     9                 A      You did.

    10                 Q.     Do you agree with that; yes or no?

    11                 A      Yes.

    12                 Q.     Is that a generally accepted view, in

    13        your opinion?

    14                 A      Yes, absolutely.

    15                 Q.     And "necessary" means all cases of the

    16        outcome have a risk factor, correct?

    17                 A      That's right.

    18                 Q.     "Sufficient" means by itself it can

    19        bring it about, correct?

    20                 A      That's right.

    21                 Q.     We talked earlier about one of the other

    22        factors or some of the other factors:              the price of

    23        heroin, the availability of heroin, the purity of

    24        heroin; do you recall us touching on that?

    25                 A      Yes.
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     1                           Frye Hearing - Dr. Keyes                         172

     2                 Q.     If we just stay with Compton,

     3        Defendant's Exhibit C.         C, as in Compton.

     4                        The first full paragraph on this page 5,

     5        just go further on the page.           States (READING):        A

     6        key factor underlying the recent increases in rates

     7        of heroin use and overdose may be the low cost and

     8        high purity of heroin.

     9                        Do you recognize -- do you agree with

    10        that statement?

    11                 A      Yes.

    12                 Q.     And it goes on to detail that the price

    13        of heroin has dropped from 2,690 per gram in 1982 to

    14        as low as $465 in 2012; do you see that?

    15                 A      Yes.

    16                 Q.     And it cites a recent study showed that

    17        each hundred-dollar decrease in the price per gram

    18        of heroin resulted in a 2.9 percent increase in the

    19        number of hospitalizations for heroin use; do you

    20        see that?

    21                 A      Yes.

    22                 Q.     Do you take any issue with that data

    23        showing that as the price comes down by $100, for

    24        every $100 there's a 2.9 percent increase in

    25        hospitalizations?
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     1                           Frye Hearing - Dr. Keyes                       173

     2                 A      Availability and price are huge drivers

     3        of drug use, yes.

     4                 Q.     Am I correct that you conducted no

     5        specific analysis of the impact of heroin price on

     6        the number of people who have used heroin over the

     7        past several decades?

     8                 A      I'm sorry, say that again.

     9                 Q.     Sure.

    10                        Did you conduct any specific analysis

    11        looking at changes in heroin price and how that

    12        impacted harm from heroin over the past couple

    13        decades?

    14                 A      Aside from just reviewing the

    15        literature?

    16                 Q.     Right.    You didn't do any independent

    17        analysis?

    18                 A      No.

    19                 Q.     Did you do any analysis to say if there

    20        had not been changes in heroin price, here's how the

    21        harms from at least illegal heroin and illegal

    22        Fentanyl use would have been different?

    23                 A      No.

    24                 Q.     The sentence we looked at also talks

    25        about purity in the first sentence.
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     1                           Frye Hearing - Dr. Keyes                       174

     2                        Are you aware of law enforcement

     3        findings that even as the price has gone down for

     4        heroin in New York, the purity of the product has

     5        increased in the New York region?

     6                 A      I'm generally familiar with that

     7        literature.

     8                 Q.     And are you aware of the idea that as it

     9        becomes more pure it can be snorted -- for lack of a

    10        better, more scientific term -- instead of being

    11        injected, it allows for a different method of

    12        administration?         Maybe that's the more scientific

    13        way of saying it.

    14                 A      Sure.     Yes, I'm generally aware of that.

    15                 Q.     And when that different method of

    16        administration is available are you aware of

    17        findings that more people are likely to use it

    18        because it doesn't have the stigma of needles?

    19                 A      Yes.

    20                 Q.     Am I correct that you've done no

    21        analysis specifically looking at changes in heroin

    22        purity in the New York market and the impact that's

    23        had on the harms in heroin use in the State of New

    24        York?

    25                 A      No -- you are correct.
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     1                           Frye Hearing - Dr. Keyes                       175

     2                 Q.     You've not evaluated whether if the

     3        changes in heroin purity occurred -- had not

     4        occurred, I'm sorry -- whether there were -- let me

     5        try again.

     6                        You've not evaluated whether if there

     7        were no changes in heroin purity in the New York

     8        market the level of harm from heroin would have been

     9        different?

    10                 A      I think generally that's what that paper

    11        is showing that, that we would predict there would

    12        be less harm from heroin.

    13                 Q.     Have you quantified how much less?

    14                 A      No.

    15                 Q.     Between 0 and 100; do you know?

    16                 A      No.

    17                 Q.     And 0 and 100 percent, you don't know if

    18        it's 0 percent or -- I guess you said it would be

    19        different, between 1 and 100 percent, do you know

    20        where the harm would fall?

    21                 A      No.

    22                 Q.     Could be 100 percent different, could be

    23        1 percent different, you don't know?

    24                 A      I don't know.

    25                 Q.     You talk about, and I think you talked
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     1                           Frye Hearing - Dr. Keyes                       176

     2        about it just now, but I want to make sure I have

     3        it.   You talk about in your report something called

     4        availability theory?

     5                 A      Yes.

     6                 Q.     I think that's an idea you alluded to a

     7        moment ago that one driver of harm is the

     8        availability of a product, correct?

     9                 A      That's correct.

    10                 Q.     And you're aware of findings that heroin

    11        availability has increased over the last several

    12        decades?

    13                 A      Yes.

    14                 Q.     Are you aware of law enforcement

    15        findings that Mexican cartels have specifically

    16        increased both the amount of heroin poppies that

    17        they're growing and the amount that they're

    18        importing into markets like New York?

    19                 A      Yes, I'm aware of those.

    20                 Q.     Am I correct that you did not specific

    21        analysis of the impact of heroin availability on the

    22        harm from heroin usage?

    23                 A      I'm sorry, say -- heroin availability?

    24                 Q.     Sure, let me ask it a little

    25        differently.
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     1                           Frye Hearing - Dr. Keyes                       177

     2                        I was asking about greater manufacturing

     3        of heroin, greater distribution of heroin by illegal

     4        drug cartels.

     5                        Did you conduct any analysis that would

     6        let you say this is how much different heroin harm

     7        there would be if they had not increased

     8        manufacturing and distribution?

     9                  A     No.

    10                  Q.    You don't know whether it's between 100

    11        percent different, 1 percent different or something

    12        in between?

    13                  A     I'm not aware of an analysis that's

    14        quantified that.

    15                  Q.    And that's not something you've done,

    16        right?

    17                  A     No.

    18                  Q.    Let's -- let me ask you one more

    19        question on this Compton article and then we can

    20        leave it.

    21                        If you turn to page 7 of the article,

    22        please.

    23                        If we look on the right-hand side, down

    24        at the bottom, please, in the last paragraph.

    25                        Do you see where it says:
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     1                           Frye Hearing - Dr. Keyes                       178

     2        "Alternatively, heroin market forces, including

     3        increased accessibility, reduced price and high

     4        purity of heroin appear to be the major drivers of

     5        the recent increases in rates of heroin use."

     6                        Do you see that?

     7                 A      There was -- you didn't read it

     8        correctly.

     9                 Q.     Oh, then let me reread it.           I didn't

    10        mean to read it incorrectly.           That's my garble.

    11                        Do you see where it states:

    12        "Alternatively, heroin market forces, including

    13        increased accessibility, reduced price and high

    14        purity of heroin appear to be major drivers of the

    15        recent increases in rates of heroin use."?

    16                 A      That's right.

    17                 Q.     Okay.    Do you agree with that statement;

    18        yes or no?

    19                 A      Yes.

    20                 Q.     And is that a generally accepted view,

    21        as you understand it?

    22                 A      Yes.

    23                 Q.     You understand that the predominant

    24        source of heroin in the United States is Mexican

    25        drug trafficking organizations?
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     1                           Frye Hearing - Dr. Keyes                       179

     2                 A      I believe Mexico and China are both

     3        sources, from what I understand.

     4                 Q.     When it comes to New York, you know that

     5        the civil lower cartel in Mexico has been identified

     6        as having control over the New York market?

     7                 A      I'm not familiar with the specific

     8        cartels.

     9                 Q.     You're aware when it comes to

    10        manufacturing heroin that's illegal manufacturers,

    11        correct?

    12                 A      Yes.

    13                 Q.     They're the ones who decide how much to

    14        manufacture, correct?

    15                 A      I'm not familiar with cartel decision

    16        practices.

    17                 Q.     DEA licensed manufacturers of

    18        prescription opioid don't manufacture or decide how

    19        much to manufacture when it comes to illegal heroin,

    20        correct?

    21                 A      I would assume so.

    22                 Q.     When it comes to the amount that's

    23        shipped into the New York market, that's something

    24        that illegal criminals do, right?

    25                 A      I would imagine.
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     1                           Frye Hearing - Dr. Keyes                       180

     2                  Q.    That's not something the DEA licensed

     3        distributors of FDA-approved drugs do, correct?

     4                  A     That's correct.

     5                  Q.    And when it comes to deciding how much

     6        heroin will be sold, what the price it will be sold

     7        at, how pure it will be, that's illegal criminals

     8        making those decisions, correct?

     9                  A     I would imagine.       I'm not familiar with

    10        the decisions of the drug cartels.

    11                  Q.    But those aren't decisions made by

    12        manufacturers, DEA licensed manufacturers, DEA

    13        licensed distributors, correct?

    14                  A     I would assume not.

    15                  Q.    Pretty shocking if it were true?

    16                  A     It would be.

    17                  Q.    And you've seen no evidence of that?

    18                  A     No.

    19                  Q.    Are you aware starting around 2013 drug

    20        cartels started mixing heroin with illegal Fentanyl?

    21                  A     The evidence is consistent with that.

    22                  Q.    And they did that to boost their

    23        profits, because Fentanyl is more potent than

    24        heroin?

    25                  A     That is the assumption.
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     1                           Frye Hearing - Dr. Keyes                       181

     2                 Q.     Specifically, I think you said this in

     3        your report, an amount of Fentanyl equivalent to 2

     4        grains of salt, can be enough to cause an overdose,

     5        right?

     6                 A      That's right.

     7                 Q.     And that has led in turn to an increase

     8        in illegal drug overdoses, correct?

     9                 A      Yes.

    10                 Q.     It was illegal criminals that made the

    11        decision to pour the Fentanyl into heroin to be

    12        sold, correct?

    13                 A      Yes.

    14                 Q.     That decision was not made by any

    15        Defendant in this case, correct?

    16                 A      As far as I know, no.

    17                 Q.     Have illegal criminals caused harm from

    18        heroin and illegal fentanyl; just yes or no?

    19                 A      Yes.

    20                        MR. REISMAN:      Objection to form.        The

    21                 question is vague.

    22                        MR. SCHMIDT:      I think the witness has

    23                 proved it's not vague by giving a yes answer.

    24                        THE COURT:     Doctor, you understood the

    25                 question?
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     1                           Frye Hearing - Dr. Keyes                       182

     2                        THE WITNESS:      Can you repeat the

     3                 question.

     4                        THE COURT:     Repeat the question.

     5                 Q.     Have illegal criminals caused harm

     6        attributable to heroin and illegal Fentanyl; yes or

     7        no?

     8                        THE COURT:     That's like would you have

     9                 those notorious factors that a court should

    10                 accept.

    11                        MR. SCHMIDT:      I think it's obvious, but

    12                 I just want to confirm that the witness

    13                 agrees with it.        I think she agrees with it.

    14                        THE COURT:     The bad guys created the big

    15                 problem, right?

    16                        THE WITNESS:      Bad guys did contribute to

    17                 the problem, yes.

    18                        THE COURT:     The bad guys being the

    19                 cartels and street merchants of heroin,

    20                 correct?

    21                        THE WITNESS:      Yes.

    22                        THE COURT:     Okay.     Go ahead.

    23                 Q.     Where I'm going with that is your report

    24        doesn't contain any analysis of how different the

    25        problem with illegal heroin and illegal Fentanyl
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     1                           Frye Hearing - Dr. Keyes                       183

     2        would be but for these actions by criminal actors;

     3        does it?

     4                  A      The report suggests there would be less

     5        harm now than if those illegal actors had not been

     6        acting.

     7                  Q.     Okay.   So if they were to reduce price,

     8        increase production, increase purity, increased

     9        other standards, have you quantified, can you tell

    10        us how much less the harm from heroin and Fentanyl

    11        would be than it is today?

    12                  A      I don't have a specific number.

    13                  Q.     You don't know if it would be 100

    14        percent lower, 1 percent lower, somewhere in

    15        between, right?

    16                  A      It's somewhere in between those two.

    17                  Q.     It would be meaningfully lower though,

    18        correct?       Yes or no, if you can answer yes or no.

    19                  A      It would be lower.

    20                  Q.     Last thing I'm going to show you, this

    21        is an article you talked about on direct

    22        examination.

    23                         Do you remember?      It was demonstrative

    24        57.   If we can put it up on the screen, an article

    25        by Muhuri.       It was on slide 21.       And if you need
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     1                           Frye Hearing - Dr. Keyes                       184

     2        another copy I can give you another copy so you

     3        don't have to sift through a growing pile of

     4        documents.

     5                        Do you remember talking about this

     6        article on direct examination?

     7                 A      Yes.

     8                 Q.     There was a slide talking about this

     9        article; is that right?

    10                 A      That's correct.

    11                 Q.     What I want to do is show you some data

    12        from this article that you did not discuss on

    13        direct, specifically can you go with me to page 11

    14        of this document, which is table 3?

    15                 A      Yes.

    16                 Q.     Table 3 is looking at people who started

    17        using heroin based on different factors they

    18        present, correct?

    19                 A      Just give me a moment to --

    20                 Q.     Sure.

    21                 A      -- familiarize myself with this table.

    22                 Q.     Why don't we pull up ahead, Mr.

    23        Reynolds, if we could...

    24                        (READING:)     Percentage distribution of

    25        past year heroin initiates aged 12 to 49, by
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     1                           Frye Hearing - Dr. Keyes                       185

     2        demographic and geographic characteristics and prior

     3        illicit drug use status.

     4                  A     Yes.

     5                  Q.    And they do it for three different time

     6        periods and that it combines time periods of 2002

     7        through 2011; do you see that?

     8                  A     Yes.

     9                  Q.    One of the factors these authors -- this

    10        is an article you relied on, correct?

    11                  A     Yes.

    12                  Q.    And it's an article that you believe

    13        follows generally accepted principles?

    14                  A     Yes.

    15                  Q.    One of the factors they look at to see

    16        how it is related to later heroin use is prior

    17        nonmedical prescription opioid use, correct, or

    18        opioid misuse, as you call it?

    19                  A     Yes.

    20                  Q.    Just if we can look down at the very

    21        bottom, I guess it's actually already up on the

    22        screen.

    23                        Do you see where it says:          "Prior

    24        nonmedical prescription use and that the aggregate

    25        data of 79.5 percent of those people who used heroin
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     1                           Frye Hearing - Dr. Keyes                       186

     2        in this study had previously used nonmedical

     3        prescription opioids;" do you see that?

     4                 A      I'm sorry, is this table 3?

     5                 Q.     This is table 3, down at the bottom.

     6                        Are you looking at table 3 or figure 3?

     7                 A      I'm looking at table 3 but --

     8                        MR. SCHMIDT:      May I approach, your

     9                 Honor.

    10                        THE COURT:     Yes.

    11                        THE WITNESS:      I apologize.       Oh, you know

    12                 what, there's -- the table 3 continues on two

    13                 pages, and I was looking at the wrong page.

    14                 I apologize.

    15                        MR. SCHMIDT:      No, no worries at all.

    16                 Q.     Are you with me now?

    17                 A      Now I'm with you.

    18                 Q.     This report in this study, the 79.5

    19        percent of people who had heroin use had prior

    20        nonmedical prescription opioid use; is that correct?

    21                 A      That's correct.

    22                 Q.     That same group, though, 79.5 percent

    23        had prior illicit drug use, correct?              And that's the

    24        number on the bottom right corner.

    25                 A      That's correct.
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     1                           Frye Hearing - Dr. Keyes                       187

     2                  Q.    And prior illicit drug use, if you go to

     3        the next page where it says footnote 2, is defined

     4        as -- if we pull footnote 2 it includes marijuana,

     5        hashish, cocaine, including crack, hallucinogens and

     6        inhalents; do you see that?

     7                  A     Yes.

     8                  Q.    Just as a more general proposition, do

     9        you know what percentage of heroin users who are

    10        using heroin today started using marijuana or

    11        cocaine or other illegal drugs, other than

    12        prescription opioids?

    13                  A     It's a majority.

    14                  Q.    Do you know what percentage -- do you

    15        know with anymore particularity than that?

    16                  A     Not off the top of my head.

    17                  Q.    Do you know what percentage of people

    18        who have used heroin abused alcohol before using

    19        heroin?

    20                  A     Abused alcohol?       Do you mean have

    21        alcohol use disorder?

    22                  Q.    Or abused it in some way, used it

    23        excessively in some way.

    24                  A     It's a majority.

    25                  Q.    Can you quantify more than that?
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     1                           Frye Hearing - Dr. Keyes                       188

     2                 A      I can't.

     3                 Q.     Okay.    Am I right that your own research

     4        has shown that past-year drug use, other than

     5        nonmedical use of prescription opioids and alcohol

     6        use disorder are the strongest factors associated

     7        with nonmedical use prescription opioids?

     8                 A      Yes.

     9                 Q.     Is that -- do you stand behind that

    10        view?

    11                 A      Yes.

    12                 Q.     And is that a generally accepted view in

    13        your understanding?

    14                 A      Yes.

    15                        MR. SCHMIDT:      That's all I have.        Thank

    16                 you, doctor, appreciate your time.              Thank

    17                 you, your Honor.

    18                        THE COURT:     Mr. Ercole, are you okay?

    19                        MR. ERCOLE:      Yes, your Honor.

    20                        THE COURT:     Just give your name once

    21                 again, who you represent.

    22                        MR. ERCOLE:      Sure.    Brian Ercole, and I

    23                 represent the Teva Defendants in this case.

    24                        THE COURT:     Doctor, you're going to be

    25                 examined like on the screen.            Mr. Ercole is
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     1                           Frye Hearing - Dr. Keyes                       189

     2                 someplace else.

     3                        THE WITNESS:      Right.

     4                        THE COURT:     He's feeding in, so to

     5                 speak.

     6                        THE WITNESS:      Okay.

     7                        THE COURT:     You may proceed.        Go ahead.

     8                        MR. ERCOLE:      Thank you, your Honor.

     9        EXAMINATION BY

    10        MR. ERCOLE:

    11                 Q.     Good afternoon, Dr. Keyes.           I'm at a

    12        slight disadvantage because I can't see you and I'm

    13        not sure if you can see me, and I'm sorry.

    14                        THE COURT:     Let's address that.         Mr.

    15                 Ercole indicates he can't see the witness.

    16                        MR. REISMAN:      We see her on the screen

    17                 here.     We see both Mr. Ercole and the

    18                 witness.

    19                        MR. ERCOLE:      Okay.     My screen, for what

    20                 it's worth, I can see, I have a clear view of

    21                 your honor, but I don't have a view of the

    22                 witness, but I mean that's been the case all

    23                 day, so I'm happy to proceed as planned.

    24                        THE COURT:     Okay.

    25                        MR. ERCOLE:      Dr. Keyes, I'd like to
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     1                           Frye Hearing - Dr. Keyes                       190

     2                 focus on your marketing causation opinion.

     3                        THE WITNESS:      Okay.

     4                        MR. ERCOLE:      Can we pull up Dr. Keyes'

     5                 report in this case.

     6                 Q.     And in particular, Dr. Keyes, if you can

     7        turn to section 2 of the report, which I believe you

     8        have a copy in front of you.

     9                 A      Yes.

    10                 Q.     And section 2 of your report, which is

    11        on page 6, is -- identifies in section 2 opinions;

    12        is that correct?

    13                 A      That's correct.

    14                 Q.     It goes on to say:        "For the detailed

    15        reasons stated in this report, I intend to offer the

    16        following opinions in this case:"

    17                        Correct?

    18                 A      Yes.

    19                 Q.     And in that section you identify 10

    20        opinions, correct?

    21                 A      Yes.

    22                 Q.     The word marketing is not mentioned in

    23        any of those opinions, correct?

    24                 A      Correct.

    25                 Q.     The word promotion is not mentioned in
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     1                           Frye Hearing - Dr. Keyes                       191

     2        any of those opinions, correct?

     3                 A      Let me just -- that's correct.

     4                 Q.     No individual Defendant is mentioned in

     5        any of those opinions, correct?

     6                 A      Correct.

     7                 Q.     Okay.    If you can turn to -- is it fair

     8        to say that the first time the word marketing

     9        appears in your report is on page 13?

    10                 A      I trust that that is correct.

    11                 Q.     Appreciate that.

    12                        So if we can turn to page 14 of your

    13        report, Dr. Keyes, if you can turn to page 14 of

    14        your report, more particular, the last sentence --

    15        excuse me -- the second -- the last two sentences of

    16        sort of the initial paragraph on that page that

    17        starts with "evidence".

    18                 A      Yes.

    19                 Q.     And in those sentences you state:             "The

    20        evidence shows that pharmaceutical marketing of

    21        prescription drugs increases prescribers likelihood

    22        of prescribing the marketing drug in the future.

    23        That is also true for prescription opioids.                As a

    24        result, increasing marketing of opioid drugs led to

    25        increased sales of the marketed drugs."
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     1                           Frye Hearing - Dr. Keyes                       192

     2                        Is that correct?

     3                 A      Yes.

     4                 Q.     Okay.    And those -- those statements

     5        there on page 14 of your report are consistent with

     6        the opinion that you discussed earlier today with

     7        the Plaintiffs' counsel in this case, correct?

     8                 A      Could you just restate opinion 3, I'm

     9        assuming it was the marketing.

    10                 Q.     Sure.    Yes.    It was the marketing

    11        opinion, and I believe in the PowerPoint you read:

    12        "Do you recall that opinion being marketing of

    13        prescription opioids increases prescribers

    14        likelihood of prescribing opioids in the future?"

    15                 A      Yes.

    16                 Q.     Okay.    I'd like to get into, discuss

    17        with you your qualifications with respect to this

    18        particular opinion.

    19                        Dr. Keyes, you do not have a degree in

    20        marketing, correct?

    21                 A      I have an undergraduate degree in

    22        business, but I don't have any graduate degrees in

    23        marketing.

    24                 Q.     Okay.    And you do understand that

    25        there's -- there are specific degrees that you can
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     1                           Frye Hearing - Dr. Keyes                       193

     2        obtain in undergraduate for marketing in particular?

     3                 A      Yes.

     4                 Q.     Okay.    And you don't have one of those

     5        degrees, correct?

     6                 A      That's correct.

     7                 Q.     And you do not have a Ph.D. in

     8        marketing, correct?

     9                 A      Correct.

    10                 Q.     You do not teach in the marketing

    11        department of any university, correct?

    12                 A      That's correct.

    13                 Q.     You have not personally conducted any

    14        study on the impact of pharmaceutical marketing,

    15        correct?

    16                 A      That's correct.

    17                 Q.     And because you have not personally

    18        conducted any study on the impact of pharmaceutical

    19        marketing, you have not published any study that you

    20        could publish without any study that you conducted

    21        on the impact of pharmaceutical marketing, correct?

    22                 A      I have not published any such studies,

    23        no.

    24                 Q.     Okay.    And you haven't, you haven't

    25        worked for a pharmaceutical manufacturer; have you?
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     1                           Frye Hearing - Dr. Keyes                       194

     2                 A      No.

     3                 Q.     And you're not an expert in the business

     4        practices of pharmaceutical manufactures, correct?

     5                 A      That's correct.

     6                 Q.     And you're not a medical doctor,

     7        correct?

     8                 A      That's correct.

     9                 Q.     You do not have a medical degree?

    10                 A      I do not.

    11                 Q.     You're not licensed to prescribe

    12        pharmaceutical medicine?

    13                 A      No.

    14                 Q.     And I assume, since you're not licensed,

    15        you have not prescribed a pharmaceutical medicine;

    16        is that fair?

    17                 A      That's fair.

    18                 Q.     And you don't have any formal medical

    19        training, correct?

    20                 A      My training in epidemiology is the

    21        formal training I received.

    22                 Q.     So let me ask it again.

    23                        You don't have any formal medical

    24        training through a medical school, correct?

    25                 A      My epidemiology degree is through the
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     1                           Frye Hearing - Dr. Keyes                       195

     2        medical school.         I didn't go to medical school to

     3        become a physician, but epidemiology is part of

     4        medicine.

     5                 Q.     Fair enough.

     6                        And are you -- you don't have any degree

     7        that allows you to assess whether a prescription

     8        written by a medical doctor is medically appropriate

     9        or inappropriate for a particular patient, correct?

    10                 A      I'm sorry, can you repeat the question?

    11                 Q.     Sure.

    12                        You don't have any type of medical

    13        degree that will allow you to assess whether a

    14        particular prescription written by a medical doctor

    15        is medically appropriate or inappropriate for a

    16        particular patient, correct?

    17                 A      That's within the purview of

    18        epidemiology, to assess medication effectiveness.

    19        So my training would allow me to make those types of

    20        conclusions based on the literature.

    21                 Q.     But you have no medical degree, correct?

    22                 A      I don't have a medical degree, no.

    23                 Q.     Okay.     And you're aware that last year

    24        Judge Polster in the federal MDL ruled that you were

    25        not qualified to opine on the effects the
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     1                           Frye Hearing - Dr. Keyes                       196

     2        Defendants' marketing had on the increased sales

     3        and/or increased prescriptions of opioids, correct?

     4                 A      Yes.

     5                 Q.     Okay.    And if we could pull up the MDL

     6        order from Judge Polster at page 2, and if you can

     7        pull out the following language.

     8                        Dr. Keyes, are you aware that Judge

     9        Polster made the finding that "Also as to Keyes, the

    10        Court finds that although she is highly qualified as

    11        an expert in epidemiology, Plaintiffs have not shown

    12        this expertise extends to her opinions on marketing

    13        causation in this case."

    14                        Are you aware of that finding?

    15                        MR. REISMAN:      Your Honor, just before

    16                 the witness answers, I don't have any hard

    17                 copies of the exhibits that Mr. Ercole is

    18                 using in court.

    19                        MR. HALPERIN:      I apologize.       I do have

    20                 them.

    21                        MR. REISMAN:      If you can hand them out.

    22                        THE COURT:     What I can do is I will, of

    23                 course, I have a copy of the decision he's

    24                 referring to.       I can, of course, see, as is

    25                 my job, to make sure whatever he, whatever
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     1                           Frye Hearing - Dr. Keyes                       197

     2                 the examiner recites is, in fact, an exact

     3                 recitation.      However, for purposes of

     4                 redirect examination, I will see that you

     5                 have a full copy of the decision.

     6                        MR. SCHMIDT:      Mr. Ercole, just identify

     7                 the --

     8                        THE COURT:     It's Docket 2518, filed

     9                 August 26th 2019, 14 pages.

    10                        MR. REISMAN:      Thank you, your Honor.

    11                 Q.     Dr. Keyes, do you have a copy of that

    12        document in front of you now?

    13                 A      I do.

    14                 Q.     Okay.    Thank you.      And I just wanted to

    15        ask you a couple of questions on this.

    16                        But you're aware of the finding that is

    17        highlighted on the screen right now that we just

    18        talked about?

    19                 A      Yes.

    20                 Q.     Okay.    And you're aware of the Court's

    21        finding in the next sentence that, that states that:

    22        "The Court will exclude the limited portions of

    23        their opinion and purport to find causation with

    24        respect to the effect that Defendants' marketing

    25        efforts had on increased sales and/or increased
Case 3:17-cv-01362 Document 1115-12 Filed 10/24/20 Page 199 of 310 PageID #: 37659



     1                           Frye Hearing - Dr. Keyes                       198

     2        prescriptions of opioids, correct?

     3                 A      Yes.

     4                 Q.     Okay.    And one of the opinions that we

     5        talked about, that you purport to give in this case

     6        is the same opinion that you tried to give in the

     7        federal opioid MDL proceeding, correct?

     8                 A      Can you expand on that?

     9                 Q.     Sure.    Sure.

    10                        One of the opinions you purport to give

    11        in this case is that marketing caused an increase in

    12        prescription opioids, correct?

    13                 A      I do have the opinion that marketing

    14        caused an increase in opioid harms and sales.

    15                 Q.     And that's the same opinions that you

    16        purported to give in the federal MDL case that was

    17        the subject of this excluding order, correct?

    18                 A      Yes.    My report in this case has

    19        differences in that section.

    20                 Q.     The answer is "yes," though, correct?

    21                 A      Yes.

    22                 Q.     Okay.    You have not received a medical

    23        degree in August of 2019 when Judge Polster issued

    24        this opinion; have you?

    25                 A      No.
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     1                           Frye Hearing - Dr. Keyes                       199

     2                 Q.     And you haven't received any type of

     3        marketing degree in the last year; have you?

     4                 A      No.

     5                 Q.     You haven't received any additional

     6        degrees in the last 12 months, correct?

     7                 A      No.

     8                 Q.     You haven't received any additional

     9        marketing related certifications in the last 12

    10        months, correct?

    11                 A      Correct.

    12                 Q.     One of the things I believe you

    13        testified earlier to that, that you've done since

    14        submitting your MDL report, is that you reviewed and

    15        analyzed the Hadland studies that are referenced in

    16        the slides that you were shown this morning; is that

    17        correct?

    18                 A      Those and other studies.

    19                 Q.     But it's your testimony that one of the

    20        things you've done since submitting your report in

    21        the MDL case, federal MDL case, is reviewing the

    22        Hadland studies from -- that were discussed earlier

    23        today, correct?

    24                 A      In addition to other studies, that yes

    25        to the Hadland studies, and also other studies.
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     1                           Frye Hearing - Dr. Keyes                       200

     2                  Q.    Fair enough.

     3                        And, Dr. Keyes, I'd ask if you can limit

     4        your answers to yes or no I would appreciate that.

     5                  A     I apologize.      I will try.

     6                  Q.    Thank you very much.

     7                        Are you aware that those studies were

     8        all submitted in connection with your first --

     9        strike that.

    10                        Are you aware that those studies, the

    11        Hadland studies that were referenced earlier this

    12        morning were all cited in connection with your MDL

    13        report?

    14                  A     Yes.

    15                  Q.    And so your MDL report referenced all of

    16        the studies, all of the Hadland studies that were

    17        discussed this morning, correct?

    18                  A     The Hadland studies, yes.

    19                  Q.    Okay.    And so Judge Polster reached his

    20        decision that you were not qualified to provide an

    21        opinion on marketing causation in the federal MDL,

    22        despite your analysis of and reliance on the Hadland

    23        studies in your first MDL report, correct?

    24                  A     Yes.

    25                  Q.    Let's focus a little bit on the -- let's
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     1                           Frye Hearing - Dr. Keyes                       201

     2        move into the methodology for -- that you used here

     3        with respect to your marketing causation opinion.

     4                        I'd like to direct your attention to

     5        slide 7 of the slides that you were shown earlier

     6        today.

     7                        Do you have that in front of you, Dr.

     8        Keyes?

     9                 A      Is that titled methodology?

    10                 Q.     It is, and it should be up on the screen

    11        right now.

    12                 A      Then, yes, I have it.

    13                 Q.     I apologize for talking over you if I

    14        do.   As I indicated, I can't see you directly, so

    15        I'm trying to do my best.

    16                        This slide, slide 7 is titled

    17        Methodology, correct?

    18                 A      Yes.

    19                 Q.     Okay.    And this is the methodology you

    20        used in this particular case, correct?

    21                 A      It is among the methodologies yes.

    22                 Q.     Well, there's no mention of marketing in

    23        this slide; is there?

    24                 A      No.

    25                 Q.     There's no mention of promotion here?
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     1                           Frye Hearing - Dr. Keyes                       202

     2                 A      There's not.

     3                 Q.     No mention of any of the manufacturer

     4        Defendants marketing in this slide type of

     5        methodology?

     6                 A      No.

     7                 Q.     Your methodology in this case with

     8        respect to your marketing causation opinion did not

     9        involve reviewing any specific marketing materials

    10        of any manufacturer Defendant, correct?

    11                 A      That's correct.

    12                 Q.     Your methodology did not involve the

    13        review of any specific marketing communication

    14        attributable to any manufacturer Defendant in New

    15        York, correct?

    16                 A      I'm sorry, can you repeat the question?

    17                 Q.     Sure.

    18                        Your methodology did not involve the

    19        review of any specific marketing communications

    20        attributable to any manufacturer Defendant in New

    21        York, correct?

    22                 A      I believe those are in the open payment

    23        database that was used in the Hadland study.

    24                 Q.     We'll address -- we'll get into that.

    25        And then let me, let me sort of emphasize my
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     1                           Frye Hearing - Dr. Keyes                       203

     2        question.     Let me rephrase my question.

     3                        You did not look at any specific

     4        marketing communications of any manufacturer,

     5        correct?

     6                 A      Can you just define what you mean by a

     7        "marketing communication"?

     8                 Q.     Fair enough.

     9                        So you didn't look at any specific

    10        marketing statements attributable to any

    11        manufacturer Defendant in New York, correct?

    12                 A      A marketing statement outside the ones

    13        that are included in the open payments database

    14        or --

    15                 Q.     Well, let me ask you this:

    16                        Are any manufacturer statements actually

    17        included in the open payment data base?

    18                 A      I guess I'm -- if you can just describe

    19        what you mean by a statement.            I'm not trying to be

    20        obstructive.      I'm just -- I included what was in the

    21        open payments database.          If something was not in the

    22        open payments database, it was not included in my

    23        analysis.

    24                 Q.     The open payment database does not

    25        include any content of any specific interactions
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     1                           Frye Hearing - Dr. Keyes                       204

     2        between any manufacturer sales representative in any

     3        position, correct?

     4                 A      I believe you're correct, yes.

     5                 Q.     Okay.    And it doesn't include the

     6        content of any specific interactions whatsoever

     7        between manufacturers and physicians, correct?

     8                 A      I don't believe so.

     9                 Q.     Meaning, yes, correct, for that

    10        statement?

    11                 A      Yes.

    12                 Q.     So your methodology did not involve, in

    13        this case, did not involve the review of the content

    14        of any specific interactions between manufacturer

    15        Defendants and physicians in New York, correct?

    16                 A      Correct.

    17                 Q.     And it didn't involve the review of any

    18        specific statements as opposed to, for instance,

    19        payment of attributable to any manufacturer

    20        Defendant in New York, correct?

    21                 A      That's right.

    22                 Q.     And as far as your methodology in this

    23        case, you're not familiar with what opioids, if any,

    24        these manufacturer Defendants in this case actually

    25        marketed in New York, correct?
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     1                           Frye Hearing - Dr. Keyes                       205

     2                 A      I'm sorry, say that again.           The --

     3                 Q.     Sure.

     4                        As part of your methodology in this case

     5        you're not familiar with what opioids, if any, each

     6        manufacturer defendant actually marketed in New

     7        York, correct?

     8                 A      That's correct.

     9                 Q.     Part of your -- excuse me -- as part of

    10        your methodology in this case, you have not

    11        evaluated when any manufacturer Defendants, if it

    12        did at all, marketed any opioid product in New York,

    13        correct?

    14                 A      I mean, to the extent that that was in

    15        the open payments database, that information would

    16        be available.       I think in one of the Hadland studies

    17        they do break down by state, and so we can look at

    18        what the Hadland study has for New York State for

    19        that particular question.

    20                 Q.     So why don't we -- do you recall giving

    21        a deposition in this case, doctor?

    22                 A      Yes.

    23                 Q.     Can you turn to -- I assume you have a

    24        copy of your deposition transcript in front of you?

    25                 A      I do.
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     1                           Frye Hearing - Dr. Keyes                       206

     2                 Q.      Okay.     And can we turn to page 384 of

     3        your deposition transcript.

     4                 A       Yes.

     5                 Q.      Can you turn to line number -- excuse

     6        me -- if you turn to 384, question on line 17.                 The

     7        question is:

     8                         "As you sit here today, you don't know

     9        what time period Mallinckrodt marketed opioid

    10        products in New York?

    11                         ANSWER:     That's correct.

    12                         QUESTION:     Is your answer the same for

    13        Allergan?"

    14                         "Yes."

    15                         "QUESTION:     Janssen?"

    16                         "I think my answer is going to be the

    17        same for all of them."

    18                         Do you recall giving that testimony?

    19                 A       Yes.

    20                 Q.      So sitting here today you can't identify

    21        when a manufacturer Defendant ever marketed any

    22        opioid products in New York, correct?

    23                 A       I think we can look at the Hadland

    24        study.       It might shed some light on that, I'm not

    25        sure.    But we can open that study up to see if there
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     1                           Frye Hearing - Dr. Keyes                       207

     2        was relevant time periods.

     3                 Q.     Other than the Hadland study, to the

     4        extent it has or does not have any of those time

     5        periods in there, your methodology didn't evaluate

     6        reviewing when particular manufacturers promoted

     7        particular products in New York, correct?

     8                 A      That's correct.

     9                 Q.     And as part of your methodology in this

    10        case you have not done anything to determine how

    11        many manufacturers of opioids there are, correct?

    12                 A      That's correct.

    13                 Q.     And you have not determined how many

    14        manufacturers of opioids marketed or opioid medicine

    15        was marketed in New York between 1996 and the

    16        present, correct?

    17                 A      How many total companies?

    18                 Q.     Yes.

    19                 A      I think that would be in the open

    20        payments database.

    21                 Q.     Sitting here today -- I apologize for

    22        talking over you.

    23                 A      I could look in the Hadland study and

    24        see if that information is available.              Off the top

    25        of my head I don't know.
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     1                           Frye Hearing - Dr. Keyes                       208

     2                 Q.     And that's not included in your report,

     3        correct?

     4                 A      That's correct.

     5                 Q.     Sitting here today you don't know

     6        whether the Hadland study does or does not include

     7        the number of manufacturers of opioids that marketed

     8        the medicine in New York between 1996 and the

     9        present, correct?

    10                 A      Right.

    11                 Q.     Given that you have not reviewed any of

    12        the Defendants' marketing materials in this case,

    13        you have not analyzed the specific impact of those

    14        marketing materials, correct?

    15                 A      Of which marketing materials?

    16                 Q.     Let me repeat my question.

    17                        Given that you have not reviewed any of

    18        the Defendants' marketing materials in this case,

    19        you have not analyzed the impact of any of those

    20        specific marketing materials, correct?

    21                 A      Incorrect.

    22                 Q.     You haven't reviewed any of the

    23        Defendants' marketing materials, right, that's been

    24        established?

    25                 A      That's correct.
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     1                           Frye Hearing - Dr. Keyes                       209

     2                 Q.     Okay.    Do you understand there's a

     3        difference between truthful marketing and false or

     4        misleading marketing?

     5                 A      I'm generally aware that there would be

     6        truth and falsehood in marketing, yes.

     7                 Q.     So meaning some statements may be true

     8        and some statements may not be true, correct?

     9                 A      I would imagine so, yes.

    10                 Q.     And you are not giving in this case any

    11        opinion on whether any particular manufacturer

    12        Defendants' marketing materials are false or

    13        misleading, correct?

    14                 A      No, I am giving that opinion.            There is

    15        other literature that talks about materials

    16        underestimating the risk of addiction.

    17                 Q.     You do not know, Dr. Keyes, whether any

    18        of those materials were used by any of the

    19        manufacturer Defendants in this case, correct?

    20                 A      That's correct.

    21                 Q.     You do not know what, if anything, any

    22        manufacturer Defendants may have said about any of

    23        those materials, correct?

    24                 A      Say that again.       I'm sorry, I'm just --

    25        it's hard to on Zoom or Team to take it in.
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     1                           Frye Hearing - Dr. Keyes                       210

     2                 Q.     Fair enough.

     3                        You mentioned that there are -- you

     4        mentioned studies that talked about downplaying the

     5        risk of opioid use in marketing materials, correct?

     6                 A      Yes.

     7                 Q.     Okay.    And we established that -- strike

     8        that.

     9                        With respect to those studies, you don't

    10        know whether any manufacturer Defendant in this case

    11        ever cited or used any of those citings in

    12        connection with any interactions with New York

    13        physicians, correct?

    14                 A      Correct.

    15                 Q.     Okay.    And you don't know what, if

    16        anything, any manufacturer Defendant might have said

    17        about those studies with any New York physician,

    18        correct?

    19                 A      Sorry, give me -- you're asking me if I

    20        know what manufacturer said to physicians?

    21                 Q.     I'm asking you, in connection with the

    22        studies we're talking about, you don't know what, if

    23        anything, any manufacturer Defendant might have said

    24        about those studies in New York, correct?

    25                 A      I know what the literature says about
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     1                           Frye Hearing - Dr. Keyes                       211

     2        the materials, but I am not aware of specific

     3        conversations, for example.

     4                 Q.     Let me repeat my question.           And, again,

     5        I ask you to try to keep this to a correct or

     6        incorrect, or a yes or no, if you can.

     7                 A      Okay.    I apologize.

     8                 Q.     With respect to the studies that are --

     9        that we've been talking about, that you say some

    10        marketing materials may have downplayed the risk of

    11        those studies, you do not know what any manufacturer

    12        Defendant may or may not have said about any of

    13        those studies in New York, correct?

    14                 A      Correct.

    15                 Q.     And that's because you didn't review any

    16        of those marketing materials, right?

    17                 A      No.

    18                 Q.     Okay.    You didn't review any of those

    19        marketing materials, though, right?

    20                 A      I did not review specific marketing

    21        materials.

    22                 Q.     Okay.    And you're not giving an opinion

    23        on what percentage, if any, of any manufacturer

    24        Defendants' marketing materials are supposably false

    25        or misleading, correct?
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     1                           Frye Hearing - Dr. Keyes                       212

     2                 A      A specific percentage?

     3                        THE COURT:     You're not testifying as to

     4                 truth or voracity of the marketing materials?

     5                 A      That's correct.

     6                        THE COURT:     Next question -- time out.

     7                 Excuse me, I said truth or voracity, it's the

     8                 same thing, truth or untruth.

     9                 Q.     Dr. Keyes, your methodology did not

    10        evaluate whether any New York prescriber received

    11        any false or misleading marketing statement from any

    12        manufacturer Defendants in this case, correct?

    13                 A      That's right.

    14                 Q.     And you agree that there are many

    15        factors, other than marketing, that may influence a

    16        particular prescriber to write an opioid

    17        prescription, correct?

    18                 A      Yes.

    19                 Q.     Okay.    And your methodology did not

    20        evaluate whether any New York prescriber was

    21        influenced by any false or misleading statement from

    22        any manufacturer Defendant to write an opioid

    23        prescription as opposed to those other factors,

    24        correct?

    25                 A      Can you say the question again?
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     1                           Frye Hearing - Dr. Keyes                       213

     2                 Q.     Sure.

     3                        Your methodology did not evaluate

     4        whether any New York prescriber was influenced by

     5        any false or misleading statement from any

     6        manufacturer Defendant in this case to write an

     7        opioid prescription as opposed to the many other

     8        factors that had influenced prescribing, correct?

     9                 A      I would say that's incorrect.

    10                 Q.     And can you identify for me any New York

    11        prescriber who was influenced by any false or

    12        misleading statement from any manufacturer Defendant

    13        in this case?

    14                 A      Not a particular prescriber, no.

    15                 Q.     And your report doesn't identify any

    16        such prescribers, correct?

    17                 A      I don't identify prescribers, no.

    18                 Q.     And your report conducted no statistical

    19        analysis of -- strike that.

    20                        Your methodology in this particular case

    21        did not evaluate whether any New York prescriber --

    22        strike that.

    23                        Is there any section in your report that

    24        you can point us to that would indicate which

    25        statements, if any, from any of the manufacturer
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     1                           Frye Hearing - Dr. Keyes                       214

     2        Defendants in this case actually influenced New York

     3        prescribers to write opioid prescriptions?

     4                 A      You're asking about specific statements

     5        from specific Defendants in this case, no, that's

     6        not, that's not in the report.

     7                 Q.     Right.     And so your report does not

     8        identify whether any New York prescribers were

     9        actually influenced by specific statements from

    10        particular manufacturer Defendants in this case,

    11        correct?

    12                 A      No, I would say that part of the --

    13        there's a leap from the question before to this

    14        question that I think is covered in the literature,

    15        and I'm happy to expand on that, if you'd like me

    16        to.

    17                 Q.     Well, let's ask this.

    18                        None of the literature that you

    19        reference in your report addressed the specific

    20        marketing materials of these Defendants in this

    21        case, correct?

    22                 A      Correct.

    23                 Q.     And that's what I'm asking about.             Sort

    24        of focus on my question a little bit.

    25                        I'm asking you about with respect to the
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     1                           Frye Hearing - Dr. Keyes                       215

     2        statements of these manufacturer Defendants in this

     3        case, you cannot identify for me anywhere in your

     4        report where any of those -- where you identify any

     5        situation where those statements influence a New

     6        York prescriber to write an opioid prescription,

     7        correct?

     8                 A      I think that's generally correct.

     9                 Q.     You talked earlier today about

    10        questionnaires that certain authors have used in

    11        connection with publishing studies; do you recall

    12        sort of talking about that earlier today?

    13                 A      Yes.

    14                 Q.     And you talked earlier today about

    15        surveys that some epidemiologists have used in

    16        connection with studies; do you recall that?

    17                 A      Yes.

    18                 Q.     As part of the methodology of your

    19        causation opinions here, you have not conducted any

    20        independent study or survey of New York prescribers,

    21        correct?

    22                 A      That's correct.

    23                 Q.     And you haven't done any type of -- you

    24        haven't sent out any systematic questionnaires to

    25        New York prescribers to understand why they write
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     1                           Frye Hearing - Dr. Keyes                       216

     2        prescriptions, correct?

     3                 A      That's correct.

     4                 Q.     So as a result, you have not conducted

     5        any study or surveys of New York prescribers to

     6        determine whether they received any specific

     7        marketing statements from the Defendants in this

     8        case, correct?

     9                 A      That's right.      I have not done such a

    10        study.

    11                 Q.     And you haven't done any cite or survey

    12        to understand why it is that New York prescribers

    13        write opioid prescriptions, correct?

    14                 A      I believe that's available in the

    15        literature, so I would say that's incorrect.

    16                 Q.     Please, Dr. Keyes, let me rephrase my

    17        question, because I think it was more basic than

    18        that, which is:       You have not conducted any study or

    19        survey of New York prescribers to understand why

    20        they write -- I'll rephrase it.

    21                        You have not conducted any study or

    22        survey of New York prescribers to determine whether

    23        they wrote an opioid prescription because of any

    24        marketing statement from any Defendant, correct?

    25                 A      That's correct.
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     1                           Frye Hearing - Dr. Keyes                       217

     2                 Q.     And you didn't conduct any study or

     3        survey or even send out any questionnaires of New

     4        York prescribers to determine what it is they

     5        actually understood about opioids when they wrote

     6        opioid prescriptions, correct?

     7                 A      Can you say that question again?

     8                 Q.     Sure.

     9                        You have not conducted any study or

    10        survey or sent out any opioid questionnaires in

    11        connection with your opinion in this case to New

    12        York prescribers to determine what they understood

    13        when they wrote an opioid prescription, right?

    14                 A      I have not done such a study.

    15                 Q.     And as part of your methodology in this

    16        case, you didn't evaluate the conduct of any

    17        particular manufacturer Defendant, correct?

    18                 A      I believe some particular manufacturers

    19        are identified in some of these publications and

    20        that is the extent to which these manufacturers have

    21        been identified in the report.

    22                 Q.     You don't identify any of the

    23        manufacturer Defendants by name in your report,

    24        correct?

    25                 A      That's correct.
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     1                           Frye Hearing - Dr. Keyes                       218

     2                 Q.     And apart from looking at studies, apart

     3        from looking at studies, you didn't evaluate the

     4        conduct of any particular manufacturer Defendant in

     5        this case, correct?

     6                 A      I relied on the literature, yes.

     7                 Q.     In this particular case you're not

     8        planning to offer an opinion about the marketing

     9        conduct of any particular manufacturer Defendant in

    10        New York, correct?

    11                 A      That's correct.

    12                 Q.     Let me take an example, if you don't

    13        mind, just to try to sort of tease out this

    14        methodology.

    15                        Have you ever heard the name Watson

    16        Laboratories, Inc.?

    17                 A      It sounds familiar, but I don't have

    18        expertise in that particular company.

    19                 Q.     Do you know whether that company is a

    20        Defendant in this case?

    21                 A      I haven't heard that name.

    22                 Q.     Did you evaluate what medicine that

    23        company makes?

    24                 A      No.

    25                 Q.     Did you evaluate whether that company
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     1                           Frye Hearing - Dr. Keyes                       219

     2        makes and sells any opioid medicine?

     3                 A      I have not evaluated that.

     4                 Q.     Did you evaluate whether that company

     5        actually promotes any of those opioid medicines in

     6        New York?

     7                 A      I have not evaluated that.

     8                 Q.     Did you evaluate when they promoted, if

     9        they did at all, any of those medicines?

    10                 A      No.

    11                 Q.     Did you evaluate how they were promoted?

    12                 A      No.

    13                        THE COURT:     Mr. Ercole, with all due --

    14                 great deal of respect, if she never heard of

    15                 the company, what good are the questions?

    16                        MR. ERCOLE:      I would respectfully

    17                 submit, your Honor -- but let me ask this,

    18                 I'll tie this up now...

    19                 Q.     Dr. Keyes, would it surprise you to

    20        learn that that is a Defendant in this particular

    21        case?

    22                 A      Would it surprise me -- I'm sorry, say

    23        that again.

    24                 Q.     Would it surprise you to learn that that

    25        company is a Defendant in this particular case?
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     1                           Frye Hearing - Dr. Keyes                       220

     2                 A      It would not surprise me.

     3                 Q.     And it wouldn't surprise you because

     4        that was not part of your methodology, correct?

     5                 A      That's correct.

     6                 Q.     And just so I understand, and that

     7        answer would apply to each of the specific

     8        Defendants, manufacturer Defendants in this case,

     9        correct?

    10                 A      Some have been more prominent than

    11        others in literature, so some I'm familiar with --

    12        many I'm familiar with, especially if they've been

    13        repeatedly cited in the literature I'm more familiar

    14        with the companies.

    15                 Q.     Well, let's see if we can summarize a

    16        little bit here.

    17                        Your methodology in this particular case

    18        did not evaluate whether any of the manufacturers,

    19        who are Defendants in this case, actually made

    20        marketing statements about opioids in New York,

    21        correct?

    22                 A      The -- correct.

    23                 Q.     And it did not evaluate what specific

    24        opioid medicine they marketed, corrected?

    25                 A      Some literature does cover that, so I
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     1                           Frye Hearing - Dr. Keyes                       221

     2        would say that's incorrect.

     3                 Q.     Sitting here today -- well, you

     4        certainly haven't evaluated all of the opioid

     5        medicine that each of the manufacturer Defendants in

     6        this case market, correct?

     7                 A      That's right.

     8                 Q.     And you did not evaluate when each of

     9        those opioid products was marketed in New York,

    10        correct?

    11                        MR. REISMAN:      Objection.

    12                        Asked and answered.

    13                        THE COURT:     Sustained.

    14                 Q.     Dr. Keyes, you have not conducted your

    15        own statistical analysis to determine how many --

    16        excuse me.      Strike that.

    17                        Doctor Keyes, you have not conducted

    18        your own statistical analysis to determine how many

    19        opioid restrictions, if any, were influenced by the

    20        marketing of any manufacturer Defendant in this case

    21        as opposed to other factors, correct?

    22                 A      Correct.

    23                 Q.     And you have not conducted your own

    24        statistical analysis to determine how many opioid

    25        prescriptions, if any, were influenced by any false
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     1                           Frye Hearing - Dr. Keyes                       222

     2        or misleading marketing of any manufacturer

     3        Defendant, correct?

     4                        MR. REISMAN:      Objection.

     5                        Asked and answered.

     6                        THE COURT:     Answer it again.

     7                  A     I believe that that is in the

     8        literature, so I believe that that's included in my

     9        report.

    10                  Q.    Dr. Keyes, let me re-ask that question.

    11                        You have not conducted your own

    12        statistical analysis to determine how many opioid

    13        prescriptions, if any, were influenced by any false

    14        or misleading marketing of any manufacturer as

    15        opposed to other factors, correct?

    16                  A     I relied on the literature, so it is

    17        correct that I did not do my own study, I relied on

    18        published studies.

    19                  Q.    None of those studies, Dr. Keyes,

    20        evaluated specific statements by specific

    21        manufacturer Defendants in this case, correct?

    22                  A     There's no specific statements, no.

    23                  Q.    So when you say you relied upon the

    24        literature, that literature does not actually

    25        identify any false or misleading or other marketing
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     1                            Frye Hearing - Dr. Keyes                      223

     2        statements by any of the other manufacturing

     3        Defendants in this case?

     4                  A       I believe there is discussion of

     5        misleading statements in some of these articles, and

     6        they're attributed to various companies.

     7                          THE COURT:     The question is:      Are the

     8                  statements connected to a Defendant in this

     9                  case?

    10                          THE WITNESS:     I believe there is some

    11                  literature on some specific Defendants in

    12                  this case that we could look at in some of

    13                  the citations.

    14                  Q.      Sitting here today -- we'll get into

    15        some of those studies -- sitting here right now, can

    16        you identify a specific study that evaluated a

    17        specific statement by any of the manufacturer

    18        Defendants in this case?

    19                  A       No.

    20                  Q.      In fact, if we could pull up your

    21        deposition transcript at page 381.             If we can go to

    22        line 9.        If you pull up line 4 is where it begins.

    23                          "QUESTION:     Do now who the manufacturing

    24        Defendants are in this case currently?"

    25                          And you state:     "I know it's a bit of a
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     1                           Frye Hearing - Dr. Keyes                       224

     2        moving target, but I try to keep up a little bit,

     3        but I know some of them."

     4                        "Okay.     Which ones can you name right

     5        now?"

     6                        "ANSWER:     And I was going to prepare for

     7        this, so it's Teva, J&J, Janssen, Endo, Allergan,

     8        and those are the ones I can name off the top of my

     9        head.    There may be others.

    10                        QUESTION:     As you sit here today, can

    11        you point to me any study that evaluated the

    12        marketing material of those specific companies?

    13                        ANSWER:     No."

    14                        Do you see that?

    15                 A      Yes.

    16                 Q.     And that was accurate at the time you

    17        gave that testimony, correct?

    18                 A      Correct.

    19                 Q.     And it remains accurate today?

    20                 A      Yes.

    21                 Q.     And if you continue down in your

    22        deposition there's a question that's presented and

    23        then you give another answer, and if I can point you

    24        to page 382, line 6 through 11, you state:

    25                        "But the specific marketing materials of
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     1                           Frye Hearing - Dr. Keyes                       225

     2        any specific company, except for the Purdue one that

     3        I mentioned, I have not seen an extensive

     4        epidemiological report on those companies' specific

     5        marketing materials."

     6                        Is that correct?

     7                 A      That's correct.

     8                 Q.     That was true at the time you gave that

     9        testimony?

    10                 A      Yes.

    11                 Q.     That's true today, correct?

    12                 A      That's correct.

    13                 Q.     The link back to the questions that I

    14        was asking, you have not conducted your own

    15        statistical analysis to determine whether any

    16        marketing by any manufacturer Defendant in this case

    17        actually caused any medically and inappropriate

    18        opioid prescription in New York, correct?

    19                 A      I can infer from the literature on that,

    20        but whether there's a specific marketing statement

    21        I'm not aware of a study that's listed that.

    22                 Q.     And you haven't done your own

    23        statistical analysis, correct?

    24                 A      That's correct.

    25                 Q.     And that's because you relied upon
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     1                           Frye Hearing - Dr. Keyes                       226

     2        literature, correct?

     3                 A      That's correct.

     4                 Q.     You talked this morning about harms

     5        associated with opioids in New York; do you recall

     6        that testimony?

     7                 A      Yes.

     8                 Q.     That some of those harms included

     9        overdose; do you recall that?

    10                 A      Yes.

    11                 Q.     Your methodology in this case does not

    12        trace any of those harms to an opioid prescription

    13        written because of any particular marketing

    14        statement by any particular manufacturer Defendant

    15        in this case, correct?

    16                 A      Again, I think when you look at the

    17        literature as a whole one can draw that conclusion,

    18        but if there's -- there's no specific prescription

    19        that I've evaluated.

    20                 Q.     There's no particular marketing

    21        statement that you evaluated, correct?

    22                 A      That's right.

    23                 Q.     Okay.    And so let me just rephrase this

    24        question so we can get an actual, you know, sort of

    25        correct or incorrect.
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     1                           Frye Hearing - Dr. Keyes                       227

     2                        Your methodology in this case does not

     3        trace any of the harms associated with opioids, that

     4        you discussed earlier today, to an opioid

     5        prescription written because of any particular

     6        marketing statement by any particular manufacturer

     7        Defendant in this case, correct?

     8                 A      Incorrect.     I mean, the methodology is

     9        actually what does the tracing.            That's exactly what

    10        the methodology does, actually.

    11                 Q.     Your report did not identify any opioid

    12        prescription written because of any particular

    13        marketing statement by any particular manufacturer

    14        Defendant in this case, correct?

    15                 A      Wait, say that again.

    16                 Q.     Your report does not identify any

    17        specific opioid prescription written because of any

    18        particular marketing statement by any particular

    19        manufacturer Defendant in this case, correct?

    20                 A      No specific prescription, that's

    21        correct.

    22                 Q.     And because you haven't identified any

    23        specific prescription in your report, your report

    24        does not identify any of the harmed, low income

    25        subject prescription, correct?
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     1                           Frye Hearing - Dr. Keyes                       228

     2                 A      So from any one prescription, no, but it

     3        looks at the bulk of prescriptions.

     4                 Q.     But it doesn't identify any of the

     5        specific prescriptions that would have been

     6        influenced by any specific marketing statements by

     7        any manufacturer Defendant, correct?

     8                 A      No one prescription, no.          It draws

     9        inference from associations.

    10                 Q.     In fact, it doesn't identify any

    11        specific prescriptions in New York, correct?

    12                 A      That's right.      I'm sorry, I guess I --

    13        can I qualify that answer or --

    14                        THE COURT:     Go ahead.

    15                        THE WITNESS:      -- or restate it?

    16                 A      We do look at prescriptions in New York.

    17        I mean, my report does include data on prescriptions

    18        in New York.

    19                        THE COURT:     The question suggests a

    20                 particular prescription.

    21                        THE WITNESS:      Right.     No one particular

    22                 prescription.

    23                        THE COURT:     And carrying it through the

    24                 chain, and the answer is no?

    25                        THE WITNESS:      Right.     That's right.
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     1                           Frye Hearing - Dr. Keyes                       229

     2                 Q.     The opinion that you are giving on

     3        marketing causation is based upon studies that other

     4        academics have done, correct?

     5                 A      That's right.

     6                 Q.     And would you agree that the

     7        epidemiological literature shows that whether a

     8        pharmaceutical industry interactions and influence

     9        prescribers depends on both the product and type of

    10        marketing that is done?

    11                 A      Can you say that again?

    12                 Q.     Sure.

    13                        Does the epidemiological literature that

    14        you relied upon, does that show that whether

    15        pharmaceutical industry interaction can influence

    16        prescribers depends on a product and type of

    17        marketing that is done?

    18                 A      I believe that's generally what the

    19        literature states.

    20                 Q.     And you testified to that effect during

    21        your deposition, correct?

    22                 A      Yes.

    23                 Q.     And would you agree that the academic

    24        literature, when it comes to the impact, if any --

    25        strike that.
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     1                           Frye Hearing - Dr. Keyes                       230

     2                        Would you agree that the academic

     3        literature contains studies for particular products

     4        that do not show an effective influence of marketing

     5        on sales?

     6                 A      There have been -- yes.          There are

     7        studies where marketing has not influenced sales.

     8                 Q.     And you would describe the academic

     9        literature on the impact of marketing on prescribing

    10        as kinergies (phonetic), correct?

    11                 A      Yes.

    12                 Q.     In this particular case -- and let me

    13        just make clear that I fully understand your

    14        testimony -- so you would agree that there are two

    15        factors that can influence whether or not -- strike

    16        that.

    17                        You agree that with respect to the

    18        evidence in the epidemiological literature that it

    19        hinges upon, A, the product, and B, the type of

    20        marketing at issue, right?

    21                 A      Among other factors.

    22                 Q.     And in this particular case, you would

    23        agree with me that there are many -- strike that.

    24                        You would agree with me that there are

    25        many different types of opioid medicines, right?
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     1                           Frye Hearing - Dr. Keyes                       231

     2                 A      Yes.

     3                 Q.     I think we've discussed this, but you

     4        don't know what particular type of opioid medicine

     5        that each manufacturer Defendant in this case

     6        marketed, correct?

     7                 A      No.

     8                        THE COURT:     "No," not correct, or "yes,"

     9                 that is correct.

    10                        THE WITNESS:      Yes, that is correct.

    11                 Q.     And you don't know all of the specific

    12        types of marketing conduct or statements, if any,

    13        that the manufacturer Defendants in this case

    14        engaged in with respect to New York, correct?

    15                 A      I know some of them but not all of them.

    16                 Q.     You know some of them because of the

    17        open payment database; is that correct?

    18                 A      That's right.

    19                 Q.     And again, that open payment database

    20        that you're referring to, does not include the

    21        content of any specific marketing statement or

    22        communication with any physician, right?

    23                 A      That's right.

    24                 Q.     I'd like to -- we've been referencing --

    25        strike that.
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     1                           Frye Hearing - Dr. Keyes                       232

     2                        Earlier today there were slides that

     3        addressed the Hadland articles; do you recall that?

     4                 A      Yes.

     5                 Q.     Okay.    And there were three Hadland

     6        studies; do you recall that?

     7                 A      Yes.

     8                 Q.     And with respect to those Hadland

     9        studies, none of those Hadland studies evaluated the

    10        impact, if any, that any particular marketing

    11        statements by any particular manufacturer Defendant

    12        in this case had on opioid prescribing, correct?

    13                 A      Right.    That's correct.

    14                 Q.     None of those studies even looked at any

    15        particular marketing statements, correct?

    16                 A      That's correct.       Those three studies,

    17        no.

    18                 Q.     None of those studies evaluated whether

    19        statements by pharmaceutical sales representatives

    20        about the risks and efficacy of opioid medicine had

    21        any impact on opioid prescribing, correct?

    22                 A      Can you repeat the question?

    23                 Q.     Sure.

    24                        None of the Hadland studies that you

    25        referenced earlier today evaluated whether
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     1                           Frye Hearing - Dr. Keyes                       233

     2        statements by pharmaceutical sales representatives

     3        about the risks and efficacy of opioid medicines had

     4        any impact on opioid prescribing, correct?

     5                 A      Incorrect.

     6                 Q.     None of those studies, Dr. Keyes,

     7        evaluated statements by sales representatives about

     8        the risk and efficacy of opioid medicines, correct?

     9                 A      Specific statements were not included in

    10        the article.

    11                 Q.     Right.     And they weren't studied by

    12        those authors in that article, correct?

    13                 A      To the extent that marketers made

    14        statements about the risks and benefits of opioid

    15        prescribing, those would be included in the

    16        marketing.      No specific statements were included,

    17        but if statements were made about the risks and

    18        benefits, that would be included in the marketing

    19        that was done.         So I would include that in the study

    20        material.

    21                 Q.     And you're using the word "if," correct?

    22                 A      Yes.

    23                 Q.     Let me rephrase that question.

    24                        You don't know whether or not any of

    25        the -- any of the -- any of the data collected by
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     1                           Frye Hearing - Dr. Keyes                       234

     2        the authors of those articles actually evaluated

     3        particular statements regarding the safety and

     4        efficacy of opioid medicines, right?

     5                 A      They did not evaluate specific

     6        statements.

     7                 Q.     Okay.    So with respect to specific

     8        statements, those studies didn't draw any particular

     9        conclusions regarding those statements, right?

    10                 A      That's correct.

    11                 Q.     And those studies certainly didn't

    12        distinguish between marketing statements that are

    13        truthful and marketing statements that are not

    14        truthful, correct?

    15                 A      That's right.

    16                 Q.     And they didn't isolate the impact, if

    17        any, of any false marketing statements as opposed to

    18        a truthful marketing statement on opioid

    19        prescribing, correct?

    20                 A      Correct.

    21                 Q.     None of those Hadland studies reached

    22        any conclusion about causation as opposed to

    23        association, correct?

    24                 A      Each study in and of itself did not.

    25                 Q.     So I'd like to actually turn to --
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     1                           Frye Hearing - Dr. Keyes                       235

     2        before I do so, let me ask you this:

     3                        In connection with the presentation, the

     4        slide presentation that was made earlier today, the

     5        Hadland articles were the only articles referenced

     6        regarding the impact of marketing on prescribing

     7        behavior, correct?

     8                 A      Incorrect -- oh, I'm sorry, can you

     9        repeat the question?

    10                 Q.     Sure.

    11                        In connection with the slide

    12        presentation that was given today, the only articles

    13        referenced there regarding the impact of marketing

    14        on opioid prescribing are the Hadland articles?

    15                 A      I apologize, I did not understand the

    16        question.     That was correct.

    17                 Q.     Those authors looked at data on payments

    18        made to physicians and reported to CMS under the

    19        Sunshine Act, correct?

    20                 A      Yes.

    21                 Q.     If we can turn to I believe it's Demo

    22        Exhibit 50.      Do you have that document in front of

    23        you, Dr. Keyes?

    24                 A      I do.

    25                 Q.     This is the first Hadland article from
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     1                           Frye Hearing - Dr. Keyes                       236

     2        September of 2017, correct?

     3                 A      That's right.

     4                 Q.     And if you turn to the conclusion --

     5        excuse me -- if you look at page 1493, and there's a

     6        section that references conclusions; do you see

     7        that?

     8                 A      Yes.

     9                 Q.     And you were shown that statement

    10        earlier today, correct?

    11                 A      Yes.

    12                 Q.     And that statement doesn't reach --

    13        there is no specific causation conclusion or finding

    14        associated with this article, right?

    15                 A      That's right.

    16                 Q.     And there's no even association finding

    17        associated with this article, correct?

    18                 A      No -- I mean, you are -- sorry, you are

    19        incorrect.

    20                 Q.     Okay.

    21                        MR. REISMAN:      Your Honor, I'm sorry to

    22                 interrupt Mr. Ercole, I just want to note the

    23                 time and object to the continued examination,

    24                 if there will not be time left for redirect.

    25                        THE COURT:     Well, I've been thinking
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     1                           Frye Hearing - Dr. Keyes                        237

     2                 about that.      Despite the budgetary issues the

     3                 court system is facing, I would like to

     4                 finish the doctor today, and I'll ask my

     5                 Clerk to contact the administrative offices

     6                 and ask for overtime.

     7                        As a matter of fact, I may have even

     8                 said that in one of our conferences, that in

     9                 the event we were running short on time on a

    10                 witness and had other engagements or

    11                 difficulty coming again, I would ask for

    12                 overtime.

    13                        Is everybody okay with that?

    14                        Doctor, how are you?

    15                        THE WITNESS:      That's fine.

    16                        THE COURT:     They're going to ask me how

    17                 much time, tell them about an hour.

    18                        MR. REISMAN:      Thank you, your Honor.

    19                 And just to give a guideline, I will try to

    20                 keep redirect as brief as possible, ten

    21                 minutes or so.

    22                        THE COURT:     That's good to know.         That

    23                 means they will give me more time than I

    24                 needed.

    25                        Mr. Ercole, how much more do you have to
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     1                           Frye Hearing - Dr. Keyes                       238

     2                 go?

     3                        As I recall, and I do recall

     4                 specifically this particular -- these

     5                 sentences were presented to the witness, and

     6                 the Court itself asked to go back to it and

     7                 know that these findings should prompt an

     8                 examination of industry influences on opioid

     9                 prescribing.

    10                        Mr. Ercole, again, I'm not cutting

    11                 anybody short, don't get that impression.

    12                 How much time are you going to need to

    13                 complete your cross-examination?

    14                        THE WITNESS:      No longer than 15 minutes,

    15                 your Honor.

    16                        THE COURT:     Say that again.

    17                        MR. ERCOLE:      No longer than 15 minutes.

    18                        THE COURT:     The morning session somebody

    19                 told me ten minutes, then it went to 45

    20                 minutes.

    21                        MR. REISMAN:      I accept the blame for

    22                 that.     I would also just note that we have,

    23                 at least on the letter that Defendant

    24                 submitted, another potential questioner, Mr.

    25                 Herman, and I don't know if he's going to --
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     1                           Frye Hearing - Dr. Keyes                       239

     2                        THE COURT:     Oh, yeah.      I forgot.

     3                        Mr. Herman, are you with us?           Because I

     4                 haven't seen his picture up there.

     5                        Does anybody know, does Mr. Herman

     6                 intend to --

     7                        MR. HERMAN:      Your Honor, I'm here.         I'll

     8                 put my picture up.         There's a green screen

     9                 they put behind me, I thought that would be a

    10                 little distractive, but I'm here.

    11                        THE COURT:     Did anybody catch that?

    12                        THE WITNESS:      He's here.

    13                        THE COURT:     Mr. Herman, do you intend to

    14                 examine?

    15                        MR. HERMAN:      Your Honor, at this point I

    16                 do not.

    17                        THE COURT:     Okay.     Let's take 15

    18                 minutes, because it's been a lengthy session.

    19                 We'll come back.

    20                        (WHEREUPON, a short recess was taken.)

    21                        THE COURT OFFICER:        Come to order.

    22                        THE CLERK:     Part 48 is back in session.

    23                 Doctor, I remind you you're still under oath.

    24                        THE WITNESS:      Thank you.

    25                        THE CLERK:     Please be seated.
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     1                           Frye Hearing - Dr. Keyes                       240

     2                        THE COURT:     Everybody on board?

     3                        Please be seated.        Thank you.

     4                        You may continue.

     5                        Mr. Ercole, can you hear me?

     6                        MR. ERCOLE:      Yes, I can, your Honor.

     7                 Thank you.

     8                        THE COURT:     Okay.

     9        CONTINUED EXAMINATION BY

    10        MR. ERCOLE:

    11                 Q.     Dr. Keyes, we looked at the first

    12        Hadland studies from 2017 before we broke, correct?

    13                 A      Yes.

    14                 Q.     That study, again, was limited to open

    15        payment data regarding nonresearch payments to

    16        physicians, correct?

    17                 A      Correct.

    18                 Q.     Okay.    If you turn -- if we could pull

    19        up Demonstrative 49, which was shown to you earlier

    20        today, and if you can turn to that document, Dr.

    21        Keyes, it would be -- we'll call it the second

    22        Hadland study from 2018.

    23                 A      Yes.

    24                 Q.     Do you see that?

    25                 A      I do.
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     1                           Frye Hearing - Dr. Keyes                       241

     2                 Q.     And that's titled Association of

     3        Pharmaceutical Industry Marketing of Opioid Products

     4        to Physicians with Subsequent Opioid Prescribing,

     5        correct?

     6                 A      That's correct.

     7                 Q.     So the title references association not

     8        causation, right?

     9                 A      That's right.

    10                 Q.     And you looking -- (VIDEO CUT OFF)

    11                 A      I'm sorry, you cut off for a minute.

    12                        Can you just repeat the question?

    13                 Q.     Sure.    Absolutely.

    14                        The second -- the first sentence of the

    15        second paragraph reads:          "Pharmaceutical industry

    16        marketing to physicians is widespread, but it is

    17        unclear whether marketing of opioids influences

    18        prescribing;" do you see that?

    19                 A      Yes, I do.

    20                 Q.     Okay.    And so these, with respect to the

    21        authors of this study as of 2018, their opinion was

    22        that it's unclear whether marketing of opioids

    23        influences prescribing, correct?

    24                 A      I think it had not been quantified.

    25        There had been other material written about that,
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     1                           Frye Hearing - Dr. Keyes                       242

     2        but that's what these authors write in terms of the

     3        quantification had not been available until the open

     4        payment database was released.

     5                 Q.     Well, this actually says:          "It's unclear

     6        whether marketing of opioids influenced

     7        prescribing," correct?

     8                 A      That's what is written.

     9                 Q.     Okay.    And, again, the open payment

    10        database that was studied here did not contain any

    11        information about statements made by manufacturers

    12        about opioids, correct?

    13                 A      It did not contain statements, that's

    14        correct.

    15                 Q.     So as a result -- and as a result, the

    16        study didn't evaluate those particular statements,

    17        right?

    18                 A      It did not evaluate particular

    19        statements, no.

    20                 Q.     Well, we don't know whether it evaluated

    21        any statements whatsoever, right?

    22                 A      I believe that in terms of the types of

    23        marketing efforts that were included in the open

    24        payments database are listed in the result section,

    25        some of which would involve talking.
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     1                           Frye Hearing - Dr. Keyes                       243

     2                 Q.     Correct.     But we do not know what the

     3        content of any of those communications, correct?

     4                 A      That's correct.

     5                 Q.     Statements like -- and for all we know,

     6        when looking at sort of payments, for instance,

     7        associated with, with meals to physicians, that

     8        could involve a situation where a sales rep just

     9        drops off a lunch with a particular doctor without

    10        ever saying anything, correct?

    11                 A      I, I suppose.      I don't know.       I can't

    12        evaluate that statement.

    13                 Q.     Well, we can't evaluate that statement

    14        because we just don't know -- because the open

    15        payments data does not contain anything associated

    16        with the consents of any interactions between

    17        manufacturers and physicians, correct?

    18                 A      The content of the statements is not

    19        included, but the contents of the marketing is.

    20                 Q.     Well, let me see if I can rephrase this.

    21                        Would you agree that the type of

    22        marketing is contained, but not the content of any

    23        of that marketing, correct?

    24                 A      The statements that are said during the

    25        marketing encounter are not included.
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     1                           Frye Hearing - Dr. Keyes                       244

     2                 Q.     If you turn to the -- turn to the second

     3        to last paragraph of this particular study on page

     4        863.

     5                 A      Yes.

     6                 Q.     This paragraph reads:         "Limitations

     7        include the possibility of reverse causality,

     8        because physicians who receive industry payment may

     9        be predisposed to prescribe opioids.              Our findings

    10        establish an association, not cause and effect."

    11                        Correct?

    12                 A      That's correct.

    13                 Q.     So at least the authors of this opinion

    14        -- of this study were saying our findings do not and

    15        cannot establish causation, correct?

    16                 A      That's not what they said.

    17                 Q.     Okay.    There's a third, a third Hadland

    18        article that was referenced earlier today and that

    19        is from 2019.

    20                        Do you recall the discussion of that

    21        particular article?

    22                 A      Yes.

    23                 Q.     If you turn to, I believe it's

    24        Demonstrative 51.

    25                 A      Yes.
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     1                           Frye Hearing - Dr. Keyes                       245

     2                 Q.     That's titled Association of

     3        Pharmaceutical Industry Marketing of Opioid Products

     4        With Mortality From Opioid Related Overdoses; is

     5        that correct?

     6                 A      Yes.

     7                 Q.     And, again, the title refers to

     8        association, not causation, right?

     9                 A      That's right.

    10                 Q.     And, once again, in this particular

    11        study what was being used as a source for marketing

    12        information was the overpayments database, correct?

    13                 A      Yes.

    14                 Q.     And that -- and the study, by using that

    15        open payments database, looked at transfers or

    16        payments -- strike that.

    17                        As part of that open payments database

    18        the study looked at transfers of value from a

    19        pharmaceutical company to a physician for

    20        nonresearch, right?

    21                 A      That's right.

    22                 Q.     And this particular study also does not

    23        purport to find causation between any nonresearch

    24        payments and physician prescribing, correct?

    25                 A      That's right.
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     1                           Frye Hearing - Dr. Keyes                       246

     2                 Q.     And the authors of this, this study from

     3        2019 also recognized the number of limitations,

     4        correct?

     5                 A      They did.

     6                 Q.     And if you turn to the last page of this

     7        particular document labeled "limitations;" do you

     8        see that?

     9                 A      Yes.

    10                 Q.     Page, I believe it's 9 of 12.

    11                        And the first limitation that they

    12        identify is that:        "Our findings demonstrate

    13        associations between opioid marketed and subsequent

    14        prescribing and mortality from overdoses.                We cannot

    15        exclude reverse causation."

    16                        Correct?

    17                 A      That's what's written.

    18                 Q.     And another limitation they identify in

    19        this particular study is that they were not able to

    20        distinguish between appropriate opioid prescribing

    21        from potentially inappropriate prescribing, correct?

    22                 A      I'm sorry, where is that written?             I

    23        just want to make sure I know what they said.

    24                 Q.     Sure.    Fair enough.

    25                        If you look down to the fourth -- I
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     1                           Frye Hearing - Dr. Keyes                       247

     2        think it's the second to last sentence of that

     3        particular document.

     4                 A      Yes.    That is what is written.

     5                 Q.     And that's because by looking at the

     6        data they had, couldn't determine whether or not

     7        payments, nonresearch related payments to physicians

     8        actually influenced inappropriate opioid

     9        prescribing, correct?

    10                 A      I'm sorry, say -- the question is

    11        whether they could determine whether payments were

    12        associated with inappropriate prescribing?

    13                 Q.     Yes.

    14                 A      They looked at overall prescribing, not

    15        the appropriateness of the prescribing, so that's

    16        correct.

    17                 Q.     And with respect to this study, they

    18        also recognized one of the limitations that we've

    19        been talking about, which is that the overpayments

    20        database does not include further information on the

    21        nature of industry physician interactions, correct?

    22                 A      That's right.

    23                 Q.     And that limitation is what we've talked

    24        -- strike that.

    25                        And it goes on to say:         "It is possible
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     1                           Frye Hearing - Dr. Keyes                       248

     2        that some industry payments to physicians resulted

     3        in a crude knowledge around safer prescribing

     4        practices; do you see that?

     5                 A      Yes.

     6                 Q.     And so as a result of this study, is it

     7        fair that the author concluded that they were not

     8        able to determine whether or not payments actually

     9        improved knowledge around safe prescribing practices

    10        for opioids as opposed to having a detrimental

    11        impact on safety prescribing practices?

    12                 A      That was not an outcome that was

    13        evaluated in the study.          We don't have information

    14        on that.

    15                 Q.     And you have not done any separate

    16        evaluation to make such a determination, correct?

    17                 A      That's correct.

    18                 Q.     The authors of this particular study ran

    19        a regression analysis, correct?

    20                 A      Let me just -- yes, they did.

    21                 Q.     Okay.    And you have not done any type of

    22        independent regression analysis in this particular

    23        case, correct?

    24                 A      Can you clarify what you mean by that?

    25        Have I done a regression --
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     1                           Frye Hearing - Dr. Keyes                       249

     2                        THE COURT:     Analysis.

     3                 Q.     Right.    I'll rephrase the question.

     4                        In connection with your marketing

     5        causation opinion in this particular case, you have

     6        not run any regression analysis, correct?

     7                 A      In specific to marketing causation, no,

     8        I did not.

     9                 Q.     And because you haven't done that, you

    10        haven't been able -- you haven't done any type of

    11        statistical or other analysis to isolate the impact

    12        of any particular statement by manufacturers in this

    13        case, correct?

    14                 A      Well, the authors of the study did

    15        control for a number of economic and other related

    16        factors, but maybe I'm not understanding the

    17        question.

    18                 Q.     Sure.    I'm asking you -- well, we looked

    19        at what the authors did and didn't do in this

    20        particular study, right?

    21                 A      Yes.

    22                 Q.     Okay.    And one of the things they didn't

    23        do in this study was analyze any particular

    24        statements, marketing statements, right?

    25                 A      That's correct.
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     1                           Frye Hearing - Dr. Keyes                       250

     2                 Q.     Okay.    And you, in this particular case,

     3        have not done any, in connection with your marketing

     4        causation opinion, have not done any statistical

     5        analysis to isolate the impact of any false or

     6        misleading marketing statements by any of the

     7        manufacturer Defendants here, correct?

     8                 A      Correct.

     9                 Q.     And with respect to the Hadland studies

    10        that we looked at and that were referenced in your

    11        presentation in a PowerPoint earlier today, we've

    12        talked about how they didn't reach a causation

    13        conclusion, right?

    14                 A      These -- I'm sorry, can you repeat the

    15        question?

    16                 Q.     Yeah.

    17                        The studies that we've been referencing,

    18        the Hadland studies that we just walked through,

    19        none of those studies separately reached a causation

    20        opinion, right?

    21                 A      Separately they did not.

    22                 Q.     Okay.    And you are the only one, is that

    23        correct, in this particular case, using those

    24        studies that are reaching a causation conclusion,

    25        correct?
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     1                           Frye Hearing - Dr. Keyes                        251

     2                 A       I don't believe I'm the only one.            In

     3        epidemiology I think it's a well-accepted

     4        conclusion.

     5                 Q.      Well, you are reaching a causation

     6        conclusion based upon the Hadland articles that they

     7        did not reach, correct?

     8                 A       I am looking at the totality of the

     9        evidence.       So I agree with the authors for each

    10        study.       I think they went -- they had the correct

    11        conclusion, but when you look at the literature

    12        overall I think you can draw a more -- a broader

    13        conclusion.

    14                 Q.      And just to summarize, just a couple of

    15        questions before I conclude.

    16                         The literature that we've been -- that

    17        you've been referring to -- strike that.

    18                         None of the articles in the literature

    19        that we've been referring to draw a causation

    20        conclusion regarding the impact of marketing on

    21        prescribing, correct?

    22                 A       Are you speaking of the three Hadland

    23        articles?

    24                 Q.      I'm speaking of the three Hadland

    25        articles.
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     1                           Frye Hearing - Dr. Keyes                       252

     2                        Correct?

     3                 A      Correct.     Each study alone does not draw

     4        a causal conclusion.

     5                 Q.     Right.     And we talked -- and none of the

     6        studies that you've cited or relied upon in your

     7        report actually address the impact of any marketing

     8        statements or materials by any of the manufacturer

     9        Defendants in this case, correct?

    10                 A      That's correct.

    11                        MR. ERCOLE:      Those all the questions I

    12                 have, your Honor.

    13                        THE COURT:     Okay.     Thank you.

    14                        Mr. Herman.

    15                        MR. HERMAN:      Your Honor, no questions at

    16                 this time.

    17                        THE COURT:     Okay.     Redirect.

    18                        Mr. Herman, you say "at this time..."

    19                        MR. HERMAN:      Your Honor, I have no

    20                 questions for the witness.           Thank you.

    21        REDIRECT EXAMINATION

    22        MR. REISMAN:

    23                 Q.     Dr. Keyes, I will try to be as brief as

    24        possible on redirect here.           I just would like to go

    25        over a few topics that were addressed during
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     1                           Frye Hearing - Dr. Keyes                       253

     2        cross-examination.

     3                        First, Mr. Schmidt asked you some

     4        questions about the Bradford Hill factors; do you

     5        recall that?

     6                 A      I do.

     7                 Q.     Would you say as an epidemiologist that

     8        it is necessary for each and everyone of the nine

     9        Bradford Hill factors to be met in a situation

    10        before you can draw a causal inference?

    11                 A      No.

    12                 Q.     Are the Bradford Hill factors

    13        exhaustive?

    14                 A      No.

    15                 Q.     In the epidemiological literature, do

    16        researchers use those nine factors as a checklist

    17        when they write and publish articles?

    18                 A      No.

    19                 Q.     When you have written and published

    20        articles in the field, have you used the Bradford

    21        Hill factors as a checklist?

    22                 A      No.

    23                 Q.     Mr. Schmidt also suggested that you have

    24        not, in fact, discussed anything relating to the

    25        Bradford Hill factors in your report, and he pointed
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     1                           Frye Hearing - Dr. Keyes                        254

     2        to your methodology section.

     3                        Let me ask you this question:            In your

     4        report did you discuss material and studies in the

     5        context of addressing factors that are included in

     6        the Bradford Hill factors?

     7                 A      Yes.

     8                        MR. REISMAN:      Dan, if you can please put

     9                 up P23954 and turn to page 14.            This is your

    10                 expert report, Dr. Keyes.

    11                        And if you could scroll to the bottom of

    12                 the page, heading B, and enlarge that,

    13                 please.

    14                        THE WITNESS:      Which page is it?

    15                        MR. REISMAN:      It's page 14.

    16                 Q.     So, you know, we could go through a

    17        number of examples of this, but I just want to point

    18        this one out to the Court.

    19                        So this is from your report, heading

    20        subsection B, it says:         "Risks of opioid use

    21        disorder following medical use of prescription

    22        opioids follow a dose response pattern."

    23                        Did I read that correctly?

    24                 A      Yes.

    25                 Q.     So is this an example of your use in the
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     1                           Frye Hearing - Dr. Keyes                       255

     2        body of your report of one of the Bradford Hill

     3        factors?

     4                 A      Yes, it is.

     5                 Q.     I actually want to talk about the next

     6        -- the first sentence under B, it says:               "Early

     7        studies cited in marketing materials to physicians

     8        underestimated the addiction potential of

     9        prescription opioids and concluded claims that risks

    10        of opioid use disorders are rare among those

    11        prescribed opioids."

    12                        Did I read that correctly?

    13                 A      You did.

    14                 Q.     Now, Mr. Ercole asked you a number of

    15        questions about whether you reviewed marketing

    16        materials of the Defendants and whether the studies

    17        that you reviewed regarding marketing themselves

    18        analyzed the marketing materials of the

    19        manufacturers.

    20                        Let me ask you this question:            As a

    21        hypothetical, if the Defendants had provided

    22        information, including marketing materials, to

    23        physicians that underestimated the risks of opioid

    24        use disorders, do you believe, as an epidemiologist,

    25        that that would have had an impact or an influence
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     1                           Frye Hearing - Dr. Keyes                       256

     2        on the prescribing of opioids?

     3                 A      Yes.

     4                 Q.     Now, while we're on this page, I also

     5        want to address a document that Mr. Schmidt showed

     6        you from the New York State Department of Health, it

     7        was a flier from approximately 2007, 2008; do you

     8        recall that?

     9                 A      I do.

    10                 Q.     With respect to the Defendants, and this

    11        is another hypothetical, if it were the case that

    12        the Defendants have provided information to

    13        governmental agencies, including the New York State

    14        Department of Health, that underestimated the risks

    15        of opioid use disorder, do you believe that that

    16        information would have influenced the publication of

    17        flyers, such as the one Mr. Schmidt showed you?

    18                        MR. SCHMIDT:      Objection.

    19                        MR. ERCOLE:      Your Honor, I'd like to

    20                 object to this.        I think it's an improper

    21                 hypothetical and I think it's -- it's

    22                 certainly beyond the scope of her report.

    23                        MR. SCHMIDT:      And I'll further object as

    24                 vague in terms of which Defendants he's

    25                 talking about.
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     1                           Frye Hearing - Dr. Keyes                       257

     2                        THE COURT:     You tailed off.        You further

     3                 say what?

     4                        MR. SCHMIDT:      Vague in terms of which

     5                 Defendants he's talking about.

     6                        THE COURT:     Okay.      Rephrase the

     7                 question.

     8                 Q.     We'll focus on the manufacturers.

     9                        So as a hypothetical, Dr. Keyes, if it

    10        were the case that the manufacturer Defendants in

    11        this case --

    12                        THE COURT:     Reframe the hypothetical.

    13                 You may ask the witness to assume certain

    14                 facts.

    15                        MR. REISMAN:      Okay.     Thank you.

    16                 Q.     Assume that the manufacturer Defendants

    17        in this case provided information to the New York

    18        State Department of Health that underestimated the

    19        risks of addiction from prescription opioids, would

    20        that information have had an influence on the

    21        publication of flyers, documents like the one Mr.

    22        Schmidt showed you?

    23                 A      I don't --

    24                        THE COURT:     Time out.      First of all, do

    25                 you know or you don't know the answer to
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     1                           Frye Hearing - Dr. Keyes                       258

     2                 that?

     3                        THE WITNESS:      I know the answer to that.

     4                        THE COURT:     Now there's an objection.           I

     5                 assume it's the same objection.

     6                        MR. ERCOLE:      From --

     7                        THE COURT:     Excuse me.      The law in New

     8                 York is quite clear.          If, in fact, the

     9                 predicate for a hypothetical question is not

    10                 established in the record, the answer is of

    11                 no moment, okay.

    12                        Now given that, what's your objection?

    13                        MR. ERCOLE:      Your Honor, it's an

    14                 improper hypothetical and beyond the scope of

    15                 the opinions that are included in her report,

    16                 so I just want to preserve that for the

    17                 record.

    18                        THE COURT:     Okay.     Answer the question.

    19                 A      I don't think I need to make an

    20        assumption.      I think that there is evidence that the

    21        -- that there was -- there were statements that

    22        underestimated the risk of addiction, not only to

    23        government officials, but to medical schools, to a

    24        whole wide variety of industries that then put out

    25        material and textbooks and educational materials
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     1                           Frye Hearing - Dr. Keyes                       259

     2        that misstated the risks of addiction, so I do think

     3        that under that assumption that there would be an

     4        increase in prescribing.

     5                 Q.     Did any of those materials that you just

     6        described perceive -- were they -- withdrawn.

     7                        To your knowledge, were any of those

     8        materials that you've just described issued before

     9        2008?

    10                        THE COURT:     Issued before when?

    11                        MR. ERCOLE:      Again, your Honor,

    12                 objection.

    13                        THE COURT:     Time out.      Time out.

    14                        MR. REISMAN:      I'm asking about the

    15                 materials --

    16                        THE COURT:     You said issued before what?

    17                 You tailed off.

    18                        MR. REISMAN:      2008.

    19                        THE COURT:     Just yes or no.

    20                        MR. ERCOLE:      Your Honor, if I can just

    21                 log my -- for the record, again, no

    22                 foundation and beyond the scope of her

    23                 report.

    24                        THE COURT:     Okay.      Beyond the scope and

    25                 no foundation.       I don't get the foundation
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     1                           Frye Hearing - Dr. Keyes                       260

     2                 part.

     3                        MR. ERCOLE:      Sure, your Honor.        I

     4                 believe he's referencing, if I understood the

     5                 question, certain materials that have not

     6                 been, have not been produced, certainly that

     7                 I have not seen, and, you know, it's also

     8                 based upon the assumption of manufacturers

     9                 somehow influencing all of these sources, so

    10                 I again --

    11                        THE COURT:     And, by the way, unless that

    12                 assumption that the lawyer is asking the

    13                 witness to assume is not established in the

    14                 record, that's the Reilly case in New York,

    15                 Reilly versus one of the hospitals in Port

    16                 Jefferson, it is of no moment.            All right.

    17                 Mr. Reisman, be advised.

    18                        MR. REISMAN:      Thank you, sir.        Thank

    19                 you, your Honor.

    20                 Q.     So I'll ask the question again.

    21                        To your knowledge, did the materials

    22        that you've described a minute ago, were they issued

    23        before 2008?

    24                 A      To my knowledge, yes.

    25                 Q.     Let's turn, if we can, to 17.
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     1                           Frye Hearing - Dr. Keyes                       261

     2                        THE COURT:     Bradley versus St. Charles

     3                 Hospital.

     4                 Q.     Page 17 of your report.          And I just

     5        briefly want to focus on, if we can turn to page 17,

     6        which is the exhibit we're looking at, towards the

     7        bottom of the page, in the middle there's a sentence

     8        that begins with the name Portenoy.

     9                 A      Yes.

    10                 Q.     So do you see that?        And let's bring

    11        that up on the screen and enlarge it.

    12                        So in your report, the sentence we're

    13        looking at describes a study that was authored by

    14        Portenoy and others that was published in 2007; is

    15        that correct?

    16                 A      That's correct.

    17                 Q.     That was an industry sponsored study; is

    18        that right?

    19                 A      Yes.

    20                        THE COURT:     Which industry sponsored it?

    21                 You said it was an industry-sponsored study,

    22                 what industry?

    23                        THE WITNESS:      I would have to look at

    24                 the study.

    25                        THE COURT:     All right.
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     1                           Frye Hearing - Dr. Keyes                       262

     2                        THE WITNESS:      I mean, pharmaceutical,

     3                 the pharmaceutical industry, the drug

     4                 leaders, manufacturers.

     5                        THE COURT:     Do you know that?

     6                        THE WITNESS:      I know that it was drug

     7                 manufacturers, but I'm not certain of which

     8                 one.

     9                        THE COURT:     Okay.

    10                 Q.     Now, there were questions from both Mr.

    11        Schmidt and Mr. Ercole regarding the limitations

    12        sections of some of the studies that you cited in

    13        your report; do you recall that?

    14                 A      Yes.

    15                 Q.     In peer-reviewed scientific journals is

    16        it required that researchers include limitations

    17        sections in their studies in order for those studies

    18        to be published?

    19                 A      Typically in journals they require a

    20        transparent limitation section.

    21                 Q.     So there's nothing unusual, is there,

    22        about limitations being included in a study; is

    23        there?

    24                 A      No.

    25                 Q.     I want to turn to the question of the
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     2        causal relationship that you have opined on between

     3        the use of prescription opioids and subsequent OUD

     4        and heroin and fentanyl abuse.

     5                        During your testimony today have you

     6        discussed a study that focused on the link between

     7        medical use of opioids and heroin use?

     8                 A      Have I focused on any particular study

     9        that looked at that?

    10                 Q.     Have we discussed any particular study

    11        on that subject?

    12                 A      I don't think we have.         We've looked at

    13        not -- we've looked at studies that have looked at

    14        nonmedical and medical use.

    15                 Q.     Did the Lankenau study that you

    16        discussed today address medical use?

    17                 A      Yes.

    18                 Q.     What did it say about medical use of

    19        opioids?

    20                 A      That it often precedes nonmedical use.

    21                 Q.     Did that study specifically have a

    22        finding on medical use of opioids?

    23                 A      Yes.

    24                        THE COURT:     I hate to interrupt you,

    25                 going back to an objection I heard five
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     2                 minutes ago, you asked a question about 2000

     3                 -- going back to 2007, and see if I have this

     4                 right, I believe you put a question to the

     5                 doctor that based upon the -- we'll call it

     6                 the comments or statements of the, I believe

     7                 the FDA, right, whether or not that had a

     8                 connection to the marketing activities of the

     9                 Defendants; was that about it?

    10                        MR. REISMAN:      I'm not sure that was it.

    11                 I was referring to marketing statements by

    12                 the manufacturer Defendants.

    13                        THE COURT:     Which came from where?

    14                        MR. REISMAN:      It came from the

    15                 manufacturers themselves.

    16                        THE COURT:     What spawned, in your line,

    17                 what spawned these marketing statements in or

    18                 about 2007?

    19                        MR. REISMAN:      Well, they were in

    20                 materials, and they were in studies that were

    21                 sponsored by the manufacturers.

    22                        THE COURT:     And what allowed -- what was

    23                 the license, let's say, for the Defendant

    24                 manufacturers to issue those statements?

    25                        MR. REISMAN:      Well, I don't think they
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     1                           Frye Hearing - Dr. Keyes                       265

     2                 needed a license to make those statements.

     3                        THE COURT:     I'm asking about license in

     4                 the legal sense.        There were applications

     5                 before the Food and Drug Administration,

     6                 correct?

     7                        MR. REISMAN:      Yes.

     8                        THE COURT:     And based upon those

     9                 results, those findings, the approvals of the

    10                 Food and Drug Administration, the

    11                 manufacturers, some of the Defendants

    12                 issued -- well, they didn't issue, they

    13                 marketed, correct?

    14                        MR. REISMAN:      Correct.

    15                        THE COURT:     Right.     Are you asking the

    16                 witness -- and if I got it wrong you'll tell

    17                 me -- are you asking the witness to speculate

    18                 on the, on the link between FDA and marketing

    19                 as to causation?

    20                        MR. REISMAN:      Well, I'm not asking about

    21                 the FDA, I'm asking about the manufacturer

    22                 Defendants' own activities and the impact on

    23                 the last DOH and on prescribers.

    24                        THE COURT:     To the extent any witness

    25                 speculates, the Court will discount it so --
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     2                        MR. ERCOLE:      Your Honor -- I'm sorry to

     3                 interrupt.

     4                        MR. REISMAN:      Yeah, I just want to

     5                 finish.     So I was trying to address the point

     6                 that Mr. Schmidt raised earlier today

     7                 regarding that flier that he showed Dr. Keyes

     8                 that she hadn't seen before.

     9                        THE COURT:     Mr. Ercole, do you have

    10                 something to say?

    11                        MR. ERCOLE:      Yeah.    Only that we're

    12                 talking about hypothetical statements of

    13                 manufacturers that the witness has already

    14                 stated under oath that she never reviewed or

    15                 looked at, so I just want to make that

    16                 objection clear.

    17                        MR. SCHMIDT:      Just to further that on

    18                 his point about speculation, the statement

    19                 that was just made now that the witness

    20                 hadn't seen that document, how could she

    21                 possibly know what influenced it or what the

    22                 origin of it was?        There's been no discovery,

    23                 that I'm aware of, that's been produced on

    24                 that.     Nothing on her list.

    25                        THE COURT:     In any event, it's not a
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     2                 Perry Mason moment.         Let's move on.

     3                 Q.     Okay.    Just a few more questions, Dr.

     4        Keyes.

     5                        I just want to -- I'm not going to go

     6        through each of the studies that Mr. Schmidt,

     7        respectfully, cherry picked statements out of, but I

     8        just want to focus on one of them, which is the

     9        Compton study.       It's DEFNY05561.

    10                        MR. SCHMIDT:      Object to the lawyer

    11                 commentary.      I don't think it's appropriate.

    12                        THE COURT:     Say again.

    13                        MR. SCHMIDT:      Object to the lawyer

    14                 commentary, I don't think it's appropriate,

    15                 your Honor.

    16                        THE COURT:     All right.      Ask questions.

    17                 Q.     So --

    18                        THE COURT:     Time out.      You all can tell

    19                 the witness what you're going to direct them

    20                 to, that's not -- just don't editorialize or

    21                 opine.

    22                 Q.     So, Dr. Keyes, we'll put up -- you have

    23        the exhibit in front of you, and, Dan, if you can

    24        bring up that exhibit and please show page 157 on

    25        the left side under the graph.            Just a few more
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     1                           Frye Hearing - Dr. Keyes                       268

     2        pages in, and if you can highlight the sentence that

     3        begins with the words:         These studies over the

     4        current trends heading.

     5                        So this is the Compton study; is that

     6        right?

     7                  A     That's right.

     8                  Q.    Did you rely on this study in your

     9        report?

    10                  A     Yes, I did.

    11                  Q.    I'll read that sentence:          "These studies

    12        suggest a clear link between nonmedical use of

    13        prescription opioids and heroin use, especially

    14        among persons with frequent nonmedical use or those

    15        with prescription opioid abuse or dependence."

    16                        Did I read that correctly?

    17                  A     You did.

    18                  Q.    Is that sentence summarizing the

    19        authors' review on a number of studies?

    20                  A     Yes.

    21                  Q.    For my last topic today I just want to

    22        go back to the marketing causation piece, and

    23        Justice Garguilo I believe this morning had a

    24        question about some of the authors or one of the

    25        authors of one of the Hadland studies.
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     1                           Frye Hearing - Dr. Keyes                       269

     2                        And, Dan, if you can bring up Demo 51,

     3        page 10, and if you can highlight the section

     4        towards the top that says:           Author Affiliations.

     5                        So, Dr. Keyes, in looking at the author

     6        affiliations of the authors of this particular

     7        Hadland study, which is the 2019 study, can you

     8        describe briefly to the Court what the

     9        qualifications for those individuals are?

    10                 A      I can describe their affiliations.

    11                 Q.     Can you describe, are they

    12        epidemiologists?

    13                 A      I just know that several of them have

    14        degrees in epidemiology and some of them have

    15        affiliations in Department of Epidemiology, as well

    16        as Department of Health.

    17                 Q.     So in that listing of their affiliations

    18        and the departments they work in, are any of those

    19        individuals, any of the authors of this study listed

    20        as marketing professors?

    21                 A      No.

    22                 Q.     So do you have a view as to whether it

    23        is necessary to be an expert in marketing to conduct

    24        epidemiological research and form opinions about

    25        marketing causation?
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     1                           Frye Hearing - Dr. Keyes                       270

     2                 A      I believe that epidemiologists can form

     3        those opinions without a degree in marketing.

     4                 Q.     I just want to go to one more section of

     5        this document.       If we turn back to page 8, please.

     6                        Can you please highlight the paragraph

     7        that begins with the words:           Pharmaceutical

     8        Industry, the third paragraph under discussion.

     9        This sentence reads:         "The pharmaceutical industry

    10        invests tens of millions of dollars annually in

    11        direct to physician marketing of opioids, and it is

    12        improbable that companies would provide payments to

    13        physicians if such marketing did not either increase

    14        prescribing rates or maintain high levels of opioid

    15        prescribing; did I read that correctly?

    16                 A      You did.

    17                 Q.     Is that statement consistent with your

    18        opinions on marketing causation in this case?

    19                 A      They are.

    20                 Q.     Now, in forming your opinions on

    21        marketing causation in this case, have you taken

    22        into account the limitations that Hadland and

    23        coauthors mentioned in their studies?

    24                 A      I did.     I have.

    25                 Q.     And have they changed your opinions in
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     1                            Frye Hearing - Dr. Keyes                      271

     2        any way?

     3                  A       No.    I think that the way these studies

     4        were conducted was rigorous.           In addition to

     5        regressions there were numerous statistical

     6        controls, and when you look at the evidence

     7        altogether, I think it is a very clear picture for

     8        which causal inference can be drawn.

     9                  Q.      So taking into account those

    10        limitations, you are still able, as an

    11        epidemiologist, to draw a causal inference from this

    12        body of literature?

    13                  A       Yes.

    14                  Q.      I just have one more question for you,

    15        Dr. Keyes, and we're not going to show the document.

    16        Justice Garguilo has it, I think everyone else does.

    17        This is the Judge Polster's decision in the MDL, and

    18        page 20, I'd like to just read the sentence to you.

    19                          At the bottom it says:       "In other words,

    20        Keyes has not shown that she applied epidemiological

    21        methods to determine that a cause effect

    22        relationship may be inferred from the study that she

    23        cites."        And it's referring to one particular study.

    24                          Can you explain to the Court today how

    25        you applied epidemiological methods to determine
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     1                            Frye Hearing - Dr. Keyes                      272

     2        that there is a cause effect relationship between

     3        the marketing of prescription opioids and the

     4        prescribing of prescription opioids?

     5                  A       Yes.   I looked at these epidemiological

     6        studies and I evaluated those responses.               I

     7        evaluated the strengths of the association.                I

     8        looked to see whether they ruled out alternative

     9        causes.        I looked at analogy, consistency,

    10        plausibility and other factors and determined that

    11        they do meet those benchmarks that are common in the

    12        epidemiological literature.

    13                  Q.      And based on that you were able to form

    14        your opinion about the cause and effect

    15        relationship; is that right?

    16                  A       That's right.

    17                          MR. REISMAN:     Thank you, your Honor.

    18                          THE COURT:     Thank you.

    19                          Doctor, just one question.

    20                          THE WITNESS:     Yes.

    21                          THE COURT:     Actually, it's two.

    22                          You submitted a report in connection

    23                  with the Ohio case?

    24                          THE WITNESS:     I did.

    25                          THE COURT:     And did you recite Bradford
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     1                           Frye Hearing - Dr. Keyes                       273

     2                 Hill criteria in the Ohio case?

     3                        THE WITNESS:      I didn't use Bradford Hill

     4                 criteria specifically, but I used the same

     5                 principles.

     6                        THE COURT:     Yeah, but did you actually

     7                 recite Bradford Hill criteria?

     8                        The only reason why I ask, gentlemen, is

     9                 that Judge Polster spent a couple of pages on

    10                 the application of Bradford Hill criteria.

    11                        THE WITNESS:      No, I didn't.

    12                        THE COURT:     That's the only reason I

    13                 ask.

    14                        Thank you very much, doctor, you're

    15                 excused.

    16                        A couple of things.        Tomorrow we'll

    17                 commence at 9:45, I intend to continue until

    18                 about 1:30, and then I think I told everybody

    19                 yesterday we have a ceremony here tomorrow,

    20                 which I will attend, a 911 ceremony at 3 p.m.

    21                 Leaving -- breaking at 1:30 will give the

    22                 staff an appropriate luncheon recess.

    23                        There's something else.          I would like

    24                 you all to take back -- when I say "all," not

    25                 only the people here, the people that are
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     1                           Frye Hearing - Dr. Keyes                       274

     2                 participating through the live stream -- when

     3                 we're done with the Frye hearings the Court

     4                 intends to lift its stay on motion practice.

     5                 The stay on motion practice occurred, as I

     6                 told you at a prior conference when we were

     7                 notified about 51 new applications -- new

     8                 motions.     Most of those motions are motions

     9                 in limine.      I think 4 of the 51 or 52 were

    10                 subject to that nature.

    11                        The Court has reviewed every single

    12                 motion in limine, has made some notes and has

    13                 consulted with some of the Special Masters.

    14                        I am suggesting to all of you that the

    15                 mass majority of your petitions, your motions

    16                 in limine, deal with some very basic tenets

    17                 of evidence.

    18                        I would like you to meet and confer

    19                 among yourselves to work out the -- call

    20                 it -- we'll call it a Stipulation or an

    21                 Agreement as to those motions.

    22                        I mean, there is some very basic stuff,

    23                 stuff in there about hearsay.            I'm drawing a

    24                 blank, but it's most of them are things, are

    25                 things, objections that can be raised at
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     1                           Frye Hearing - Dr. Keyes                       275

     2                 trial, and the Court would rule from the

     3                 bench.     They're not difficult.         Please do

     4                 that, because I would like to abbreviate that

     5                 process and no overinvolve the Court or the

     6                 Special Masters.

     7                        Tomorrow we have Mr. -- Dr. Tomarken,

     8                 correct?

     9                        MR. REISMAN:      Yes, your Honor.

    10                        THE COURT:     Just thinking ahead, I do

    11                 have this courtroom also for Monday.

    12                        Do you suspect, given the abbreviated

    13                 day tomorrow, I'm going to have to continue

    14                 to Monday with Dr. Tomarken?

    15                        And I realize he's a Suffolk County

    16                 resident, right?

    17                        MR. SHERIDAN:      Tom Sheridan from Suffolk

    18                 County.     Yes, Judge, he is a Suffolk County

    19                 resident, and my direct examination I think

    20                 will be completed in about an

    21                 hour-and-a-half.

    22                        THE COURT:     Okay.     So safe home

    23                 everybody.      Thank you for your presentation,

    24                 I appreciate it.

    25                        MR. SCHMIDT:      Your Honor, may I raise
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     1                           Frye Hearing - Dr. Keyes                       276

     2                 one question that I've been asked to raise on

     3                 behalf of all the Defendants.

     4                        Your Honor had allowed us to file a

     5                 brief at the close, a week after the close of

     6                 the last witness, and there's two requests we

     7                 wanted to make on it.          One is the date is

     8                 moving around because of when the witnesses

     9                 will finish.       Originally it was September

    10                 22nd.

    11                        The first request is can we have until

    12                 September 25th, a few extra days; and the

    13                 second is can we have, instead of the 50

    14                 pages your Honor ordered, 60 pages; so 10

    15                 pages per witness, or 20 pages for Defendant

    16                 group?

    17                        THE COURT:     You want 60?       You can have

    18                 the extra time.

    19                        MR. SCHMIDT:      Thank you, your Honor.

    20                        THE COURT:     Just keep in mind the

    21                 Court's focus on these hearings.             The Court

    22                 has set forth its focus in writing in

    23                 connection with the issues presented at a --

    24                 I call it a Frye hearing, but I think all of

    25                 you know that Frye has been evolving rapidly
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     1                           Frye Hearing - Dr. Keyes                       277

     2                 in New York, that's why we nicknamed it

     3                 "Fryebert".      So the answer is yes, you can

     4                 have the extra time.

     5                        MR. SHERIDAN:      Your Honor --

     6                        THE COURT:     Yes.

     7                        MR. SHERIDAN:      Regarding the reschedule

     8                 for Dr. Tomarken, I very much would like to

     9                 complete him in one day.           So if there's any

    10                 question that we can't complete him tomorrow,

    11                 I don't want to have to come back again on

    12                 Monday.     If your Honor wishes, we can simply

    13                 do it on Monday and do a full day on Monday.

    14                 So I'm offering that for your consideration.

    15                        In any event, I'd like to be able to

    16                 start him and complete him in one day so he

    17                 doesn't have to come back.

    18                        MR. SCHMIDT:      Your Honor, I'm not the

    19                 one examining.       I'm not the one.        Miss

    20                 Flahive Wu is on the phone, I think it's

    21                 going to be about two hours for at least the

    22                 distributor examination.

    23                        THE COURT:     Look, I'm good either way.

    24                 I have this room for Monday, too, correct?

    25                        THE CLERK:     Yes.
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     1                           Frye Hearing - Dr. Keyes                       278

     2                        MR. SCHMIDT:      I don't think we would

     3                 object.     Just proactive putting it on Monday,

     4                 just doing it in one day.

     5                        MR. REISMAN:      I propose Monday.        I would

     6                 like to be able to complete it Monday.

     7                        THE COURT:     I think we all could use a

     8                 breather tomorrow.           9:45 Monday.

     9                        Thank you gentleman and ladies.

    10                        MR. SCHMIDT:      Thank you.

    11                        MR. SHERIDAN:         Thank you.

    12                        THE COURT:     Doctor, thank you for coming

    13                 in.

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    17                                  *       *        *

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